Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 1 of 92




                  EXHIBIT C
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 2 of 92


 1              IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO
 2
 3
      IN RE:    PACIFIC FERTILITY         Case No. 3:18-cv-01586-ISC
 4    CENTER LITIGATION
 5
 6
        VIDEO DEPOSITION OF ANAND DAVID KASBEKAR, PH.D.
 7                          December 13, 2019
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22    REPORTED BY: Sandra L. Bray
23
24
25

                                                                 Page 1

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 3 of 92

 1 APPEARANCES:
 2 ON BEHALF OF THE PLAINTIFFS:                                         1            PROCEEDINGS
      AMY M. ZEMAN, ESQ.                                                2           THE VIDEOGRAPHER: Good morning. We are 09:38:34
 3    Gibbs Law Group, LLP
      505 14th Street, Suite 1110                                       3 on the record at 9:38 a.m. on December 13th, 2019.           09:38:42
 4    Oakland, California 94612                                         4           Please note that microphones are         09:38:46
      Phone: 510-350-4721
 5    Email: amz@classlawgroup.com                                      5 sensitive and may pick up whispering, private             09:38:46
 6 ON BEHALF OF CHART, INC.:
      BENJAMIN P. SMITH, ESQ.                                           6 conversations, and cellular interference. Please turn 09:38:52
 7    Morgan, Lewis & Bockius, LLP                                      7 off all cell phones or place them away from             09:38:53
      One Market, Spear Street Tower
 8    San Francisco, California 94105                                   8 microphones as they can interfere with the deposition 09:38:55
      Phone: 415-442-1000                                               9 audio. Audio and video recording will continue to          09:38:58
 9    Email: benjamin.smith@morganlewis.com
10 ON BEHALF OF THE DEFENDANTS PRELUDE FERTILITY, INC.                 10 take place until all parties have agreed to go off the 09:39:00
   AND PACIFIC MSO, LLC:
11    WILLIAM F. TARANTINO, ESQ.                                       11 record.                                 09:39:04
      Morrison & Foerster, LLP                                         12           This is Media Unit 1 of the video-       09:39:05
12    425 Market Street
      San Francisco, California 94105                                  13 recorded deposition of Anand David Kasbekar, Ph.D.            09:39:09
13    Phone: 415-442-1000                                              14 taken by counsel for the Defendant in the matter of In 09:39:12
      Email: wtarantino@mofo.com
14                                                                     15 Re: Pacific Fertility Center Litigation, filed in the 09:39:15
   ON BEHALF OF THE THIRD-PARTY DEFENDANTS PACIFIC
15 FERTILITY CENTER, ELDON SCHRIOCK, CAROLYN GIVENS,                   16 United States District Court, Northern District of       09:39:20
   PHILIP CHENETTE, CARL HERBERT, LIYUN LI, AND ISABELLE               17 California, San Francisco Division, Case Number              09:39:22
16 RYAN:
      AARON SCHULTZ, ESQ. (via telephone)                              18 3:18-cv-01586-JSC.                             09:39:26
17    Galloway Lucchese Everson & Picchi, P.C.                         19           This deposition is being held at        09:39:31
      2300 Contra Costa Boulevard
18    Pleasant Hill, California 94523                                  20 Morrison & Foerster, LLP, located at 4200 Republic           09:39:36
      Phone: 925-930-9090
19    Email: aschultz@glattys.com                                      21 Plaza, 370 17th Street, Denver, Colorado. My name is 09:39:43
20 Also present:                                                       22 Robert Reitan, and I am the videographer. The court          09:39:49
21    Robert Reitan, Videographer
22                                                                     23 reporter is Sandra Bray.                       09:39:49
23                                                                     24           I am not authorized to administer the       09:39:49
24
25                                                                     25 oath. I am not related to any party in this action,     09:39:52
                                                              Page 2                                                                                  Page 4

 1           PURSUANT TO WRITTEN NOTICE and the                         1 nor am I financially interested in the outcome.                   09:39:55
 2   appropriate rules of civil procedure, the deposition
                                                                        2            Counsel and all present in the room and               09:39:57
 3   OF ANAND DAVID KASBEKAR, PH.D., called for examination
 4   by the Defendant Chart, Inc., was taken at Morrison &              3 everyone attending remotely will now state their                   09:39:59
 5   Foerster, LLP, 370 17th Street, Suite 4200, Denver,                4 appearances and affiliations for the record. If there 09:40:02
 6   Colorado, commencing at 9:38 a.m. on December 13,                  5 are any objections to proceeding, please state them at 09:40:05
 7   2019, before Sandra L. Bray, a Registered Diplomate
                                                                        6 the time of your appearances, beginning with the                     09:40:08
 8   Reporter, Certified Realtime Reporter, and Notary
 9   Public in and for the State of Colorado.                           7 noticing attorney.                                 09:40:11
10                                                                      8            MR. SMITH: Ben Smith on behalf of                      09:40:11
11               INDEX                                                  9 Chart.                                         09:40:14
12   EXAMINATION:                           PAGE
                                                                       10            MR. TARANTINO: Bill Tarantino on behalf 09:40:14
13   By Mr. Smith                         6
14   By Mr. Tarantino                     180                          11 of Prelude Fertility, Inc. and Pacific MSO, LLC.                   09:40:18
15   By Ms. Zeman                         183                          12            MS. ZEMAN: Amy Zeman with Gibbs Law                           09:40:20
16                                                                     13 Group on behalf of the class Plaintiffs.                     09:40:23
17   EXHIBITS:                            PAGE                         14            THE VIDEOGRAPHER: Will our court                           09:40:26
18   Exhibit 1 Failure Analysis of Chart MVE 808AF-GB 32
                                                                       15 reporter please swear in the witness?                        09:40:27
           Cryopreservation Tank, 10/15/19
19                                                                     16            MR. TARANTINO: Aaron, did you want to                        09:40:30
     Exhibit 2 Photograph                   58                         17 make an appearance?                                     09:40:32
20                                                                     18            MR. SCHULTZ: Yes. I was waiting to                      09:40:34
     Exhibit 3 Chart Important Recall Notice, 4/23/18 75
                                                                       19 make sure he was done. This is Aaron Schultz on                      09:40:36
21
     Exhibit 4 Drawing I/O Assy                  89                    20 behalf of Third-Party Defendants Pacific Fertility                 09:40:39
22                                                                     21 Center, Eldon Schriock, Carolyn Givens, Philip                       09:40:42
     Exhibit 5 Drawing Pumpout Port S/A               101              22 Chenette, Carl Herbert, Liyun Li, and Isabelle Ryan.                  09:40:46
23
                                                                       23            THE VIDEOGRAPHER: Will our court                           09:40:52
   Exhibit 6 Chart, Inc. 10/18/19 Maximum Event         153
24       Log                                                           24 reporter please swear in the witness?                        09:40:53
25 Exhibit 7 Chart/MVE Cryobiological Training          163            25           ANAND DAVID KASBEKAR, Ph.D.,                                  09:40:53
                                                              Page 3                                                                                 Page 5

                                                                                                                                    2 (Pages 2 - 5)
                                                       Veritext Legal Solutions
                                                            866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 4 of 92

 1 having been first duly sworn or affirmed to state the 09:40:53               1 you previously worked on?                          09:43:29
 2 whole truth, testified as follows:                  09:40:53                 2       A. I'd say give or take a couple.           09:43:31
 3                EXAMINATION                          09:40:53                 3       Q. Did you work with Dan Girard or Eric             09:43:33
 4 BY MR. SMITH:                                      09:41:10                  4 Gibbs, if any of those two individuals, in those         09:43:36
 5       Q. Good morning again, Dr. Kasbekar. How                09:41:10       5 cases?                                  09:43:38
 6 are you?                                  09:41:12                           6       A. I primarily worked with Eric Gibbs and           09:43:39
 7       A. I'm doing well. How about you?                09:41:12              7 Dylan Hughes, and I'm certain there were a few other          09:43:42
 8       Q. I'm good. Can you state and spell your         09:41:15             8 cases. I know there were a couple cases that really        09:43:47
 9 name for the record?                              09:41:17                   9 never went anywhere or I indicated that I wasn't the        09:43:51
10       A. Yes, it's Anand David Kasbekar. First          09:41:18            10 appropriate expert for the case.                  09:43:54
11 name is spelled A-n-a-n-d, middle name David, last             09:41:21     11       Q. Did you testify at deposition or at        09:43:57
12 name K-a-s-b-e-k-a-r.                             09:41:25                  12 trial at any of the six cases that you mentioned?        09:44:02
13       Q. And you've been deposed many times                  09:41:28       13       A. I'm certain in the flywheel case, I        09:44:07
14 before, right?                             09:41:31                         14 provided deposition testimony. In the manifold case, 09:44:09
15       A. I have.                          09:41:31                          15 I would have provided deposition testimony.               09:44:18
16       Q. Is there any reason why you cannot             09:41:32            16       Q. When did you first meet or have contact          09:44:24
17 provide your most accurate, truthful testimony today? 09:41:34              17 with either Dylan Hughes or Eric Gibbs?                  09:44:28
18       A. No.                              09:41:36                          18       A. I don't know the exact answer to that.         09:44:33
19       Q. Okay. Who first contacted you about             09:41:37           19 Probably on the order of ten years ago, some time ago. 09:44:35
20 potential work in this case?                       09:41:39                 20       Q. And how did you come about meeting them? 09:44:40
21       A. I believe it was Dylan Hughes.               09:41:40              21       A. I think they were involved in a lawsuit        09:44:42
22       Q. And who is Dylan Hughes associated with? 09:41:44                  22 where I'd been hired by another firm. I think it was 09:44:50
23       A. Dylan Hughes is associated with Amy                 09:41:48       23 the manifold case, but I'm not positive, and I believe 09:44:53
24 Zeman's firm, Girard Gibbs.                         09:41:52                24 that's how I met both Eric and Dylan Hughes.               09:44:56
25       Q. Now called the Gibbs Law Group?                  09:41:54       25          Q. Is your retention agreement with the           09:44:59
                                                                     Page 6                                                                           Page 8

 1       A. I believe so.                     09:41:58                          1 Gibbs Law Group?                               09:45:02
 2       Q. And do you know how the Gibbs Law Group                 09:41:58    2       A. That's my understanding.                 09:45:03
 3 came to identify you as a potential expert?             09:42:00             3       Q. You're not aware of any other retention         09:45:04
 4       A. I had worked with them on other failures 09:42:03                   4 agreements with other Plaintiffs' firms who are           09:45:08
 5 related cases in the past.                     09:42:06                      5 Plaintiffs in this case?                    09:45:12
 6       Q. And what were those cases that you             09:42:07             6       A. You know, I really haven't paid much            09:45:12
 7 worked on with them in the past?                      09:42:09               7 attention to that. My understanding is I was hired by 09:45:15
 8       A. One involved a clutch flywheel defect          09:42:10             8 the Gibbs Law Group. I know there was co-counsel I've 09:45:17
 9 issue in automobiles. I believe that they were -- I       09:42:21           9 met throughout the course. I don't know the financial 09:45:21
10 don't know if they were the ones who hired me, but             09:42:25     10 agreements or relations between the various firms.         09:45:23
11 they were involved in a case that involved cracking           09:42:27      11       Q. Okay. Were you retained as an                 09:45:25
12 manifolds in automobiles.                          09:42:31                 12 individual or were you retained through Visual            09:45:27
13          I was involved in evaluating a             09:42:36                13 Sciences, your company?                           09:45:30
14 manufacturing-related defect -- I don't think this was 09:42:40             14       A. I think I was really retained as an       09:45:32
15 a litigation -- or I don't know that it went to       09:42:44              15 individual, but that's -- again, the retention was a     09:45:34
16 litigation -- in Honda automobiles.                  09:42:48               16 verbal retention by phone. It was informal.             09:45:39
17          I was involved in a case where flat         09:42:58               17       Q. Do you recall approximately when your            09:45:43
18 screen TVs were failing and TVs were falling off the           09:43:01     18 retention was?                             09:45:46
19 wall, looking at the mount system.                    09:43:06              19       A. I want to -- I don't. I want to say it   09:45:46
20          I was involved in a case with failure        09:43:08              20 may have been -- I'm trying to think in terms of the       09:45:56
21 issues related to Ducati motorcycle tanks that Girard 09:43:12              21 timing. It may have been in April of 2018, or at          09:46:00
22 Gibbs or the Gibbs law firm was involved in. Those             09:43:19     22 least that was when the initial discussions took         09:46:05
23 are, I think, most if not all of them.              09:43:21                23 place.                                 09:46:06
24       Q. Okay. So you looked at approximately             09:43:24          24       Q. Okay. Do you still own the company              09:46:06
25 six cases. Is that approximately the number of cases 09:43:26     25 Visual Sciences?                                      09:46:11
                                                              Page 7                                                                                  Page 9

                                                                                                                                    3 (Pages 6 - 9)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 5 of 92

 1      A. I do.                           09:46:12                             1 hour for testimony; is that right?                09:48:43
 2      Q. You're the principal owner of that           09:46:12                2       A. I think the $50 is built into the 495.     09:48:44
 3 company?                                   09:46:15                          3       Q. Right. Your testifying rate is $50         09:48:48
 4      A. I am.                            09:46:15                            4 more --                                 09:48:53
 5      Q. Has anybody within that company worked                09:46:16       5       A. Right.                         09:48:53
 6 on this case with you?                           09:46:17                    6       Q. -- than your nontestifying rate --        09:48:53
 7      A. No.                             09:46:19                             7       A. Correct.                        09:48:55
 8      Q. And Research Engineers, Inc. is a             09:46:19               8       Q. -- is that right?                09:48:55
 9 consulting group for whom you perform consulting?              09:46:24      9       A. Yes.                           09:48:56
10      A. I was an employee for a long period of          09:46:24            10       Q. And why is that?                       09:48:57
11 time and then a consultant with them.                 09:46:30              11       A. Well, in the past, it was mainly          09:48:58
12      Q. And have they played any role in --           09:46:30              12 required me to leave the office. And for a long            09:49:00
13      A. No.                             09:46:33                            13 period of time, we had a number of government                09:49:03
14      Q. -- this case? Okay. Is it fair to say      09:46:33                 14 contracts, and when I left the office, it was          09:49:06
15 that the majority of your work as a failure analysis        09:46:40        15 detrimental to the efficiency of what was going on;         09:49:08
16 expert is in the automobile industry?                09:46:44               16 and it just has remained that way ever since.           09:49:11
17      A. No, that would not be a fair statement.        09:46:47             17       Q. Okay. Are the rates that you're           09:49:15
18      Q. What is your emphasis as a failure            09:46:48              18 charging the Gibbs Law Group the same rates that you           09:49:15
19 analysis expert?                            09:46:52                        19 charge other clients?                         09:49:16
20      A. I mean, my emphasis is on metal and             09:46:54            20       A. Yes.                           09:49:18
21 plastic components, and over almost a 35-year period, 09:46:57              21       Q. And how many hours, approximately, have             09:49:18
22 I've looked at things ranging from bicycle components 09:47:02              22 you devoted to date to your work on this case?             09:49:22
23 to automotive components to boiler tanks. I mean I            09:47:08      23       A. I don't know the answer to that. I can        09:49:24
24 could go on for hours.                           09:47:14                   24 kind of approximate it.                         09:49:27
25      Q. Okay.                             09:47:15                          25       Q. Can you give me an approximation?               09:49:29
                                                                     Page 10                                                                      Page 12

 1      A. Various different mechanical components. 09:47:16                    1       A. I'm going to say on the order of maybe         09:49:31
 2 When I was hired by Research Engineers in 1987, I was 09:47:22               2 100 hours, give or take 20 hours.                  09:49:34
 3 hired primarily to do their failure analysis work and 09:47:27               3       Q. Is it your estimation that you've billed 09:49:38
 4 also to help them develop their computer facilities.        09:47:30         4 the Gibbs Law Group approximately $45,000 for your              09:49:48
 5      Q. If I added up all the times you've          09:47:34                 5 work to date?                               09:49:52
 6 testified, would it be fair to say that you've        09:47:38               6       A. I don't know the answer to that, but I      09:49:52
 7 testified most often in cases involving automobile          09:47:40         7 think it would be somewhere in that range.               09:49:54
 8 accidents?                                09:47:43                           8       Q. Okay. Do you work as an expert witness            09:49:55
 9      A. No, I don't know if that would be            09:47:47                9 almost full time?                           09:49:58
10 necessarily true.                          09:47:50                         10       A. No.                            09:49:59
11      Q. Okay.                             09:47:52                          11       Q. What else do you do?                     09:49:59
12      A. I mean, I do minimal accident                09:47:53               12       A. In fact, I work very little as an expert 09:50:00
13 reconstruction work from automobile accidents.               09:47:57       13 witness these days. I have started trying to enter       09:50:03
14 Research Engineers does that. My role normally was -- 09:48:01              14 early retirement.                           09:50:09
15 we have a broken axle, so one of the other individuals 09:48:06             15       Q. And when did you start to enter early         09:50:10
16 at Research Engineers would have evaluated the vehicle 09:48:09             16 retirement?                              09:50:15
17 dynamics, done the accident reconstruction, and I            09:48:15       17       A. I started the process in 2016, winding        09:50:15
18 would have been looking at the failed axle or the           09:48:16        18 down my company and moved out to here part time.               09:50:20
19 failed lug nut or the failed wheel.                09:48:18                 19       Q. Prior to 2016, did you work as an expert 09:50:25
20      Q. Have you ever before conducted a failure 09:48:21                   20 witness almost full time?                        09:50:30
21 analysis of a cryogenic tank?                      09:48:25                 21       A. No. For the first seven years of my         09:50:32
22      A. I don't believe so.                  09:48:27                       22 career, I was a graduate student in the engineering         09:50:37
23      Q. You are charging the Gibbs Group law                09:48:29        23 department at Duke University while working for              09:50:41
24 firm, I think, between $445 and $495 per hour for the 09:48:34              24 Research Engineers. I was a teaching assistant and           09:50:44
25 time you spent on this case, with an extra $50 per          09:48:39     25 research assistant during those times.                 09:50:50
                                                                    Page 11                                                                         Page 13

                                                                                                                                  4 (Pages 10 - 13)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 6 of 92

 1          And then shortly after receiving my           09:50:52               1 today's deposition, if anything?                   09:53:09
 2 graduate degree or my Ph.D. in '94, I was awarded           09:50:54          2         A. I reviewed my report. I printed out and 09:53:10
 3 various research contracts with the Department of           09:51:01          3 reviewed the references to my report. I reread             09:53:15
 4 Defense that occupied probably anywhere from 50 to               09:51:05     4 Dr. Conaghan's deposition, went through various               09:53:24
 5 80 percent of my time. I don't remember when we --              09:51:09      5 documents, met with Ms. Zeman for about 45 minutes or 09:53:28
 6 our last contract expired, but after that expired, I     09:51:14             6 so last night.                            09:53:36
 7 would say for a period of -- I don't know -- probably 09:51:17                7         Q. Anything else?                      09:53:37
 8 four or five, six years, the majority of my work was        09:51:21          8         A. Mainly document review.                   09:53:41
 9 litigation-related, probably 80 percent.               09:51:24               9         Q. Have you had any conversations with             09:53:47
10       Q. And in that regard, you've testified at       09:51:28              10 anyone other than Ms. Zeman about your deposition?              09:53:48
11 deposition or at trial well over a hundred times,        09:51:30            11         A. Dylan Hughes briefly.                   09:53:51
12 right?                                   09:51:33                            12         Q. Anyone other Ms. Zeman or Dylan Hughes?             09:53:55
13       A. Well, certainly not well over a hundred         09:51:34            13         A. No, not regarding my deposition.           09:53:59
14 trials, but depositions, yes, I'd say over a hundred      09:51:36           14         Q. Okay. How about regarding this case?            09:54:00
15 depositions.                                09:51:39                         15         A. I spoke with a machinist back in North         09:54:02
16       Q. And is it correct that the vast majority 09:51:39                   16 Carolina early on when we were talking about                09:54:07
17 of the time you testify on behalf of plaintiffs?        09:51:41             17 destructive testing of the subject tank and trying to 09:54:10
18       A. I would probably say the majority of           09:51:44             18 gain access to the bottom of the tank, removing the          09:54:16
19 cases that have gone to trial are plaintiffs. My        09:51:47             19 panel, mainly with regard to trying to get ideas on         09:54:19
20 workload is pretty well-balanced, especially in the        09:51:50          20 how to efficiently and with minimal destruction get           09:54:23
21 past -- over the past probably ten, fifteen years        09:51:53            21 the panel out of there.                        09:54:29
22 between defense and plaintiffs.                     09:51:56                 22         Q. You're talking about the false bottom in 09:54:30
23       Q. And why is it that the vast majority of        09:51:58             23 the tank?                                 09:54:33
24 the cases that you've testified in, either at         09:52:01               24         A. The false bottom. Exactly.              09:54:33
25 deposition or trial, are plaintiff -- for the        09:52:03                25         Q. And what was the name of the machinist           09:54:44
                                                                      Page 14                                                                       Page 16

 1 plaintiff?                                09:52:06                            1 in North Carolina that you spoke with about removal of 09:54:46
 2       A. So --                            09:52:07                            2 the false bottom?                             09:54:49
 3           MS. ZEMAN: Objection, misstates                09:52:08             3         A. Don Chesson.                        09:54:50
 4 testimony.                                  09:52:09                          4         Q. And is he affiliated with any of your         09:54:53
 5       A. My interpretation of that is a lot of        09:52:09                5 companies?                                    09:54:57
 6 times I'll get hired by defense firms where the          09:52:14             6         A. No.                           09:54:57
 7 defendant, quite frankly, just may have a big problem, 09:52:19               7         Q. How do you know him?                      09:54:57
 8 and I'll help out where I can, but oftentimes those       09:52:22            8         A. He has worked with me on various               09:55:03
 9 cases are better resolved by settling them, I mean, if 09:52:26               9 projects where I've had to design and build test           09:55:04
10 there's a defect and there's not much that can be done 09:52:30              10 fixtures throughout the years.                     09:55:08
11 to help. Normally most defendants will attempt to           09:52:33         11         Q. Did you pay him for his consultation?          09:55:09
12 settle those cases, sometimes prior to deposition and 09:52:38               12         A. I did not.                     09:55:12
13 prior to trial; whereas based on my experience,           09:52:40           13         Q. Okay.                           09:55:12
14 plaintiffs -- and I guess this is because maybe          09:52:45            14         A. It was a two-minute -- five-minute phone 09:55:13
15 they're funding their own cases -- are a little bit     09:52:47             15 call.                                  09:55:16
16 more careful about making sure they have a case that           09:52:50      16         Q. Did you review the TEC 3000 controller           09:55:18
17 has merit. That's kind of my take on it. That's not 09:52:52                 17 data that was obtained after you wrote your report in 09:55:23
18 an expert opinion, but my observations.                 09:52:55             18 preparation for your deposition?                    09:55:27
19       Q. (BY MR. SMITH) Okay. Do you do any                    09:52:58      19         A. Very briefly when I initially got it,     09:55:30
20 advertising?                                09:53:00                         20 but it's not something that I have really focused on. 09:55:33
21       A. I do not.                         09:53:01                          21         Q. Okay. And why not?                      09:55:36
22       Q. Is all of the work that you do as a          09:53:01               22         A. It's -- in my mind, there's some         09:55:37
23 consulting and testifying expert referral work?           09:53:04           23 questions right now that require some interpretation          09:55:44
24       A. It is.                          09:53:06                            24 that might be outside of my area of expertise. In          09:55:48
25       Q. Okay. What did you do to prepare for            09:53:06       25 addition, the finding of the crack in the inner weld            09:55:51
                                                                   Page 15                                                                          Page 17

                                                                                                                                  5 (Pages 14 - 17)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 7 of 92

 1 of the fill line has really been the focus of where I 09:56:00                  1 stress to plastic samples?                      09:58:18
 2 thought my efforts were best expended.                     09:56:05             2       A. Basically thermal cycling them.             09:58:18
 3         Q. What questions did you have about the            09:56:08            3       Q. And that wasn't the design or              09:58:21
 4 data that you thought might be outside your area of           09:56:08          4 development of the cryogenic freezer, right?            09:58:22
 5 expertise?                                   09:56:10                           5       A. No. It was really nitrogen cooling and        09:58:25
 6         A. Well, one question, I think there's          09:56:10                6 electrical heating to control sample temperature.        09:58:29
 7 issues with regarding to the time on the controller,         09:56:12           7       Q. Prior to your retention in this case,       09:58:31
 8 the time stamp and what it refers to, and I know             09:56:16           8 had you ever seen a cryogenic freezer?                 09:58:37
 9 discovery is ongoing; and I'm hoping or assuming that 09:56:18                  9       A. Yes.                           09:58:38
10 we might have a little bit more insight with regard to 09:56:23                10       Q. Where?                            09:58:38
11 that. I think that's one of the areas.               09:56:26                  11       A. Throughout Duke University, in medical            09:58:39
12            And then just not being the person who          09:56:30            12 facilities, in biomedical facilities.             09:58:45
13 would go in and determine do we have a firmware issue, 09:56:35                13       Q. And Duke uses Chart tanks, right?             09:58:48
14 do we have a circuit issue. Those are the main things 09:56:39                 14       A. You may know the answer better than me.            09:58:53
15 that I feel would -- I would rely upon somebody else            09:56:46       15 I haven't paid attention to whose name is on the         09:58:55
16 to evaluate.                                 09:56:51                          16 tanks. It was normally, as a graduate student,          09:59:00
17         Q. And you're referring to a firmware issue 09:56:51                   17 filling up small dewars and taking the nitrogen to         09:59:04
18 or a circuit issue within the controller itself --       09:56:54              18 places, but air gas is what I'm used to seeing.        09:59:08
19         A. Correct.                           09:57:00                         19       Q. You don't remember the label on the           09:59:12
20         Q. -- is that right?                   09:57:00                        20 tanks?                                  09:59:13
21         A. Correct.                           09:57:01                         21       A. I certainly don't.                09:59:14
22         Q. And does that issue have anything to do          09:57:01           22       Q. Once you were retained in this case,         09:59:15
23 with the data that was obtained from the controller,          09:57:02         23 what did you do to familiarize yourself with cryogenic 09:59:16
24 in your mind?                                  09:57:04                        24 tanks, generally?                           09:59:20
25         A. It certainly is a possibility.         09:57:05                     25       A. I think early on, I was looking for         09:59:23
                                                                        Page 18                                                                        Page 20

 1         Q. Did your review of the controller data,         09:57:07             1 examples of implosions. Honestly, I've seen tank           09:59:29
 2 even though brief, did it change any of your opinions 09:57:16                  2 explosions in some of the cases I've been involved in, 09:59:36
 3 or influence any of your opinions that are contained          09:57:19          3 but I haven't seen an implosion similar to the one       09:59:40
 4 in your report?                                09:57:21                         4 that we had here. So I was looking for information         09:59:42
 5         A. It has not, but as I said, I've also not 09:57:22                    5 about that. I had a theory as to how I thought it       09:59:45
 6 thoroughly analyzed the controller data.                  09:57:26              6 happened, but I hadn't looked at the tank closely at       09:59:50
 7         Q. You're a mechanical engineer, right?            09:57:29             7 that point. I think that was the main thing that I     09:59:56
 8         A. Correct.                           09:57:36                          8 was looking at.                            09:59:58
 9         Q. You're not an electrical engineer?            09:57:36               9       Q. Is it your view -- not your view. Is        10:00:02
10         A. I am not.                          09:57:38                         10 the word that you used to describe what happened to          10:00:08
11         Q. You're not a cryogenic engineer?               09:57:41             11 Tank 4 an implosion or an explosion?                   10:00:11
12         A. I am not.                          09:57:45                         12       A. So my opinion really is I would call it      10:00:13
13         Q. Have you ever designed or developed a            09:57:46           13 an explosion of the vacuum space, but I think it's       10:00:17
14 cryogenic freezer?                              09:57:49                       14 fair to also call it an implosion of the inner wall of 10:00:20
15         A. The only thing close to it that I've        09:57:51                15 the tank. It's -- normally when I think of an         10:00:23
16 done is in graduate school, the samples I was working 09:57:51                 16 implosion, I think of -- and in cryogenic tanks and        10:00:27
17 on were cryogenically cooled and heated for some of             09:57:53       17 failure analysis, it's normally when you've sucked a       10:00:29
18 the work that was done by myself and to support some               09:57:59    18 vacuum on the internal tank space, and where you often 10:00:33
19 professors, but it was on a much smaller scale than a 09:58:03                 19 see it is in tankers and -- where there's been an      10:00:36
20 tank.                                       09:58:07                           20 issue, and it's pretty dramatic when you have the loss 10:00:41
21         Q. And what were the samples that you were           09:58:07          21 of pressure inside the tank and atmospheric pressure         10:00:45
22 working with?                                   09:58:09                       22 bearing down on the outside of the tank.               10:00:48
23         A. They were various plastic stuff for most 09:58:09                   23       Q. I totally agree because the words are        10:00:48
24 of the samples that would involve colder temperatures. 09:58:13                24 funky.                                  10:00:50
25         Q. So you were applying cold and heat              09:58:16        25           A. But your client uses, to the best of my      10:00:51
                                                                      Page 19                                                                          Page 21

                                                                                                                                  6 (Pages 18 - 21)
                                                             Veritext Legal Solutions
                                                                  866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 8 of 92

 1 knowledge, the word "implosion," which I think -- I           10:00:55
 2 don't know if it's technically incorrect or not. It's 10:00:58
 3 kind of tomato, tomato.                         10:01:01
 4      Q. I think the reference might be implosion 10:01:04
 5 towards the midline of the tank. I think that might        10:01:04
 6 be it, but just so we're clear, when we say           10:01:08
 7 "implosion" or "explosion," we're referring to           10:01:09
 8 pressure being exerted against both the inside and         10:01:11
 9 outside of the tank walls with the thinner tank walls 10:01:14              9       Q. Well, we have an estimate, don't we,          10:03:42
10 buckling. Is that fair?                       10:01:18                     10 because according to Dr. Conaghan's testimony, the             10:03:44
11      A. Well, I don't know if I'd phrase it that 10:01:21                  11 tank was filled to 14 inches, right?                10:03:47
12 way. If you're going to argue it's an implosion, you 10:01:23              12       A. Right.                          10:03:50
13 have a lower pressure on the interior of the tank than 10:01:26            13       Q. And your calculations are that there's        10:03:50
14 you do on the exterior of the interior tank wall.        10:01:29          14 approximately 10 liters per inch, correct?             10:03:53
15 Does that make sense?                           10:01:32                   15       A. Well, that's not my calculation -- well, 10:03:55
16      Q. That makes sense.                       10:01:33                   16 initially, it kind of was, but Chart publishes that     10:03:57
17      A. So that would -- the lack of pressure on 10:01:35                  17 number of a 10 point something liters per inch. The        10:04:01
18 the inside or the imbalance, you could argue, would be 10:01:36            18 only thing I can tell you is since the contents end      10:04:06
19 an implosion. I really look at it more as if the      10:01:39             19 at, I believe, 11 inches and it was reportedly filled 10:04:11
20 vacuum space becomes a balloon and nitrogen gas               10:01:44     20 to 14, we have 3 inches at about 10 liters per inch,     10:04:13
21 expands within that vacuum space or balloon, you're           10:01:48     21 so that's going to give us at least 30 liters above     10:04:17
22 exploding that vacuum space. The outside wall is more 10:01:51             22 the contents plus whatever you have down there. So             10:04:20
23 robust than the inside wall, so the damage occurs to        10:01:57       23 there was sufficient nitrogen at the end of the fill    10:04:24
24 the inside wall.                          10:02:00                         24 in my opinion to fill up the vacuum space likely up to 10:04:28
25      Q. All right. Let's use the word              10:02:00                25 the point and perhaps beyond the point of the crack.       10:04:33
                                                                    Page 22                                                                     Page 24

 1 "explosion."                              10:02:02                          1       Q. All right. We'll get into that in more       10:04:37
 2       A. Fair enough.                         10:02:03                      2 detail in a bit. When you said that you -- well,        10:04:42
 3                                                                             3 strike that. Did you say that you did some research       10:04:54
                                                                               4 on explosions of tanks after you were retained in this 10:04:56
                                                                               5 case?                                   10:05:00
                                                                               6       A. I was looking for a -- any case studies       10:05:00
                                                                               7 that would have shown similar damage to what we were              10:05:07
                                                                               8 seeing on the subject tank.                    10:05:11
                                                                               9       Q. And did you find any?                  10:05:13
                                                                              10       A. I don't know that I found any that           10:05:14
                                                                              11 were -- had pictures or sufficient information really 10:05:17
                                                                              12 to be similar. Certainly there are cases where in        10:05:20
                                                                              13 storage tanks there have been issues and explosions        10:05:27
                                                                              14 because nitrogen has gotten into the vacuum space and 10:05:30
                                                                              15 for other reasons, but I didn't find a dewar -- a      10:05:34
                                                                              16 written-up case with a dewar similar to this freezer      10:05:39
                                                                              17 that had a similar failure mode.                    10:05:45
                                                                              18       Q. Do you have any education in cryogenic           10:05:48
                                                                              19 engineering?                               10:05:52
                                                                              20       A. No, my real experience with cryogenics,         10:05:53
                                                                              21 again, is using equipment that had nitrogen-cooled         10:05:57
                                                                              22 detectors and dealing with replenishing that            10:06:00
                                                                              23 equipment.                                10:06:04
                                                                              24       Q. Do you consider yourself an expert on          10:06:04
                                                                    03      25 the design of cryogenic storage tanks?                   10:06:06
                                                                    Page 23                                                                        Page 25

                                                                                                                              7 (Pages 22 - 25)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 9 of 92

 1       A. I think I have materials and mechanical        10:06:09         1 that came up in my Ph.D. thesis.                    10:08:44
 2 engineering skills that pertain to the design of       10:06:11          2       Q. Do you have any publications on                10:08:45
 3 cryogenic storage tanks. Am I an expert designer of         10:06:14     3 electronic controllers?                       10:08:46
 4 cryogenic storage tanks? No, but I certainly think I 10:06:23            4       A. Do not.                          10:08:48
 5 have the skills to evaluate a failure of a cryogenic      10:06:26       5       Q. Do you consider yourself an expert on           10:08:48
 6 storage tank, and if I felt I was lacking in one area, 10:06:26          6 electronic controllers?                       10:08:51
 7 I would seek expertise in that area.               10:06:28              7       A. Not -- my expertise was limited to the         10:08:53
 8       Q. Has any company ever hired you to serve           10:06:32      8 electronic controls I implemented either as part of        10:08:56
 9 as a consultant regarding the design of a cryogenic        10:06:34      9 the work I did for the military, part of my graduate       10:09:00
10 storage tank?                             10:06:37                      10 studies, or developing test fixtures for projects        10:09:03
11       A. I've had failures of cryogenic tanks       10:06:39            11 throughout the years. I am not at this point holding 10:09:08
12 where I've been hired as a consultant to evaluate the 10:06:45          12 myself out as an expert in electronic controllers as       10:09:11
13 failure, but not as a consultant to design or redesign 10:06:48         13 it applies to the TEC 3000.                     10:09:14
14 the tank.                               10:06:54                        14       Q. Okay. What were the electronic                10:09:17
15       Q. And in what matters were you hired as a          10:06:54      15 controllers that you worked on in your graduate days? 10:09:19
16 consultant to assess the failure of a cryogenic        10:06:57         16       A. So when I was -- first started my             10:09:22
17 storage tank?                             10:07:00                      17 graduate program, my main job was to deal with              10:09:24
18       A. It was a liquid oxygen tank belonging to 10:07:01              18 computer control of data collection from the              10:09:27
19 Air Liquide is the one that comes to mind.             10:07:06         19 instrumentation that was being used in my advisor's         10:09:33
20       Q. And what happened? Was that a storage            10:07:11      20 lab. Because of the timing, I was one of the first        10:09:36
21 tank?                                  10:07:15                         21 generations of engineering students to get exposed to 10:09:40
22       A. It was a transport storage tank, and       10:07:15            22 the PCs and actually got involved with LabVIEW and                10:09:44
23 there was an explosion during the attempt to offload        10:07:17    23 building some applications in LabVIEW to control other 10:09:47
24 liquid oxygen, and I don't know if there's a lawsuit      10:07:21      24 pieces of equipment. Then one of the major contracts 10:09:52
25 involved, but it is ongoing. So beyond that, I'd        10:07:27       25 I had with the Department of Defense involved wiring            10:09:54
                                                                  Page 26                                                                      Page 28

 1 probably be -- I really shouldn't answer any other        10:07:29       1 hundreds of sensors to a data acquisition and control 10:09:58
 2 questions pertaining to my findings or work done.          10:07:35      2 system. So I do have expertise with temperature            10:10:01
 3      Q. Was the explosion caused by an external           10:07:37       3 sensors, with data acquisition and display, but,          10:10:04
 4 ignition source?                          10:07:41                       4 again, this is a different -- my expertise are [sic]     10:10:13
 5      A. I believe so. I mean, there was --         10:07:42              5 more on the computer side, the wiring side, and not on 10:10:16
 6 individuals working on a valve that was stuck, and         10:07:47      6 the firmware, the circuit board level. I mean, I've       10:10:20
 7 that was -- something went wrong.                   10:07:49             7 done some circuit board failure analysis, but it's       10:10:24
 8      Q. Are you aware of any major changes to             10:07:51       8 looking at solder joints, not at the behavior of the      10:10:27
 9 the basic design of cryogenic storage tanks over the       10:07:56      9 firmware itself.                           10:10:30
10 past 40 years?                            10:08:05                      10       Q. You had some role, I think, at Duke with 10:10:31
11      A. I mean, I certainly know that there's       10:08:06            11 regard to their computer systems, their network,           10:10:35
12 much more computer monitoring, computer controls that 10:08:09 12 right?                                           10:10:37
13 are on these tanks than 25 years ago when I was            10:08:13     13       A. Well, again, I was kind of the             10:10:37
14 working with them.                             10:08:16                 14 mechanical engineering department expert for a while           10:10:40
15      Q. How about just with regard to the tank         10:08:16         15 on anything PC-related, ranging from data acquisition 10:10:44
16 itself?                                10:08:18                         16 to setting up our network, to helping in the office if 10:10:51
17      A. Not particularly, no.                  10:08:18                 17 there was a networking issue. Just was, for better or 10:10:55
18      Q. Have you published any papers on               10:08:19         18 worse, the timing.                           10:11:00
19 cryogenic engineering or cryogenic storage tanks?           10:08:26    19       Q. It fell upon you?                   10:11:01
20      A. I have not.                      10:08:30                       20       A. It did. It was probably for the worse.        10:11:02
21      Q. Is it correct that your publications       10:08:31             21       Q. You're not a metallurgist, right?          10:11:04
22 concern computer visualizations and animations and           10:08:34   22       A. I consider myself to be a materials           10:11:12
23 then protective gear?                        10:08:35                   23 engineer. That was kind of the program I went              10:11:13
24      A. Yeah, my main publications were related           10:08:36      24 through. I've had experience in metals and plastics, 10:11:17
25 to protective gear for the military and then the work 10:08:40     25 but I would not call myself a metallurgist, per se.            10:11:20
                                                              Page 27                                                                         Page 29

                                                                                                                            8 (Pages 26 - 29)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 10 of 92

 1         Q. What in your mind is the difference          10:11:24              1 and we are off the record.                       10:14:02
 2 between a materials engineer and metallurgist?               10:11:28         2          (Recess taken.)                   10:14:04
 3         A. I got training in metals, some in          10:11:32                3          (Deposition Exhibit 1 was marked.)            10:18:45
 4 ceramics, in plastics also, and I didn't focus simply 10:11:35                4          THE VIDEOGRAPHER: The time is 10:18,                   10:18:45
 5 on metals, and I think it was partly, again, the          10:11:40            5 and we are back on the record.                     10:18:49
 6 timing of my generation. Semiconductor materials,               10:11:42      6       Q. (BY MR. SMITH) Dr. Kasbekar, I've                10:18:50
 7 plastics, ceramics were part of the materials             10:11:46            7 marked as Exhibit 1 a copy of your report. Do you           10:18:52
 8 curriculum, where maybe in the '50s through the '70s, 10:11:53                8 recognize it?                             10:18:56
 9 it was more focused on metals, but I had quite an            10:11:57         9       A. I do.                          10:18:56
10 amount of training and experience with metallurgy and 10:12:01               10       Q. Did you write your report?                10:18:57
11 failure analysis of metals while in graduate school in 10:12:04              11       A. I did.                         10:18:59
12 the 30-some years past.                           10:12:08                   12       Q. Were you assisted by anyone in the            10:19:00
13         Q. Were you the Graduate generation, "It's        10:12:10           13 preparation of your report?                      10:19:03
14 all about plastics, Benjamin"?                       10:12:13                14       A. The only assistance I really got was         10:19:05
15         A. The funding was certainly in plastics.       10:12:16             15 with regard to the transition of some of the citations 10:19:08
16 My interest was more in metals. So my graduate                10:12:19       16 from -- I may mess this up -- but documents that were 10:19:11
17 research was funded thanks to plastics, but my real          10:12:22        17 part of the 408, if that's the correct number, the      10:19:17
18 interest was in metals.                         10:12:25                     18 initial disclosure to documents that have been           10:19:20
19         Q. You've not written any papers regarding         10:12:28          19 remarked.                                 10:19:23
20 metal failure or metallurgy; is that correct?           10:12:32             20       Q. Okay. So documents that have been              10:19:24
21         A. No, I have not.                     10:12:35                      21 exchanged, I think, on a confidential basis for         10:19:25
22         Q. In your C.V., you list a number of areas 10:12:36                 22 settlement purposes and then reproduced once we got             10:19:28
23 of relevant experience and postgraduate training,            10:12:38        23 into litigation?                          10:19:31
24 correct?                                   10:12:42                          24       A. Correct. I think I had cited a lot of       10:19:32
25         A. Correct.                         10:12:42                         25 those documents, and the goal was to cite to the         10:19:34
                                                                      Page 30                                                                     Page 32

 1         Q. Is it fair to say that you have more       10:12:44                1 officially-produced documents, and from that, I got         10:19:37
 2 relevant experience and postgraduate training with            10:12:44        2 help from Ms. Zeman.                             10:19:43
 3 regard to plastics, rubbers, and polymers rather than 10:12:44                3       Q. Is there anything in your report that        10:19:44
 4 metals?                                    10:12:48                           4 you have found to be incorrect since it was submitted 10:19:46
 5         A. If we're talking about post-            10:12:49                   5 that you would like to correct?                   10:19:49
 6 undergraduate training, I would say probably more, but 10:12:54               6       A. Nothing major, but there is some small         10:19:50
 7 not by much. A lot of classes I took were actually in 10:12:56                7 typos that I noticed after reviewing it more recently. 10:19:53
 8 mechanical metallurgy and failure analysis of metals. 10:13:00                8 Do you want me just to go through those?                 10:19:57
 9 I took classes also in polymers but not so much the          10:13:03         9       Q. Sure.                           10:19:59
10 organic chemistry of things, more fractography of             10:13:08       10       A. On Page 3, about the sixth line down,          10:20:00
11 polymers. Postgraduate of graduate school, I would              10:13:13     11 where I quoted Dr. Conaghan, and I quoted, "Had               10:20:08
12 say it's a mix of both metals and plastics. I          10:13:16              12 difficulty removing the tank from the lid." It should 10:20:13
13 actually after -- I guess this was shortly after        10:13:20             13 be "lid from the tank," and that's a byproduct of me        10:20:18
14 receiving my Ph.D., did some work for ASM, which is               10:13:25   14 typing my own report.                            10:20:23
15 now called The Materials Society -- it used to be            10:13:29        15          On Page 6, for footnote number 25, I          10:20:32
16 primarily a metal society -- where they hired us -- I 10:13:34               16 added Page 148, lines 21 through 24 of Conaghan's             10:20:44
17 proposed to them taking the metals handbooks, which is 10:13:41              17 deposition to that cite.                     10:20:50
18 a multivolume set, and transferring them onto CD in a 10:13:44               18          On Page 20, about the ninth line down,        10:20:52
19 manner in which you could search them more efficiently 10:13:48              19 the sentence that starts with, "Given a fill level of 10:21:29
20 and bring up relevant contents. So we had a contract 10:13:51                20 14 inches as documented and a height to volume              10:21:31
21 with them to do that.                          10:13:54                      21 relationship," I just switched "volume" and "height"        10:21:35
22            MR. SMITH: Okay. Let me just take a             10:13:55          22 for clarity. It really should have read "a volume to 10:21:40
23 quick break and grab the exhibits that are outside          10:13:57         23 height relationship of 10.3." And I had "inches." It 10:21:44
24 here.                                     10:13:59                           24 should be "liters of LN2," not inches of LN2. And at 10:21:40
25            THE VIDEOGRAPHER: The time is 10:13,                  10:14:00 25 the bottom of that page for footnote 34, I also            10:21:56
                                                                      Page 31                                                                     Page 33

                                                                                                                                9 (Pages 30 - 33)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 11 of 92

 1 referenced MSO021238, which I think is the original           10:21:59         1       Q. And is that because the destructive           10:24:50
 2 document where I found the 10.3 liters per inch. I          10:22:09           2 testing of Tank 4 has not been completed?                10:24:55
 3 think it's redundant with the CHART 001838 document.               10:22:13    3       A. It's because of that, and also because,       10:24:58
 4 I think they're two separate documents, but they say        10:22:19           4 my understanding, discovery is still ongoing, and          10:25:00
 5 the same thing.                             10:22:24                           5 until I've had a chance to read the remainder of the       10:25:03
 6          On Page 22, Opinion Number 4, I added to 10:22:30                     6 discovery documents that might pertain to my areas of 10:25:07
 7 reference to the one, two -- third line down, where it 10:22:41                7 analysis, I would consider it to be preliminary.         10:25:12
 8 says, "Documents produced by charge state. That loss 10:22:47                  8       Q. Pages 7 and 8 of your report lists the        10:25:22
 9 of controller may or may not lead to an unacceptable         10:22:50          9 materials that you reviewed in connection with the          10:25:25
10 risk," I added reference -- the existing reference 43 10:22:57                10 preparation of your report; is that right?             10:25:27
11 to cite that sentence.                       10:23:00                         11       A. Correct.                           10:25:28
12       Q. And you added the space between "may"              10:23:06          12       Q. Did counsel select all of the documents         10:25:29
13 and "or," right?                            10:23:08                          13 and depositions for your review?                   10:25:34
14       A. Where is that?                      10:23:11                         14       A. Counsel provided them to me, so I would           10:25:38
15       Q. It's on the third line. You say,         10:23:12                    15 say yes. I mean, these are -- this is the information 10:25:40
16 "Controller mayor," as in person, as opposed to "may," 10:21:40               16 I was provided with.                           10:25:44
17 space, "or."                              10:21:40                            17       Q. Did you search for any documents on your 10:25:45
18       A. Not on my copy.                        10:23:15                      18 own in connection with the preparation of your report? 10:25:48
19       Q. Oh, really?                        10:23:16                          19       A. I looked at Chart's website. I looked         10:25:51
20          MS. ZEMAN: Same here.                         10:23:17               20 at the recall that Chart had issued. I think prior to 10:25:58
21       Q. (BY MR. SMITH) Okay.                           10:23:20              21 it being provided in the documents, I had found it         10:26:04
22       A. So now I've got to look back at your           10:23:21              22 online at some point. Maybe some catalogs. Just             10:26:06
23 copy and determine whether it really is inaccurate.         10:23:23          23 information generally related to Chart tanks is the        10:26:13
24       Q. It looked like there's no space in my          10:23:25              24 main thing I may have sought out on my own.                 10:26:16
25 copy.                                   10:23:29                              25       Q. Did you look at PFC's website?                10:26:18
                                                                       Page 34                                                                         Page 36

 1       A. The one you provided to me is fine.             10:23:36              1       A. I think I did at one point, yes.        10:26:21
 2       Q. I don't know if you can see that. I put 10:23:43                      2       Q. Did you review any scientific literature 10:26:23
 3 a slash through it because it was so close together.       10:23:45            3 in connection with the preparation of your report?         10:26:25
 4          MS. ZEMAN: Weird.                         10:23:47                    4       A. I may have read a little bit about        10:26:33
 5       A. That's weird. Maybe it's the way the           10:23:48               5 fertility clinics, mainly just for my personal          10:26:36
 6 PDF printed out.                             10:23:52                          6 edification to become more comfortable with the             10:26:40
 7          There should be a space between "may"            10:23:58             7 subject matter, but nothing that I think that really     10:26:43
 8 and "or," and it looks to be that way on the copy you 10:24:01                 8 was relevant to my analysis of this.               10:26:46
 9 provided me as well as the copy I brought with me, so 10:24:05                 9       Q. Did you conduct any interviews of anyone 10:26:48
10 I don't know what's happening there.                    10:24:08              10 regarding cryogenic tanks?                       10:26:50
11          Item 5, I added the word "or" on the          10:24:09               11       A. No.                            10:26:53
12 front -- I'm sorry, on the first line, where it says     10:24:14             12       Q. Did you perform any independent testing           10:26:53
13 "fabricated and instrumented." I said "fabricated          10:24:17           13 other than that that was conducted under the             10:27:03
14 and/or instrumented." I think that's the only, you         10:24:25           14 agreed-upon protocol for purposes of a failure            10:27:06
15 know, small typos I've seen.                      10:24:29                    15 analysis of Tank 4?                           10:27:10
16       Q. (BY MR. SMITH) Are all of the opinions              10:24:32         16       A. No, only what was done at Menlo Park at           10:27:11
17 that you've generated to date in this case contained        10:24:33          17 Exponent's facility.                          10:27:16
18 within this report?                          10:24:35                         18       Q. Do you have any plans to conduct any             10:27:18
19       A. I believe so.                      10:24:39                          19 independent testing?                           10:27:21
20       Q. Is it correct that your opinions are          10:24:40               20       A. Possibly, yes.                      10:27:22
21 preliminary in nature?                          10:24:44                      21       Q. And what are the possible -- strike           10:27:23
22       A. Yes.                            10:24:45                             22 that. What is the possible testing that you have in       10:27:24
23       Q. Is it possible that your opinions will        10:24:45               23 mind?                                   10:27:26
24 need to be revised or changed?                      10:24:48                  24       A. I've discussed with counsel --            10:27:27
25       A. It is.                         10:24:50                              25          MS. ZEMAN: I warn the witness not to             10:27:30
                                                                       Page 35                                                                      Page 37

                                                                                                                                 10 (Pages 34 - 37)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 12 of 92

 1 divulge work product.                         10:27:33
 2       A. Let me just say this. Any testing that      10:27:38
 3 I have given consideration to, I have discussed with      10:27:40
 4 counsel, so I'm not sure whether I'm --              10:27:44
 5       Q. (BY MR. SMITH) Can you tell me what              10:27:47
 6 testing you've considered in your own mind without         10:27:49
 7 regard to any conversation you've had with counsel?        10:27:51        7       Q. With regard to your idea of obtaining an 10:30:49
 8       A. Well, all of the testing has been stuff     10:27:54              8 exemplar tank and placing it under similar              10:31:00
 9 I've suggested, not something that they suggested to      10:27:58         9 circumstances as what happened here, what similar              10:31:05
10 me. The issue is that I have talked with them about       10:28:00        10 circumstances would you place an exemplar tank              10:31:09
11 it. So I need clarification as to --          10:28:02                    11 under --                                 10:31:12
12            MS. ZEMAN: I think you can tell him         10:28:07           12       A. I haven't --                     10:31:13
13 what you have considered, just not disclose our          10:28:09         13       Q. -- for purposes of this potential          10:31:14
14 conversations regarding it.                   10:28:12                    14 testing?                                 10:31:15
15       A. Essentially, obtaining an exemplar tank, 10:28:14                15       A. I haven't completely outlined a test         10:31:15
16 looking at the behavior of that tank under similar      10:28:23          16 protocol at this point, but essentially evaluating -- 10:31:16
17 circumstances to what has happened here. We've talked 10:28:26            17 so I had asked counsel to request from Chart             10:31:21
18 about x-raying other tanks.                    10:28:33                   18 information regarding consumption rates of nitrogen in 10:31:23
19       Q. (BY MR. SMITH) Anything else?                  10:28:45          19 the event of a loss of vacuum, not a loss of           10:31:28
20       A. That's essentially been the nature of       10:28:48             20 containment of the liquid nitrogen. And my               10:31:33
21 the conversation. We've talked about further           10:28:50           21 understanding is that has not been produced, isn't        10:31:37
22 destructive --                            10:28:52                        22 available, or for whatever reason, I don't have it.     10:31:39
23            MS. ZEMAN: AGAIN, I warn the witness -- 10:28:53               23 So that would be one area that we'd look at. I think 10:31:43
24            THE DEPONENT: Sorry.                      10:28:56             24 there's a question -- a question you supposed earlier 10:31:47
25            MS. ZEMAN: -- to discuss only what          10:28:56       25 in the deposition as to how much nitrogen may have                 10:31:49
                                                                 Page 38                                                                          Page 40

 1 you've considered.                          10:28:58                       1 been in the tank, and I think I answered that at least 10:31:51
 2       A.                                                                   2 from the top of the box is 11 inches on up, 3 times       10:31:54
                                                                              3 10.3, around 30-some liters, and then the boxes take       10:31:59
                                                                              4 up a certain amount of volume. So below that I don't 10:32:04
                                                                              5 have even enough information about what was in there            10:32:09
                                                                              6 to do calculations to determine how much the contents 10:32:10
                                                                              7 have occupied. So, you know, one of the areas I           10:32:13
                                                                              8 propose that we should probably take a look at is what 10:32:17
                                                                              9 exactly was in there and roughly what amount of volume 10:32:20
                                                                             10 below 11 inches was consumed by structure and samples 10:32:25
                                                                             11 and therefore what volume would be left of nitrogen.        10:32:28
                                                                             12            And I think the other question, again,     10:32:34
                                                                             13 is not knowing in detail the sieve contents, the        10:32:37
                                                                             14 insulation issue, what the exact volume of the vacuum 10:32:40
                                                                             15 space is in an absence of a number provided by Chart, 10:32:46
                                                                             16 which I also had asked for from counsel, using the         10:32:49
                                                                             17 exemplar tank to evaluate that volume so we have an            10:32:53
                                                                             18 idea of how much of the nitrogen may have been sucked 10:32:56
                                                                             19 down and at what rate.                         10:32:59
                                                                             20       Q. What do you know, if anything, about the 10:33:01
                                                                             21 space taken up by the contents within Tank 4?             10:33:04
                                                                             22       A. What I can glean from pictures and            10:33:10
                                                                             23 descriptions and catalog, you know, I would say at         10:33:14
                                                                             24 this point quantitatively not much more than the          10:33:19
                                                                             25 height of the rack or the boxes is approximately 11       10:33:24
                                                                   Page 39                                                                     Page 41

                                                                                                                             11 (Pages 38 - 41)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 13 of 92

 1 inches.                                 10:33:30                            1          MR. TARANTINO: For whom?                         10:36:32
 2       Q. And so you don't know at present what           10:33:37           2          THE DEPONENT: Conaghan.                         10:36:34
 3 the volume of space is that was taken up by the           10:33:42          3          MR. TARANTINO: Doctor.                         10:36:37
 4 cannisters or the racks as well as the samples; is       10:33:46           4       Q. (BY MR. SMITH) So in your opinion,                10:36:38
 5 that right?                               10:33:49                          5 Dr. Kasbekar, is 1 inch of liquid nitrogen an unsafe       10:36:41
 6       A. I do not. I would point out that I did      10:33:49               6 level?                                  10:36:44
 7 request exemplar components to be present at the last 10:34:02              7       A. You're going outside of my direct area          10:36:45
 8 inspection, but for whatever reason, that did not        10:34:06           8 of expertise, but I would say given that the intention 10:36:50
 9 happen.                                   10:34:10                          9 is to keep the racks covered, it would seem to be an       10:36:56
10       Q. What type of exemplar components?               10:34:10          10 unsafe level, but again in terms of what level of         10:37:00
11       A. The racks or something similar to what          10:34:15          11 cooling beyond what I've read in other experts'           10:37:04
12 was in Tank Number 4 at the time of failure.             10:34:19          12 reports, without -- if you take the number of 150 C as 10:37:06
13       Q. You visited and photographed the PFC             10:34:22         13 you get warmer than that, or negative 150 C, that          10:37:11
14 laboratory in San Francisco in September of 2018,           10:34:25       14 there's an issue, I would have to look at what 1 inch 10:37:16
15 right?                                 10:34:28                            15 would do and where the exact tissue was located. So          10:37:19
16       A. I did.                         10:34:28                           16 this is more intended to characterize what I gleaned       10:37:22
17       Q. And in the second sentence of your             10:34:28           17 from the deposition testimony and conversations with         10:37:26
18 report --                               10:34:30                           18 other experts.                             10:37:29
19       A. What page are you on?                    10:34:31                 19       Q. Okay. So your writing that the liquid          10:37:30
20       Q. It's on Page 2. In the second sentence       10:34:32             20 level -- strike that. So your writing in this report 10:37:34
21 of your report in the Background section on Page 2          10:34:48       21 that the level of liquid nitrogen reaching below a        10:37:37
22 reads, quote, "The PFC laboratory is operated by           10:34:51        22 safe level is based upon your understanding from other 10:37:40
23 Prelude Fertility, Inc. and its subsidiary Pacific MSO 10:34:55            23 documents?                                 10:37:42
24 LLC." Do you see that?                          10:34:57                   24       A. Yes, and it's also based upon my              10:37:45
25       A. I do.                          10:34:59                         25 understanding that the desired level was in the 10 to 10:37:47
                                                                    Page 42                                                               Page 44

 1      Q. And is it your understanding that            10:35:00               1 11-inch range and that you're well below it. So if        10:37:49
 2 Prelude Fertility and its subsidiary, Pacific MSO,        10:35:02          2 that's the range that is deemed reasonably safe for       10:37:54
 3 LLC, operated the laboratory at all relevant times?       10:35:08          3 the storage of those contents and you're at 10 percent 10:37:58
 4      A. That's my general understanding. I'm            10:35:20            4 or less of that level, I would consider that to be      10:38:01
 5 not sure what you consider to be all relevant times,      10:35:22          5 unsafe, but in terms of the effect on the tissue, I     10:38:05
 6 but that was my understanding from what was expressed 10:35:24              6 would leave that to somebody else to render an opinion 10:38:10
 7 to me from counsel as well as reading some of the          10:35:26         7 on.                                    10:38:12
 8 documents, but, again, it is put in there for        10:35:28               8       Q. Is it your assumption that if the liquid 10:38:12
 9 informational purposes. I don't know that it's          10:35:31            9 level reaches 1 inch or below that the eggs and           10:38:16
10 something that I relied upon for my engineering           10:35:33         10 embryos within the tank would be exposed to unsafe           10:38:21
11 opinions.                                 10:35:35                         11 temperatures?                              10:38:24
12      Q. On the top of Page 3, you write that on         10:35:35           12          MS. ZEMAN: Objection, outside his area           10:38:25
13 March 4th of 2018, the level of liquid nitrogen in        10:35:49         13 of expertise.                             10:38:27
14 Tank 4, quote, had been below a safe level for an         10:35:55         14       A. I don't know that it's an assumption.         10:38:30
15 undetermined period, end quote. Do you see that?           10:36:01        15 My understanding is that the samples contained within 10:38:32
16      A. Yes.                              10:36:03                         16 this tank have yielded below normal results, and that 10:38:36
17      Q. And you go on in this paragraph to            10:36:04             17 more likely than not is due to result of this          10:38:45
18 indicate that according to Dr. Conaghan -- or            10:36:06          18 incident. So assuming that that is accurate, then        10:38:48
19 Mr. Conaghan, the liquid nitrogen level was found to         10:36:10      19 that would imply that the level that it was found out 10:38:55
20 be approximately 1 inch; is that right?              10:36:14              20 would have been an unsafe level for protecting the         10:38:57
21      A. I think that -- well, that was the        10:36:19                 21 contents. That's essentially the essence of my           10:39:00
22 measurement of the dip stick that they ultimately         10:36:21         22 analysis and opinion in that regard.                  10:39:03
23 took, so that was the level when they took that          10:36:24          23       Q. (BY MR. SMITH) Okay. So your                     10:39:05
24 measurement. Is it doctor or mister?                 10:36:27              24 understanding is that to the extent outcomes of           10:39:06
25      Q. I don't know.                        10:36:30                      25 samples that were in Tank 4 at the time of the           10:39:10
                                                                    Page 43                                                                      Page 45

                                                                                                                            12 (Pages 42 - 45)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 14 of 92

 1 incident are below normal, that is a reflection of the 10:39:14               1       Q. Do different temperatures exist within a 10:41:41
 2 fact that the liquid level -- the liquid nitrogen      10:39:18               2 cryogenic storage tank?                        10:41:47
 3 level in Tank 4 reached an unsafe level; is that         10:39:22             3       A. Yes.                            10:41:47
 4 right?                                    10:39:25                            4       Q. And is there a degradation -- is there a 10:41:47
 5         A. Yeah. Maybe I can make it even simpler. 10:39:25                   5 gradation of temperatures within the tank?              10:41:50
 6         Q. Yes.                           10:39:28                            6       A. A gradation?                        10:41:53
 7         A. If, in fact, the issue that was stored    10:39:28                 7       Q. Yes.                            10:41:55
 8 in that tank was damaged as a result of this incident, 10:39:34               8       A. Yes.                            10:41:56
 9 that the level that the tank was in when it was found 10:39:36                9       Q. And what is that gradation?                 10:41:56
10 would have been an unsafe level. I mean, I think           10:39:40          10       A. I don't know for that -- it would vary       10:41:58
11 that's commonsense logic. If for some reason it's          10:39:43          11 from tank to tank, and perhaps it would vary along         10:42:00
12 established that the tissue was the way it would have 10:39:47               12 with the operation of the tank, the ambient             10:42:03
13 been had nothing happened, then, obviously, that can            10:39:51     13 temperature of the room. I don't know a hard answer          10:42:07
14 be re-evaluated.                             10:39:54                        14 to that, but what I will tell you is it goes from the 10:42:09
15         Q. Okay. You write on Page 4 at the very         10:39:54            15 temperature of the liquid nitrogen itself up to         10:42:12
16 top, quote, "As a result of the failure of the subject 10:40:03              16 whatever the warmest temperature might be closer to             10:42:16
17 tank, stored eggs and embryos were more likely than             10:40:07     17 the lid, where there's going to be vapor.             10:42:19
18 not exposed to elevated temperatures." Do you see              10:40:13      18       Q. And so the temperature of liquid             10:42:20
19 that?                                    10:40:16                            19 nitrogen is minus 196 degrees Celsius, right?            10:42:23
20         A. Yes.                           10:40:16                           20       A. Correct.                         10:42:27
21         Q. And that's your opinion, right?           10:40:16                21       Q. And if you're -- at the bottom of the        10:42:27
22         A. It's my opinion based upon the materials 10:40:18                 22 tank, there's liquid nitrogen, and that would be the      10:42:30
23 that I reviewed and my understanding of the               10:40:20           23 temperature there; is that right?                 10:42:32
24 characteristics of the tank.                    10:40:24                     24       A. Correct.                         10:42:36
25         Q. And do you have any estimate as to how          10:40:25     25            Q. And then at the top, is it true that the 10:42:37
                                                                   Page 46                                                                           Page 48

 1 warm the temperatures got within the tank?               10:40:28             1 greatest amount of heat transfer occurs through the        10:42:38
 2      A. No.                               10:40:30                            2 lid of the tank because there's no vacuum insulation       10:42:41
 3      Q. You mentioned the 150 degrees a moment                 10:40:31       3 there?                                   10:42:44
 4 ago. Why did you mention that number?                     10:40:34            4          MS. ZEMAN: Objection to form.                 10:42:45
 5      A. In some of the materials that were filed 10:40:37                     5       A. That would be my expectation. You have           10:42:46
 6 with the class certification brief, other expert       10:40:40               6 a very thick layer of Styrofoam, but then you also        10:42:48
 7 reports, I think, primarily from Plaintiff's expert     10:40:46              7 have an unsealed perimeter, so I would expect along          10:42:51
 8 Christin -- and I'm sorry. I'm blocking her last        10:40:51              8 that perimeter would be where the warmest temperatures 10:42:56
 9 name.                                     10:40:54                            9 would be.                                 10:42:59
10            MS. ZEMAN: Allen.                        10:40:54                 10       Q. (BY MR. SMITH) And do you have an                   10:42:59
11            THE DEPONENT: What is it?                    10:40:55             11 understanding as to what the temperatures are in a         10:43:00
12            MS. ZEMAN: Allen.                        10:40:56                 12 normal operating cryogenic tank at the top?              10:43:09
13      A. Christin Allen, I think there was --          10:40:58               13       A. I may have read something along the way          10:43:12
14 reference to the temperature range in the neighborhood 10:41:00              14 in the documents, but no, I don't know exactly what          10:43:14
15 of 150 is kind of based on memory as a -- there was a 10:41:03               15 that temperature is. Again, I would say it would          10:43:16
16 window she provided. So before I go on the record and 10:41:08               16 depend on the ambient conditions in the room also and 10:43:18
17 say 150 C is some critical number, I'm just trying to 10:41:11               17 when the top was last replaced and probably, to some         10:43:21
18 give you an approximation based upon the review of her 10:41:12              18 extent, on the level of nitrogen in the tank also.      10:43:27
19 report. It really is outside of my area of expertise. 10:41:14               19       Q. But it's fair to say that the        10:43:31
20      Q. (BY MR. SMITH) Why in your opinion is                  10:41:21      20 temperatures at the bottom of the tank are typically      10:43:32
21 exposure to elevated temperatures important?               10:41:23          21 colder than the temperatures at the top of the tank?      10:43:35
22      A. Because the whole purpose of the Chart           10:41:26            22       A. I would agree with that, absent some          10:43:37
23 tank at issue here is to maintain liquid nitrogen        10:41:30            23 unusual circumstances.                         10:43:39
24 temperatures in order to safely store the embryos and 10:41:33               24       Q. And is it because of temperature             10:43:40
25 other materials that were in that tank.               10:41:37               25 differentials within a tank that Chart recommends          10:43:43
                                                                      Page 47                                                                      Page 49

                                                                                                                               13 (Pages 46 - 49)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 15 of 92

 1 placing thermocouples at two locations within the           10:43:46        1 expansion/contraction is going to affect parts of the 10:46:29
 2 tank?                                   10:43:51                            2 tank.                                   10:46:33
 3       A. That's my understanding.                   10:43:51                3         Q. And how does it affect parts of the        10:46:33
 4       Q. And is it your understanding that           10:43:52               4 tank, generally?                            10:46:36
 5 thermocouples are supposed to be located, one, at the 10:43:54              5         A. Well, in metals, when you heat a metal,      10:46:36
 6 bottom of the tank and, then, two, at the top of the       10:43:57         6 it tends to expand, and when you cool a metal, it         10:46:39
 7 boxes or within the samples of the tank?                 10:44:02           7 tends to contract. If you've got different metals,      10:46:43
 8       A. That's my understanding. I'm not sure           10:44:05           8 they have different coefficients of thermal expansion 10:46:46
 9 if they're thermocouples or RTDs, but either way,           10:44:07        9 and contraction, and even if they don't, based upon        10:46:50
10 temperature measurement probes.                       10:44:12             10 geometry, you can generate stresses from temperature          10:46:55
11       Q. Do you agree if only 1 inch of liquid        10:44:16             11 changes.                                  10:46:58
12 nitrogen existed within Tank 4 as of March 4th of           10:44:21       12         Q. Do you know whether or not temperature          10:46:58
13 2018, the eggs and embryos closer to the top of the         10:44:25       13 cycling can have an effect on the gettering system of 10:47:03
14 tank would be exposed to higher temperatures than the 10:44:29             14 a cryogenic tank?                            10:47:08
15 eggs and embryos near the bottom?                      10:44:33            15         A. I would expect that it could because        10:47:15
16       A. I think the answer is yes, but I didn't     10:44:36              16 depending on -- lower temperatures are going to tend        10:47:18
17 hear the very first of your question. You said if?        10:44:40         17 to result in gases condensing. Higher temperatures         10:47:21
18       Q. Do you agree that if there was only 1           10:44:43          18 are going to have the effect of anything that can        10:47:26
19 inch of liquid nitrogen at the bottom of Tank 4 as of 10:44:43             19 outgas, outgassing and taking up some of the             10:47:30
20 March 4th, 2018, that the eggs and embryos near the            10:44:46    20 capability of the gettering system.                10:47:38
21 top of the tank would be exposed to higher                10:44:50         21         Q. What is your understanding of what the        10:47:43
22 temperatures than the eggs and embryos near the bottom 10:44:53            22 gettering system is within a Chart tank?               10:47:44
23 of the tank?                              10:44:57                         23         A. It's a -- I don't know what the exact      10:47:48
24       A. I think in principle, yes, but not         10:44:59               24 material that is used is in the Chart tank, but the     10:47:51
25 knowing the spacing between those, I have no idea            10:45:02    25 purpose of it is to absorb any contaminants, gases          10:47:54
                                                                    Page 50                                                                     Page 52

 1 whether that's a significant difference at all. I     10:45:04              1 that may form within the vacuum space to keep those           10:48:00
 2 mean, if they're close together, it may be a couple        10:45:07         2 gases from expanding and destroying the vacuum. And I 10:48:04
 3 degrees. If they're farther apart, it could be more, 10:45:10               3 actually have experience with that from some of the        10:48:09
 4 but I really, beyond the commonsense part of it . . . 10:45:13              4 research I did as an undergrad and graduate from some 10:48:12
 5       Q. Do you know whether or not Chart                10:45:19           5 of the systems I built. You know, it's difficult to     10:48:16
 6 recommends that the maximum temperature for biological 10:45:21 6 maintain a high vacuum. And if you suck a vacuum on                          10:48:17
 7 samples be minus 150 degrees Celsius?                     10:45:24          7 something and say there's some contaminant, maybe some 10:48:21
 8       A. I don't know.                        10:45:28                      8 oil from the machining process that's within the         10:48:24
 9       Q. Can elevated temperatures within a              10:45:28           9 vacuum space, as you suck the vacuum, that oil is          10:48:26
10 cryogenic tank cause stress to the tank itself?          10:45:35          10 going to turn to vapor, take up more volume. So           10:48:30
11       A. It's possible, yes.                  10:45:41                     11 anything that has potential to outgas as solid with      10:48:31
12       Q. If there was a sequence of warming and           10:45:42         12 something that's got a lower boiling point within it, 10:48:38
13 cooling events in a cryogenic tank, would that cause         10:45:46      13 it may outgas. If you can somehow gather or get that 10:48:40
14 stress to the tank?                           10:45:51                     14 contaminant, then that will help to preserve a lower      10:48:45
15       A. So you asked me earlier about my                10:45:52          15 vacuum.                                   10:48:50
16 expertise in thermal expansion/contraction which            10:45:55       16      Q. Is a gettering system sometimes called a 10:48:51
17 applies to cryogenic tanks, is exactly relevant to        10:45:59         17 molecular sieve?                             10:48:55
18 your question. So the answer is if you've got             10:46:05         18      A. I've heard that term before, yes.          10:48:56
19 temperature cycling of any sort, then that cycling is 10:46:05             19      Q. And is that because it absorbs             10:48:57
20 going to result in additional stresses on parts of the 10:46:08            20 molecules?                                 10:49:00
21 tank. It's foreseeable stress that can be and should 10:46:11              21      A. Yes. So the molecule itself will either 10:49:01
22 be accounted for in the design and fabrication of the 10:46:17             22 absorb or perhaps even bond with something in the           10:49:03
23 tank, but yes, if you have a tank that is in a        10:46:19             23 gettering agent.                           10:49:06
24 complete steady-state condition versus a tank where          10:46:21      24      Q.
25 there's a variation in temperature, then the thermal       10:46:25
                                                                    Page 51                                                                        Page 53

                                                                                                                             14 (Pages 50 - 53)
                                                            Veritext Legal Solutions
                                                                 866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 16 of 92

                                                                               1 of liquid nitrogen with respect to Tank 4 would be           10:52:10
                                                                               2 some level above and beyond what would cover the               10:52:15
                                                                               3 samples within the tank?                          10:52:18
                                                                               4        A. That's correct.                   10:52:25
                                                                               5        Q. You indicated you read and reread the          10:52:26
                                                                               6 deposition of Dr. Joe Conaghan, right?                  10:52:29
                                                                               7        A. Correct.                        10:52:33
                                                                               8        Q. And he testified in his deposition that      10:52:33
                                                                               9 11-inch cannisters were used to store tissue in,         10:52:36
                                                                              10 right?                                  10:52:39
                                                                              11        A. That's my understanding.                 10:52:40
                                                                              12        Q. Do you know how samples are stored              10:52:41
                                                                              13 within the cannisters?                        10:52:43
                                                                              14        A. I don't have a complete-enough               10:52:44
                                                                              15 understanding at this point to tell you at what level 10:52:45
16       Q. Do you have any opinion as to what a            10:50:12          16 the biological tissue exists in.                  10:52:49
17 safe level of liquid nitrogen is in an MVE 808           10:50:21          17        Q. I -- go ahead.                   10:52:55
18 cryogenic tank?                             10:50:30                       18        A. I have a general understanding that          10:52:56
19       A. My only opinion would be dependent on             10:50:31        19 they're in straws that I think are in canes that are    10:52:57
20 the contents of the tank and the manner of storage and 10:50:33            20 in the box, but beyond that general understanding, I         10:53:01
21 the requirements to maintain the integrity of the        10:50:36          21 don't know.                               10:53:05
22 contents of the tank.                         10:50:38                     22        Q. And what's your understanding of the           10:53:05
23       Q. Is --                         10:50:39                            23 straws within the canes within the box, if you have          10:53:08
24       A. I don't think that question can be         10:50:41               24 one?                                    10:53:11
25 answered. That's too general.                      10:50:42                25        A. I think I've really given you the limit. 10:53:11
                                                                    Page 54                                                                         Page 56

 1       Q. Assuming the contents of Tank 4 were a           10:50:44          1 I don't know how high up the tissue goes. Again, that 10:53:15
 2 series of cannisters that were 11 inches tall, do you 10:50:48              2 was one of the reasons I wanted to see for that          10:53:18
 3 have an opinion as to what a safe level of liquid        10:50:52           3 particular tank what exactly was in there or what --         10:53:20
 4 nitrogen would be within that tank?                   10:50:55              4 something similar to what was in there so I could get 10:53:27
 5       A. Well, I think the minimum required level 10:50:57                  5 a better understanding of it for that particular        10:53:29
 6 would be, from what I understand -- and you're getting 10:51:02             6 setup.                                  10:53:32
 7 outside of my area of expertise into the              10:51:05              7        Q. Is it your understanding that different      10:53:33
 8 embryologist's area of expertise -- would be to          10:51:09           8 stacks of samples may be higher than other stacks of          10:53:35
 9 submerse the contents in liquid nitrogen. That's my        10:51:12         9 samples within a tank?                            10:53:39
10 understanding from this case. Now, I wouldn't call         10:51:15        10        A. That's my general understanding.             10:53:40
11 that minimum level a safe level because you need to           10:51:17     11        Q. And what's that based upon?                10:53:42
12 have an additional buffer to account for consumption          10:51:20     12        A. Conversations, I think, with Christin        10:53:44
13 of the nitrogen due to the inefficiency of the tank to 10:51:25            13 Allen early on in the case, looking at some of the        10:53:48
14 be a sufficient insulator, due to the foreseeable use 10:51:32             14 rack designs for various tanks online, that type of       10:53:56
15 of the tank lid and you're going to lose nitrogen, so 10:51:36             15 thing.                                  10:53:59
16 there would be some buffer in there.                  10:51:39             16        Q. And you mentioned conversations with            10:53:59
17          My understanding is that PFC considered         10:51:41          17 Christin Allen. Were those in connection with our            10:54:02
18 that level at the end of the day to be 2 to 3 inches     10:51:45          18 visits to the multiple facilities or were those        10:54:08
19 above the top of the ranks.                     10:51:49                   19 separate?                                 10:54:11
20       Q. You understand that the Tank 4 Chart            10:51:52          20        A. It was in connection with the visit to       10:54:11
21 tank was a tank that was designed to submerge samples 10:51:58             21 PFC primarily.                              10:54:13
22 in liquid nitrogen as opposed to have samples exist in 10:52:03            22        Q. And do you recall what she said about          10:54:14
23 vapor, right?                              10:52:06                        23 the stacking of samples within cannisters?               10:54:16
24       A. That's my understanding.                  10:52:07                24        A. I think she was generally explaining it       10:54:19
25       Q. So is it your opinion that a safe level     10:52:08              25 to counsel, and I was nearby, but it was more with           10:54:21
                                                                    Page 55                                                                       Page 57

                                                                                                                             15 (Pages 54 - 57)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 17 of 92

 1 regard to the glass straws, breakage. It was            10:54:28            1 documentation or exemplar to say, hey, this most           10:57:27
 2 explained to me that some breakage -- because I             10:54:33        2 probably was inside that space at the time.           10:57:32
 3 noticed in photos there were fragments of glass in the 10:54:36             3      Q. Okay. I actually don't know. So is it       10:57:33
 4 bottom, and she said that wasn't atypical to have          10:54:39         4 your understanding that a cane is like a test tube?      10:57:36
 5 something like that.                         10:54:42                       5      A. I think a test tube but more maybe a          10:57:39
 6          MR. SMITH: Okay. Let me mark as                 10:54:55           6 metal -- metal or glass.                      10:57:45
 7 this -- let me mark this as Exhibit 2.              10:55:00                7      Q. You said capillary; is that like a blood 10:57:48
 8          (Deposition Exhibit 2 was marked.)           10:55:01              8 draw tube?                               10:57:51
 9          MR. SMITH: And so for the record, I            10:55:21            9      A. Yes, something like that. You're really 10:57:52
10 marked as Exhibit 2 a document that is Bates-stamped, 10:55:23             10 pushing me on my expertise, so your understanding is         10:57:53
11 even though it's very difficult to see, MSO 023987            10:55:27     11 probably not a whole lot worse than mine.              10:57:59
12 and --                                   10:55:35                          12      Q. In your report on Page 3, going back to        10:58:01
13       A. I'll take your word for it because it's     10:55:35              13 Page 3, you summarized Dr. Conaghan's testimony that           10:58:05
14 impossible to see on mine.                         10:55:37                14 he did not find any ice buildup around the lid?          10:58:18
15       Q. (BY MR. SMITH) And, Dr. Kasbekar, is                 10:55:39     15      A. Correct.                        10:58:26
16 this the exemplar tank photo that you reference in         10:55:43        16
17 your report?                               10:55:47
18       A. I believe that it is. Without comparing 10:55:48
19 it, I'm not positive.                       10:55:52
20       Q. I'll represent to you that it is Item 26 10:55:53
21 as referenced in your report on Page 8.               10:55:56
22       A. Okay. I have no reason to disagree with 10:56:00
23 that, but I'm not looking at my particular one, but it 10:56:10
24 seems reasonable.                            10:56:14
25       Q. One of the documents that you reviewed            10:56:15
                                                                    Page 58                                                                       Page 60

 1 and I guess relied upon in connection with your report 10:56:18
 2 was a photograph of an exemplar tank, right?               10:56:20
 3       A. Correct.                          10:56:24
 4       Q. And I've represented to you that this is 10:56:25
 5 the photo that was cited in your report. What is your 10:56:29
 6 understanding of what these squares are or the general 10:56:33
 7 square shapes?                               10:56:39
 8       A. I think that's the rack or the boxes        10:56:41
 9 that have been referred to in depositions.             10:56:43
10       Q. And does it appear to you that in this       10:56:44
11 exemplar tank at least, certain of the boxes are         10:56:49
12 taller than other boxes?                        10:56:51
13       A. It does.                         10:56:53
14       Q. And do you know why that is?                 10:56:53
15       A. Beyond an assumption that they're             10:56:56
16 stacked or the canes are different sizes, no, I really 10:56:59
17 don't.                                   10:57:02
18       Q. And when you say "cane," what does that            10:57:03
19 mean?                                     10:57:05
20       A. Well, my understanding is that a straw,        10:57:05
21 which is something similar to a capillary tube, is         10:57:10
22 placed inside a cane, which is placed inside a box.        10:57:14
23 That's my general understanding. It's not an area          10:57:17
24 that I focused a lot of attention on. Again, my hopes 10:57:20
25 was or are that at some point we will get sufficient       10:57:24
                                                                   Page 59
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 18 of 92

 1                                                                                1 certainly not from the testimony evidence prior to          11:02:42
                                                                                  2 this event that that was the case, and then there's a 11:02:45
                                                                                  3 20-some-hour period where nobody is observing the               11:02:49
                                                                                  4 tank. So we don't know the answer to that. And then 11:02:53
                                                                                  5 there's the period where they get to it, and my         11:02:57
                                                                                  6 understanding of the testimony -- of Dr. Conaghan's          11:02:59
                                                                                  7 testimony is that there was no visible ice buildup,       11:03:03
                                                                                  8 but he makes a point of he did not look underneath the 11:03:08
                                                                                  9 tank where I would expect the initial frost to build      11:03:12
                                                                                 10 up.                                      11:03:15
                                                                                 11       Q. Why would you expect the frost to build         11:03:19
                                                                                 12 up at the bottom of the tank at first?               11:03:22
                                                                                 13       A. Because based on what we found thus far, 11:03:23
                                                                                 14 the only positive leak site that we've identified is    11:03:34
15      Q. And you just said if you emptied a              11:01:02              15 in the annular weld at the bottom of the tank, and        11:03:38
16 storage tank, you would have frost.                    11:01:07               16 that's literally, you know, right at the false        11:03:43
17      A. Yes.                               11:01:10                           17 level -- close to the level of the false bottom, give 11:03:46
18      Q. Can you explain what you mean by that?             11:01:10           18 or take a centimeter or so. That crack would have           11:03:48
19      A. When you have expansion of gas, you have 11:01:12                     19 allowed nitrogen to enter into the vacuum space,            11:03:54
20 a cooling effect. So when I used to fill dewars up,        11:01:15           20 liquid nitrogen, which is heavier than air. Would         11:03:58
21 and you open up and the gas is flowing out, you're            11:01:19        21 have migrated to the lowest point, which would have             11:04:04
22 generally going to cause cooling to the outer tank,        11:01:22           22 been the bottom, until it got to the point where it      11:04:06
23 and then the humidity in the room will condense on             11:01:26       23 filled at least to the level of the crack, you know,    11:04:10
24 that cold surface relatively quickly and form frost.       11:01:29           24 if there was sufficient nitrogen in the tank to do      11:04:13
25      Q. The existence of ice on the outside of a 11:01:33        25 that at the time. So therefore, you've got liquid                    11:04:17
                                                            Page 62                                                                                 Page 64

 1 tank would indicate a failure of the vacuum in the          11:01:37           1 nitrogen at 196 in direct contact with the stainless     11:04:21
 2 tank, right?                                11:01:39                           2 steel bottom of the tank. Stainless isn't an ideal      11:04:25
 3          A. Say that one more time. I was looking         11:01:42             3 conductor, but it's still a much better conductor than 11:04:28
 4 at my report.                                11:01:44                          4 air or vacuum space. You're going to have a very cold 11:04:31
 5          Q. Yes. The existence of ice on the           11:01:46                5 bottom of that tank within, you know, probably              11:04:35
 6 outside of a tank would indicate a failure of the         11:01:48             6 seconds, and any humidity in the air is going to tend 11:04:38
 7 vacuum in the tank, right?                         11:01:52                    7 to condense out on that cold surface, so the surface        11:04:41
 8          A. It certainly could, yes. Are we talking 11:01:54                   8 is going to be, you know, close to the temperature of 11:04:44
 9 about -- so tanks are generally sealed. Dewars are          11:01:58           9 the liquid nitrogen, you know, warmer, but certainly         11:04:47
10 generally more -- they're open to atmospheric              11:02:02           10 below freezing. It's going to develop frost at that      11:04:50
11 pressure, even with the lid on, really, unless           11:02:06             11 point until the nitrogen is consumed and it starts to 11:04:53
12 something has gone wrong, the internal part is not -- 11:02:08                12 warm and that frost melts and drips down onto the            11:04:56
13 so, yes, in a dewar, that would be the case.             11:02:14             13 floor.                                   11:05:00
14          Q. And Tank 4 is a dewar?                  11:02:17                  14       Q. Wouldn't you expect that if 20 to 30          11:05:03
15          A. Tank 4 is absolutely a dewar.             11:02:19                15 liters of liquid nitrogen entered the interstitial     11:05:06
16          Q. So would you expect if there was a           11:02:21             16 space that there would be a thick layer of ice near       11:05:13
17 vacuum failure in Tank 4 that the outside of the           11:02:24           17 the bottom of Tank 4?                            11:05:19
18 vacuum would be covered in ice?                         11:02:27              18       A. Depending on when that happens, yes. I           11:05:22
19          A. Eventually, yes. After some period of        11:02:28             19 mean, if -- so let's say that this happened 20 hours      11:05:27
20 time, yes, not necessarily the instant that the vacuum 11:02:30               20 ago. That layer of ice may have melted over time. If 11:05:31
21 fails.                                   11:02:32                             21 it happened 10 seconds ago or 2 minutes ago, no, I           11:05:38
22          Q. And to your knowledge, is there any          11:02:34             22 wouldn't necessarily expect it all to condense out and 11:05:43
23 evidence that indicates that Tank 4 was at any time           11:02:35        23 freeze and to form a thick layer of ice. But           11:05:45
24 covered in ice?                               11:02:39                        24 regardless, I don't know how visible -- if it's on the 11:05:49
25          A. I don't know that there's -- there's      11:02:40                25 bottom of the tank, you know, I don't think we're           11:05:52
                                                                       Page 63                                                                       Page 65

                                                                                                                                 17 (Pages 62 - 65)
                                                            Veritext Legal Solutions
                                                                 866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 19 of 92

 1 talking 6 inches of ice necessarily, but if it's,     11:05:56
 2 let's say, a half inch or so of frost on there, I     11:06:00
 3 don't know how visible that would be without making a 11:06:04
 4 concerted effort to look underneath or at the bottom        11:06:06
 5 of the tank.                               11:06:10
 6       Q. Okay. You also indicate in your report         11:06:10
 7 that the liquid nitrogen when it entered into the        11:06:12
 8 interstitial space flashed into a gas, right?         11:06:17
 9       A. Initially, if -- so assuming that          11:06:19
10 there's vacuum in there and there's a crack and          11:06:21
11 nitrogen enters into that space where there's --        11:06:25
12 you're sucking it in, there's still a lower pressure, 11:06:28
13 and that outer wall is warmer, I think there's a good 11:06:32
14 chance that it would very quickly vaporize, but then        11:06:36
15 at some point, sufficient liquid would be entering the 11:06:40
16 vacuum space to maintain liquid in the vacuum space.            11:06:42
17       Q. To the extent it did turn into a gas,       11:06:44
18 that gas would be able to permeate the interstitial       11:06:47
19 space around the tank, right?                       11:06:53
20       A. I think it would -- I think, without        11:06:55
21 having dissected the tank, my answer is probably yes. 11:06:57
22 That could change, but I don't know what the               11:07:00
23 insulation is doing, but I would suspect that would be 11:07:02
24 the case.                                 11:07:06
25       Q. And if a liquid nitrogen vapor was            11:07:07
                                                                      Page 66                                                                   Page 68

 1 allowed to permeate the entire interstitial space,       11:07:08
 2 wouldn't you expect to see condensation or frost           11:07:12
 3 around the entire tank?                         11:07:15
 4       A. Eventually, yes, but that vapor is           11:07:16
 5 competing with the ambient room temperature, which is 11:07:19
 6 warming the outside. So what I would expect and kind 11:07:23
 7 of my experience handling liquid nitrogen is the lower 11:07:27
 8 part of the tank would be the coldest, you would see           11:07:31
 9 frost develop there first, and as the liquid nitrogen 11:07:34
10 cooled that metal to a sufficient temperature, you         11:07:40
11 would start to see frost develop higher and higher up 11:07:43
12 with time. And then as time went on and the nitrogen 11:07:46
13 depleted, you would tend to see that frost line come        11:07:51
14 down and melt and drip onto the floor.                 11:07:53
15       Q. I think it's your opinion that the tank      11:07:56
16 floor failure was catastrophic and sudden at some           11:08:01
17 point between 7:30 a.m. and 12:20 p.m. on March 4th;             11:08:07    17          Can I interrupt for one second?        11:11:01
18 is that right?                             11:08:15                          18      Q. Sure.                           11:11:01
19       A. I would probably broaden it a little bit 11:08:15                   19      A. Because earlier on, you asked me if this 11:11:01
20 more. I would say there was a catastrophic failure         11:08:19          20 is an accurate copy of my report. You brought up the 11:11:04
21 that likely occurred between the time that the staff       11:08:22          21 spacing issue, was it consistent. I don't have any     11:11:04
22 left on Saturday and shortly prior to the point that     11:08:26            22 reason to believe that the language isn't accurate,    11:11:08
23 the issue was discovered with Tank 4.                  11:08:32              23 but certainly there's differences between the report   11:11:11
24       Q.                                                                     24 that I submitted and what you're providing to me. So, 11:11:12
                                                              11:08:49     25 for example, if you go to Page 3, my figure caption           11:11:17
                                                                   Page 67                                                                      Page 69

                                                                                                                              18 (Pages 66 - 69)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 20 of 92

 1 that was on Page 2 is at the top of Page 3. So           11:11:22             1      Q. You may not know this. What's the               11:14:13
 2 somehow likely -- I'm going to guess during the            11:11:27           2 thickness of the stainless steel at the bottom of the 11:14:17
 3 printing process, something with spacing. It's an         11:11:32            3 tank?                                   11:14:21
 4 Adobe issue probably.                           11:11:37                      4      A. I don't know it off the top of my head.        11:14:21
 5       Q. Just so we're clear, you're saying in       11:11:39                 5 I'd have to look at your drawings.                   11:14:23
 6 your copy of the report your figure 1 caption is at       11:11:43            6      Q. Assuming we just poured liquid nitrogen              11:14:25
 7 the bottom of Page 2?                          11:11:45                       7 on the top of a stainless steel plate at the same      11:14:28
 8       A. Let me check. Yep. It's at the bottom          11:11:47              8 thickness as the bottom of the Chart tank, how long           11:14:32
 9 of Page 2 right underneath of the figure.              11:11:57               9 would it take for frost or condensation to develop on 11:14:33
10       Q. And in the Exhibit 1 that I've given          11:11:59              10 the bottom of that plate?                         11:14:35
11 you, the caption is at the top of Page 3?              11:12:02              11      A. I think it would be fairly quickly,          11:14:36
12       A. Maybe we can actually even get the -- if 11:12:04                   12 within minutes, maybe a little quicker than that         11:14:39
13 you want, have the camera zoom in on the two.              11:12:06          13 depending on -- in North Carolina during the summer,            11:14:39
14          MS. ZEMAN: I think you're on different          11:12:10            14 it could be seconds.                         11:14:42
15 pages.                                 11:12:11                              15          MR. SMITH: All right. We can take a            11:14:43
16       A. I'm sorry.                         11:12:12                         16 break.                                  11:14:44
17          MS. ZEMAN: This is Figure 1, right?             11:12:13            17          MS. ZEMAN: Thank you.                        11:14:45
18       A. I'm sorry. This is a figure caption       11:12:15                  18          THE VIDEOGRAPHER: The time is 11:14,                   11:14:46
19 that appears in your copy, in defense counsel's copy        11:12:19         19 and we are off the record.                        11:14:48
20 of the report. So it's there. Appears at the top of 11:12:23                 20          (Recess taken.)                    11:14:54
21 Page 2 for some reason. And then it's missing from          11:12:27         21          THE VIDEOGRAPHER: The time is 11:24,                   11:25:05
22 the figure at the bottom and the spacing is different, 11:12:37              22 and we are back on the record.                      11:25:15
23 which I take exception to because it's very difficult 11:12:42               23      Q. (BY MR. SMITH) Dr. Kasbekar, in                  11:25:16
24 to get those figure captions to be accurate. So now        11:12:45          24 Exhibit 1, your report, at the bottom of Page 6, you         11:25:20
25 you've undone it, but beyond that, I'm not disputing       11:12:48    25 make reference to a recall notice issued by Chart in               11:25:24
                                                                  Page 70                                                                            Page 72

 1 the accuracy of the language in the report.             11:12:51              1 late April of 2018 regarding aluminum tanks, right?           11:25:28
 2       Q. (BY MR. SMITH) Okay.                          11:12:53               2      A. Yes.                             11:25:32
 3       A. I think that's it.                 11:12:54                          3      Q. Why do you make that reference?                 11:25:32
 4          MS. ZEMAN: Ben, could we get a break              11:12:56           4      A. I think -- as I state in the report, is    11:25:37
 5 sometime in the near future?                     11:12:58                     5 that reference is in there because it shows that Chart 11:25:39
 6          MR. SMITH: Sure. Let me ask one more              11:13:00           6 is aware of the fact that if you have a loss of        11:25:46
 7 question.                               11:13:02                              7 vacuum, it's a significant event that requires         11:25:49
 8       Q. (BY MR. SMITH) Assuming liquid nitrogen 11:13:02                     8 immediate attention. And when I say a "loss of               11:25:52
 9 escaped into the interstitial space in a liquid form     11:13:12             9 vacuum," I'm thinking more along the lines of an              11:25:56
10 at minute 1, how long would it take for condensation        11:13:19         10 immediate loss of vacuum.                           11:25:59
11 or ice to form on the outside of the tank?             11:13:22              11      Q. Isn't that contained in the Chart manual 11:26:00
12       A. I don't know the answer to that because        11:13:26             12 for MVE tanks?                               11:26:03
13 I don't know what -- at this point in time at what       11:13:28            13      A. I didn't see anything -- and perhaps I        11:26:04
14 rate that nitrogen would be entering into interstitial 11:13:33              14 missed it -- that talks about what I would consider a 11:26:06
15 space.                                 11:13:36                              15 catastrophic loss of vacuum. Vacuum degradation, I             11:26:10
16       Q. And that would be the factor that would         11:13:36            16 know, is addressed throughout the Chart documents, but 11:26:15
17 limit -- or that would determine the timing?            11:13:39             17 not something that addresses a crack on the inside of 11:26:18
18       A. That certainly would have to do with the 11:13:41                   18 the tank that can lead to not only the loss of vacuum 11:26:22
19 extent of any condensation and ice formation on the         11:13:43         19 but the infiltration of liquid nitrogen into what was 11:26:24
20 other side. You know, we have limited examination of 11:13:47                20 the vacuum space.                             11:26:27
21 the crack, some potential other leak sites that may or 11:13:52              21      Q. Okay. So you agree that Chart discusses 11:26:29
22 may not pan out to be leak sites. So without             11:13:58            22 loss of vacuum in general, but it doesn't discuss --     11:26:32
23 additional work, getting an exact rate of nitrogen -- 11:14:01               23 but you don't recall seeing anything about a            11:26:35
24 liquid nitrogen seepage into the vacuum space would be 11:14:07              24 catastrophic loss of vacuum?                        11:26:37
25 a total guess at this point.                  11:14:11                       25      A. I don't recall seeing anything about a        11:26:39
                                                                      Page 71                                                                        Page 73

                                                                                                                               19 (Pages 70 - 73)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 21 of 92

 1 catastrophic or sudden loss of vacuum or anything that 11:26:42            1 manufactured?                                11:29:07
 2 discusses the introduction of nitrogen into the vacuum 11:26:48            2      A. I don't recall off the top of my head.        11:29:08
 3 space in any of the Chart documents that would have          11:26:52      3      Q. Do you know for a fact that it wasn't          11:29:09
 4 been produced to the end user. I think in their         11:26:53           4 manufactured in New Prague, Minnesota?                    11:29:13
 5 DFMECA, there's some discussion of that, but not in          11:26:59      5      A. I don't know that for a fact, but it's       11:29:15
 6 anything that the clinic would have had access to or a 11:27:03            6 irrelevant to me because I do concede that is a          11:29:17
 7 consumer of Chart products would have had access to.          11:27:05     7 different type of tank than what's in this recall.      11:29:20
 8       Q. Chart's recall notice only concerned          11:27:09            8 Again, the point of my bringing the recall into my         11:29:23
 9 aluminum tanks, right?                          11:27:13                   9 report is statements such as immediately remove unit         11:29:25
10       A. Correct.                        11:27:13                        10 from service, which is an acknowledgment that whether 11:29:30
11       Q. And Tank 4 is not an aluminum tank?             11:27:13        11 you argue this is a catastrophic loss of vacuum or a        11:29:33
12       A. No, it's not.                   11:27:13                        12 more gradual loss of vacuum, if you don't have vacuum, 11:29:36
13       Q. Chart's recall notice involved tanks       11:27:17             13 Chart's instructions to customers is to immediately         11:29:41
14 with a composite neck that used a binding agent?            11:27:17     14 remove the unit from service.                      11:29:45
15       A. Correct.                        11:27:21                        15       Q. And that would be true any time you have 11:29:48
16       Q. And Chart's MVE 808 does not have a              11:27:22       16 a vacuum dewar, right? If you lose vacuum, the dewar 11:29:50
17 composite neck and it doesn't use a binding agent,         11:27:25      17 is not going to work?                          11:29:54
18 right?                                11:27:27                           18       A. Well, I think there's a difference           11:29:56
19       A. That's correct, unless you call a weld a 11:27:28               19 between immediately remove it from service and the               11:29:57
20 binding agent.                              11:27:31                     20 dewar doesn't work properly, but because you have a              11:30:00
21       Q. And the recall notice actually doesn't        11:27:31          21 loss of vacuum, that's a lot different than having a      11:30:04
22 discuss anything about catastrophic vacuum failures,         11:27:36    22 loss of vacuum where you suck nitrogen into the vacuum 11:30:09
23 does it?                               11:27:39                          23 space and then structurally compromise the tank. And 11:30:14
24       A. I don't know if it uses the word         11:27:41               24 then I also think, at least from my review of the         11:30:17
25 "catastrophic," but I think the failure mode is         11:27:42        25 Chart documents, the end user is -- to the extent that 11:30:20
                                                                   Page 74                                                                Page 76

 1 basically a detachment at the area that's glued, which 11:27:48            1 they're advised about vacuum space, it's more vacuum            11:30:26
 2 would lead to a very sudden loss of vacuum. It             11:27:52        2 degradation, not so much that one minute you could              11:30:30
 3 doesn't take much of a hole to lose vacuum.              11:27:55          3 have a functional dewar, and then the next minute you 11:30:33
 4       Q. And the recall notice applied only to         11:28:01            4 have a dewar that has no vacuum and might, in fact, be 11:30:37
 5 tanks that were manufactured in New Prague, Minnesota, 11:28:05            5 draining the cooling medium, the liquid nitrogen, into 11:30:40
 6 right?                                11:28:15                             6 the vacuum space away from the samples you're trying             11:30:44
 7            MS. ZEMAN: Objection, document speaks             11:28:15      7 to protect.                              11:30:48
 8 for itself.                            11:28:17                            8      Q. And it is your theory and your               11:30:49
 9       A. Let me get one second to get the           11:28:17               9 assumption that there was a catastrophic vacuum loss            11:30:50
10 document in front of me.                        11:28:19                 10 in Tank 4, right?                            11:30:54
11            MR. SMITH: I can mark it if you want,        11:28:21         11       A. I wouldn't call it an assumption. You          11:30:56
12 and he'll speed things up.                      11:28:23                 12 can call it a theory, but I think there's pretty good 11:31:00
13            (Deposition Exhibit 3 was marked.)          11:28:37          13 evidence that there was a sudden vacuum loss. I             11:31:02
14       Q. (BY MR. SMITH) So I've marked as                  11:28:37      14 can't -- and I've tried to envision another way that      11:31:06
15 Exhibit 3 a document entitled Important Recall Notice, 11:28:38          15 you have that type of explosion, as we're calling it, 11:31:11
16 dated April 23rd, 2018. Dr. Kasbekar, is this the        11:28:42        16 that results in that type of deformation of the tank. 11:31:16
17 recall notice that you referenced in your report?        11:28:46        17
18       A. It is.                       11:28:50
19       Q. And you see under serial numbers              11:28:51
20 affected, the last paragraph, it states, "This recall 11:28:54
21 does not pertain to Chart products manufactured            11:28:56
22 anywhere other than New Prague, Minnesota, U.S.A." Do 11:29:00
23 you see that?                            11:29:04
24       A. I do see that.                   11:29:04
25       Q. And do you know where Chart's Tank 4 was 11:29:05   25
                                                        Page 75                                                                                    Page 77

                                                                                                                           20 (Pages 74 - 77)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 22 of 92

 1                                                                               1 equipment, it's got shock monitors on the box. So if 11:35:03
                                                                                 2 it gets to wherever it's going and those monitors          11:35:06
                                                                                 3 indicate a shock above a certain level, even though            11:35:10
                                                                                 4 there may not be physical damage, I've got a shock              11:35:13
                                                                                 5 indicator that I'm talking to FedEx about and say              11:35:16
                                                                                 6 whatever, this may have damaged our equipment. Those 11:35:20
                                                                                 7 are --                                    11:35:23
 8       Q. In your summary of opinions which begins 11:32:23                    8         Q. Let me go back to the first one you          11:35:23
 9 on Page 20 and 21, I'm going to direct your attention 11:32:34                9 said.                                     11:35:25
10 to Paragraph 1 on Page 21. And you note that Tank 4              11:32:41    10         A. Sure.                            11:35:26
11 was approximately six years old as of March 4th, 2018, 11:32:49              11         Q. Is it in your opinion a foreseeable         11:35:26
12 right?                                  11:32:53                             12 misuse that someone would allow a cryogenic MVE 808                  11:35:28
13       A. Correct.                         11:32:54                           13 tank to come to room temperature by not filling it             11:35:35
14       Q. And as a general matter, do you agree           11:32:54            14 with liquid nitrogen and then filling it back up with 11:35:40
15 that the expected useful life of a product depends         11:32:56          15 liquid nitrogen? I think that's what you said.            11:35:46
16 upon how and whether the product is maintained?              11:32:59        16         A. I mean, I could see that being a            11:35:48
17       A. That's certainly a possibility, but I        11:33:04               17 foreseeable use. Unless there are instructions -- and 11:35:54
18 would expect as a manufacturer and designer that the          11:33:06       18 quite frankly, if Chart considers that to be a misuse 11:35:58
19 expected useful life would also account for              11:33:11            19 or abuse, then I would expect there to be an              11:36:00
20 foreseeable use, foreseeable misuse, and maybe to some 11:33:15              20 on-product warning saying, "Do not take a room                  11:36:04
21 extent with certain products foreseeable abuse.           11:33:20           21 temperature in an MVE 800 tank and place X number of                11:36:07
22       Q. Okay. What in your opinion is the              11:33:24             22 liters of nitrogen into it." So absent that warning, 11:36:13
23 foreseeable misuse and/or abuse of a Chart MVE 808               11:33:26    23 I think it's a foreseeable use.                     11:36:17
24 tank?                                   11:33:33                             24            I'll also tell you that over the years    11:36:19
25       A. Unrelated to anything that occurred to          11:33:33        25 of my experience with dewars is that I take a dewar                 11:36:22
                                                                    Page 78                                                                            Page 80

 1 this tank, I could probably sit here for hours and        11:33:38            1 that's empty and go to a nitrogen tank and fill it and 11:36:26
 2 come up with foreseeable misuse. You could have a                11:33:42     2 then go to another device and then put nitrogen into            11:36:31
 3 situation where somebody is draining the tank to room 11:33:47                3 that device. So I wouldn't expect when I go to the             11:36:34
 4 temperature and then dumping in large amounts of              11:33:51        4 nitrogen tank to fill my dewar that because I filled           11:36:39
 5 nitrogen quickly. I think that's a -- you know, maybe 11:33:53                5 an empty dewar that that's going to cause a dewar to            11:36:42
 6 a foreseeable misuse, but it depends upon the             11:33:58            6 fail prematurely.                              11:36:46
 7 instructions and warnings that come with the tank. If 11:34:01                7         Q. I'm sorry. I misunderstood what you            11:36:49
 8 there's an instruction or warning that says you need        11:34:03          8 said. Let me ask you this. Would it be a foreseeable 11:36:50
 9 to equilibrate the tank by dumping in a small             11:34:06            9 misuse to use a Chart tank to store biological samples 11:36:54
10 amount -- a small volume of nitrogen, letting it          11:34:12           10 and allow the liquid nitrogen level to drop to zero?           11:36:59
11 equilibrate, and adding more, then if somebody were to 11:34:15              11         A. I would agree that would be -- I don't        11:37:04
12 shock it by not following the instructions, that could 11:34:19              12 know if it's misuse of the Chart -- I won't agree          11:37:05
13 be a foreseeable misuse.                         11:34:21                    13 that's necessarily misuse of the Chart product, but I 11:37:08
14          If someone were to beat it with a bat to 11:34:23                   14 would consider that to be -- even though I'm not an             11:37:12
15 get the lid loose because there's frost on it, that     11:34:26             15 expert in biological tissues, I would consider that to 11:37:14
16 would in my mind be a foreseeable misuse or abuse.               11:34:30    16 be an improper way of storing biological tissues, to            11:37:18
17 You know, handling in transport, if things are not          11:34:35         17 let them -- let the nitrogen deplete completely and            11:37:21
18 packaged properly or dropped, those are all things          11:34:40         18 then reintroduce it into the tank.                   11:37:25
19 that a product manufacturer, designer needs to kind of 11:34:43              19         Q. Right. So in your opinion, Chart             11:37:29
20 take into account. If he's shipping something that's 11:34:46                20 couldn't foresee the fact that a sophisticated user        11:37:31
21 susceptible to especially undetectable damage from           11:34:49        21 would allow the liquid nitrogen level of a tank            11:37:34
22 shock, then there's packaging and shipping instruments 11:34:52              22 containing biological specimens to drop to zero; is            11:37:38
23 to ensure that that doesn't happen, or if it did        11:34:55             23 that right?                                 11:37:41
24 happen, that there's some notice.                     11:34:58               24            MS. ZEMAN: Objection to form.                  11:37:41
25          Like, for example, if I ship sensitive       11:35:00               25         A. I certainly think Chart could foresee a       11:37:42
                                                                      Page 79                                                                           Page 81

                                                                                                                                 21 (Pages 78 - 81)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 23 of 92

 1 liquid nitrogen tank dropping to zero level and it        11:37:49         1 degradation, and if my memory is correct, I think the 11:40:39
 2 being refilled. That's definitely foreseeable.          11:37:52           2 warranty in general on the tanks, I think at least on 11:40:44
 3 Whether or not Chart could foresee a fertility clinic 11:37:55             3 the 800, is somewhere around five years for vacuum. I 11:40:47
 4 allowing that to happen or not is a completely            11:38:02         4 could be wrong about that, but there is a vacuum           11:40:51
 5 different item. I don't know the answer to that. I        11:38:08         5 warranty on the tank that I'm familiar with, but I did 11:40:53
 6 don't see any evidence that that happened here, but         11:38:10       6 not see anything that -- and I may have missed it;        11:40:58
 7 you're pushing me outside of my area of expertise, but 11:38:12            7 there was a fair number of documents -- that Chart         11:41:05
 8 as a scientist, I would think if Chart let the level     11:38:15          8 provides to the end user that says you should            11:41:10
 9 go down to zero -- I'm sorry, not Chart. If the          11:38:18          9 periodically have the vacuum checked, and I looked for 11:41:14
10 clinic allowed the level to go down to zero and then        11:38:21      10 that. I also looked for something to indicate whether 11:41:17
11 dumped nitrogen back in there that you probably would 11:38:24            11 or not Chart somehow refurbishes tanks by re --           11:41:20
12 have a total loss of tissue viability, which, my         11:38:29         12       Q. Revacuuming?                          11:41:26
13 understanding, did not occur here, but, again, you're 11:38:32            13       A. Revacuuming it, yes, yes.                 11:41:28
14 pushing me outside my area of expertise. But with no 11:38:36             14       Q. And you couldn't find anything in that        11:41:30
15 nitrogen in that tank and minus 150 C being the            11:38:39       15 regard?                                 11:41:32
16 temperature that I'm familiar with as a temperature at 11:38:43           16       A. I didn't find it in the documents.        11:41:32
17 which these samples would likely be unusable, I would 11:38:46            17 Again, I may have missed it, but I did not see it.       11:41:34
18 think no nitrogen in the tank, there's -- nothing is     11:38:51         18       Q. Do you know whether or not PFC performed 11:41:37
19 going to be minus 150 C.                         11:38:54                 19 any preventive maintenance of any type on Tank 4?             11:41:39
20       Q. (BY MR. SMITH) Okay. Do you agree that 11:38:56                  20       A. To the best of my knowledge, other than         11:41:42
21 the expected useful life of a product depends upon how 11:39:02           21 daily checks of nitrogen levels and operation of the       11:41:47
22 it's used?                               11:39:04                         22 tank, I have not read anything where that tank had         11:41:54
23       A. I think I answered that earlier by         11:39:07              23 been defrosted.                            11:41:58
24 saying that the expected useful life should take into 11:39:09            24       Q. And you have no personal knowledge of            11:41:58
25 account foreseeable use and foreseeable misuse.            11:39:14     25 any daily checks of nitrogen levels? You're just           11:42:01
                                                                   Page 82                                                                     Page 84

 1       Q. Do you know whether or not Chart                11:39:21          1 relaying testimony that's been given in this case,       11:42:05
 2 recommends any maintenance regarding its MVE freezers 11:39:24 2 right?                                              11:42:08
 3 on a periodic basis?                          11:39:27                     3       A. Well, testimony, and I think there are       11:42:08
 4       A. I don't know about the periodic basis          11:39:29           4 logs that have indicated the time and the level that      11:42:10
 5 part, but I am aware that Chart does, for example,         11:39:34        5 it was filled to.                         11:42:13
 6 suggest a complete defrost under certain conditions.        11:39:41       6       Q. I thought you indicated that you hadn't       11:42:13
 7       Q. And what are those conditions?                11:39:44            7 reviewed the TEC 3000 controller data very carefully? 11:42:16
 8       A. I don't know all of them, but one of the 11:39:45                 8       A. I reviewed the log data that indicates      11:42:20
 9 conditions involves -- well, excessive frost buildup       11:39:48        9 the time of day and the fill to 14 inches. So that's 11:42:26
10 certainly would be one, but fill issues would be          11:39:53        10 what I'm referring to.                        11:42:31
11 another.                                 11:39:57                         11       Q. You're referring to the handwritten         11:42:32
12       Q. In other words, after there is a problem 11:39:59                12 notes?                                  11:42:34
13 filling the tank adequately with liquid nitrogen,         11:40:01        13       A. Yes. Well, the part I reviewed I think       11:42:34
14 Chart recommends a defrost?                         11:40:04              14 was typed up at that point, but . . .            11:42:37
15       A. That's correct.                    11:40:06                      15       Q. With regard to Paragraph 2, you state in 11:42:40
16       Q. And what's the purpose of a defrost?           11:40:06          16 your first sentence of Paragraph 2 -- or Opinion          11:42:46
17       A. Well, under that condition, the purpose         11:40:09         17 Number 2, quote, "Chart knew or should have known that 11:42:49
18 of the defrost could be that you could have ice           11:40:13        18 its MVE cryogenic freezer, such as the subject MVE 808 11:42:54
19 blockage in the fill port.                    11:40:17                    19 tank, are used primarily for highly sensitive biotech 11:42:59
20       Q. Do you know whether or not Chart makes             11:40:19      20 applications including biological storage of human         11:43:04
21 any recommendations regarding the vacuum?                   11:40:21      21 eggs and embryos." Do you see that?                   11:43:07
22       A. With regard to maintenance?                   11:40:26           22       A. I do, and I think I should probably         11:43:10
23       Q. Yes.                            11:40:27                         23 change "are" to "is."                         11:43:12
24       A. If they do, I have not found it. I        11:40:28               24       Q. It's okay. And what is the basis for        11:43:15
25 understand that Chart does anticipate some vacuum             11:40:36   25 your opinion that Chart knew or should have known that 11:43:17
                                                                    Page 83                                                            Page 85

                                                                                                                           22 (Pages 82 - 85)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 24 of 92

 1 its MVE freezers would be used primarily for sensitive 11:43:19             1 breeding. So they could be different. I don't know   11:45:43
 2 biotech applications?                        11:43:21                       2 what Chart's intention was with that.          11:45:46
 3       A. So from information that Chart provided         11:43:22           3
 4 as well as what I saw online -- and it's really pretty 11:43:25
 5 much spelled out in that paragraph -- some of the            11:43:30
 6 materials Chart provides says, "Cryogenic freezers are 11:43:32
 7 used primarily for biological storage of human tissue, 11:43:38
 8 cord blood, bone marrow, stem cell, and other highly          11:43:40
 9 sensitive pharmaceutical applications." I mean, I           11:43:44
10 think that really is the basis. And I also think that 11:43:48
11 a company as sophisticated as Chart knows what most of 11:43:50
12 their customers, maybe not all of them, do with these 11:43:55
13 tanks, and it appears to me that the MVE series tanks 11:43:57
14 are commonly used in environments such as the PFC               11:44:02
15 clinic.                                11:44:06
16       Q. The sentence that you have in your           11:44:06
17 report that is tied to footnote 38, that quotation you 11:44:08
18 provide doesn't state eggs or embryos, right?           11:44:16
19       A. It does not.                     11:44:19
20       Q. And then you go on with regard to the          11:44:20
21 next sentence to talk about the product literature      11:44:24
22 associated with the MVE 808 states that the tanks are, 11:44:28
23 quote, the ultimate in security for the breeding        11:44:33
24 industry and are primarily used to store semen and           11:44:35
25 embryos, right?                            11:44:38
                                                                     Page 86                                                               Page 88

 1       A. Correct.                        11:44:41
 2       Q. And isn't it true that one of Chart's      11:44:42
 3 primary markets for the MVE 808 is the breeding               11:44:45
 4 industry as opposed to human reproductive industry?            11:44:49
 5       A. If you say "breeding" is pertaining to       11:44:52
 6 nonhuman uses, I'm sure that it is.                 11:44:56
 7       Q. Do you agree that breeding is referring       11:44:57
 8 to nonhuman uses?                                11:44:58
 9       A. I don't know. You have to tell me.           11:44:58
10 You're Chart's counsel. I think it could be either      11:45:01
11 way, but if you're asking me, I would say my guess is 11:45:03
12 that was the intention of the use of the word          11:45:07
13 "breeding." But I'd also say the reason I say highly 11:45:08
14 sensitive biotech applications is Chart does say cord 11:45:10
15 blood, bone marrow. I mean, while we've been working 11:45:15
16 on this case, there was a freezer failure that        11:45:17
17 involved loss of bone marrow from -- that adversely           11:45:20
18 affected a young child. So whether it's embryo or            11:45:24
19 bone marrow, it's something that there's severe          11:45:26
20 consequences to losing it.                        11:45:29
21       Q. Understood. But you agree with me that             11:45:30
22 fertility clinics and the breeding industry are        11:45:33
23 different things, right?                     11:45:36
24       A. I think that's -- it wasn't my intention 11:45:37
25 to say that breeding necessarily applied to human            11:45:40
                                                                     Page 87                                                               Page 89

                                                                                                                         23 (Pages 86 - 89)
                                                         Veritext Legal Solutions
                                                              866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 25 of 92




                                Page 90                                Page 92




                                Page 91                                Page 93

                                                           24 (Pages 90 - 93)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 26 of 92




                                 5
                                Page 94                                Page 96




                                Page 95                                Page 97

                                                           25 (Pages 94 - 97)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 27 of 92




                                Page 98                               Page 100




                                Page 99                               Page 101

                                                          26 (Pages 98 - 101)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 28 of 92




                               Page 102                               Page 104




                               Page 103                               Page 105

                                                         27 (Pages 102 - 105)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 29 of 92




                               Page 106                               Page 108




                               Page 107                               Page 109

                                                         28 (Pages 106 - 109)
                          Veritext Legal Solutions
                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 30 of 92

                                                                      1         A. No. I don't know that there is           12:21:05
                                                                      2 literature that exists that would specifically talk     12:21:17
                                                                      3 about crack in the annular weld of a nitrogen dewar,        12:21:20
                                                                      4 but again, I've looked for that. I haven't found         12:21:26
                                                                      5 that.                                  12:21:28
                                                                      6




                                                          Page 110                                                                        Page 112

                                                                      1                                                           12:22:57
                                                                      2         Q. All right.                       12:23:02
                                                                      3         A. So I'm not sure which is right, and I'm      12:23:03
                                                                      4 not sure how those captions got there. I don't know         12:23:05
                                                                      5 whether it's a typo or whether it's actually -- I       12:23:07
                                                                      6 haven't seen anything that gives me some metadata or           12:23:11
                                                                      7 something to confirm that, so just something I'm           12:23:14
                                                                      8 questioning.                                12:23:17
                                                                      9         Q. All right. Do you agree with me that         12:23:17
                                                                     10 those photos themselves have those time stamps on              12:23:20
                                                                     11 them?                                    12:23:23
                                                                     12         A. Yes, but I don't know -- again, I just      12:23:25
                                                                     13 want to point out, I don't know that this is a hard      12:23:28
                                                                     14 time stamp from data associated with the photo or           12:23:30
                                                                     15 somebody typing something on there where they hit the 12:23:33
                                                                     16 6 instead of the 5.                          12:23:36
                                                                     17         Q. Fair enough, but the versions of these       12:23:37
                                                                     18 exhibits which were produced by MSO have a footer in              12:23:41
                                                                     19 the bottom providing these times?                      12:23:45
                                                                     20         A. Yes, I agree with that.              12:23:47
                                                                     21         Q. And it's your -- and I'm sorry. I        12:23:48
                                                                     22 missed the thing about Dr. Conaghan. Did Dr. Conaghan 12:23:52
                                       12:20:58                      23 testify that the pictures showing the significant        12:23:55
24     Q. Did you consult any literature in that   12:20:59          24 deformation were taken the next morning?                  12:23:58
25 regard?                              12:21:03                     25         A. That's what seems -- I don't know if he      12:23:59
                                                          Page 111                                                                     Page 113

                                                                                                                29 (Pages 110 - 113)
                                                   Veritext Legal Solutions
                                                        866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 31 of 92

1 says it in so many words, but my read and reread of    12:24:01
2 his deposition suggests that that's what he's      12:24:04
3 indicating.                             12:24:07
4




                                                            Page 114                         Page 116

                                                                       1




                                                            Page 115                         Page 117

                                                                                30 (Pages 114 - 117)
                                                     Veritext Legal Solutions
                                                          866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 32 of 92

1




                                   Page 118                               Page 120




                                   Page 119                               Page 121

                                                             31 (Pages 118 - 121)
                              Veritext Legal Solutions
                                   866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 33 of 92




                               Page 122




                                                         32 (Pages 122 - 125)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 34 of 92




                               Page 126




                                          14       Q. With regard to Paragraph 4 of your             12:46:25
                                          15 report on Page 22, is there an opinion that you're        12:46:28
                                          16 offering in this Paragraph 4 or are you simply           12:46:31
                                          17 summarizing evidence?                               12:46:33
                                          18       A. The opinion that I'm offering is that        12:46:49
                                          19 if, in fact, Chart views the temperature controller as 12:46:53
                                          20 an integral component of that tank to protect the         12:46:57
                                          21 contents from elevated temperatures, that, especially 12:47:02
                                          22 coupled with what appears to be the problematic nature 12:47:10
                                          23 of that controller in the absence of, as far as I      12:47:13
                                          24 know, any instruction or warning not to utilize a tank 12:47:18
                                          25 without a properly functioning controller is, in fact, 12:47:24


                                                                                     33 (Pages 126 - 129)
                          Veritext Legal Solutions
                               866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 35 of 92

1 a defect.                            12:47:29
2      Q. What is the nature of the controller    12:47:30
3 malfunction that you're discussing in this paragraph? 12:47:32
4      A.




                                                             Page 130




                                                                             34 (Pages 130 - 133)
                                                  Veritext Legal Solutions
                                                       866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 36 of 92




                               Page 134




                                                         35 (Pages 134 - 137)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 37 of 92




                               Page 138




                                                         36 (Pages 138 - 141)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 38 of 92




                               Page 142




                                                         37 (Pages 142 - 145)
                          Veritext Legal Solutions
                               866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 39 of 92




                               Page 146




                                                         38 (Pages 146 - 149)
                          Veritext Legal Solutions
                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 40 of 92

                                                                                 1 dissertation topic with regard to plastics, but the      13:47:02
                                                                                 2 majority of hands-on work I've done both as a graduate 13:47:06
                                                                                 3 student and postgrad have been with metal parts.           13:47:12
                                                                                 4      Q. (BY MR. SMITH) Okay. If you go to                  13:47:19
                                                                                 5 Page 27, it lists the professional societies that you 13:47:20
 6       Q. Paragraph 7, we've talked about already? 13:44:32                    6 are a member of.                              13:47:22
 7       A. Yes.                            13:44:34                             7      A. Yes.                            13:47:24
 8       Q. Let me ask you a few more questions              13:44:34            8      Q. And you're a member of the Society of            13:47:24
 9 about your report. On Page 9 in the middle, you talk 13:44:36                 9 Plastics Engineers, right?                      13:47:27
10 about the destructive testing that took place in          13:44:50           10      A. Correct.                         13:47:28
11 September and October of this year.                    13:44:54              11      Q. Is there a set of metal engineers?         13:47:28
12       A. Yes.                            13:45:02                            12      A. Well, that would have been ASM, which is 13:47:31
13       Q. And you note that to pressurize the           13:45:02              13 Materials Information Society, that publishes the          13:47:34
14 vacuum space, helium was put into the vacuum space at 13:45:05               14 metals handbook.                              13:47:38
15 a pressure of 20 inches of water.                   13:45:10                 15      Q. Okay.                            13:47:39
16       A. Uh-huh.                            13:45:13                         16      A. I don't know if I have -- yeah, I have         13:47:39
17       Q. Is that right?                     13:45:13                         17 TMS, which is The Metallurgy Society. Past member,                13:47:43
18       A. Yes.                            13:45:14                            18 one of the reasons I just discontinued that, it was      13:47:47
19       Q. And that took a number of hours, didn't          13:45:14           19 really basically redundant with the information and         13:47:50
20 it?                                   13:45:17                               20 the benefits I got from ASM, which is a bigger             13:47:52
21       A. It did.                         13:45:17                            21 society.                                13:47:55
22       Q. And can you estimate what number of               13:45:18          22      Q. When you say TSM, did you mean TMS?                   13:47:55
23 liters of helium were put into the tank to achieve 20 13:45:22               23      A. Yes, TMS, TMS, second to last.                 13:48:00
24 inches of water?                               13:45:27                      24      Q. And then I have to ask you this             13:48:08
25       A. I can't sitting here today. I may be        13:45:28                25 question.                               13:48:10
                                                                     Page 150                                                                        Page 152

 1 able to go back to photographs to determine that based 13:45:31               1      A. Sure.                           13:48:11
 2 upon the time, but that's -- I can't tell you the      13:45:39               2      Q. On the top of Page 28, you list as a           13:48:11
 3 amount of helium that was put in there.                 13:45:42              3 seminar or a publication, "Seeing is Believing:           13:48:13
 4       Q. Can you estimate it? If you can't,          13:45:44                 4 Winning Your Case Through the Use of Computer                     13:48:18
 5 that's fine.                             13:45:46                             5 Simulation," which you provided to the Stark County           13:48:21
 6       A. No, not sitting here today, I can't.       13:45:47                  6 Academy of Trial Lawyers in the fall of 20- -- or          13:48:25
 7       Q. If you go to Page 25, this lists           13:45:48                  7 1994. Is that right?                         13:48:30
 8 relevant experience and postgraduate training.             13:46:09           8      A. Yes.                            13:48:34
 9       A. Uh-huh.                            13:46:13                          9      Q. And what is the nature of that             13:48:34
10       Q. And I think I asked you this question at 13:46:13                   10 publication?                                13:48:36
11 the beginning of the deposition, but isn't it correct 13:46:15               11      A. Well, first of all, the Seeing is         13:48:37
12 that with regard to this listing of relevant           13:46:19              12 Believing is their title, not mine. I was invited to 13:48:39
13 experience and postgraduate training, you have more            13:46:22      13 speak up there basically on the use of computer            13:48:43
14 experience and training in plastics and polymers than 13:46:24               14 simulation, and I discussed its application ranging        13:48:48
15 you do metals?                                 13:46:27                      15 from automobile vehicle simulation to finite element         13:48:51
16          MS. ZEMAN: Objection, asked and                   13:46:28          16 analysis to evaluate stresses in parts. It was back      13:48:53
17 answered.                                   13:46:29                         17 in the '90s. It was much more cutting-edge               13:48:56
18       A. Yeah, I don't know that that's             13:46:29                 18 technology, and we were kind of one of the people at         13:49:01
19 necessarily true. I mean, the very first thing on         13:46:30           19 the forefront.                              13:49:07
20 this, failure analysis of metals and plastics, and I      13:46:34           20      Q. Are you -- strike that. Have you            13:49:07
21 consistently will participate in online training          13:46:42           21 undertaken any work to develop any animations for this 13:49:10
22 sessions, most of them -- a lot of them from Struers, 13:46:44               22 case?                                  13:49:13
23 which are exclusively metal failure type seminars. I 13:46:49                23      A. No.                             13:49:13
24 would say that it's well-balanced. I do think that I 13:46:55                24            MR. SMITH: Sorry. And I don't know if          13:49:35
25 have a little bit of a unique capability due to my         13:46:59       25 we actually need to -- it's in a binder, but let's        13:49:36
                                                                    Page 151                                                                      Page 153

                                                                                                                          39 (Pages 150 - 153)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 41 of 92

 1 just mark the documents inside it, the pages inside         13:49:40         1       Q. And then would you agree with me that at 13:53:31
 2 it.                                  13:49:42                                2 line 18324, which is on Christmas Day of 2013 --              13:53:35
 3          (Deposition Exhibit 6 was marked.)           13:49:53               3       A. 18324, okay.                          13:53:44
 4       Q. (BY MR. SMITH) So, Dr. Kasbekar, I've               13:49:58        4       Q. -- that the liquid nitrogen level was 8        13:53:49
 5 marked as Exhibit 6 a printout of the controller log        13:50:02         5 inches?                                     13:53:52
 6 from the controller attached to Tank 4, and I'll        13:50:08             6       A. I do see that.                      13:53:53
 7 represent to you and for the record that the native      13:50:13            7       Q. Okay. And would you agree with me that              13:53:53
 8 file of this document is Bates-stamped CHART 070093.             13:50:17    8 between December 25th of 2013 and December 30th of                  13:53:55
 9 And we've placed it in a binder called 10/18/19             13:50:29         9 2013 the liquid nitrogen level decreased from 8 inches 13:54:02
10 Maximum Event Log.                                13:50:35                  10 to a level of zero?                           13:54:07
11          And I take it based upon your prior         13:50:40               11       A. I agree that that's what the controller        13:54:10
12 testimony today you've reviewed this data briefly, but 13:50:42             12 is indicating.                              13:54:14
13 not considered it deeply. Is that fair to say?        13:50:45              13       Q. Okay. And you don't have any basis to             13:54:16
14       A. I haven't, yeah, gone through it           13:50:48                14 believe at this point that this controller data is      13:54:20
15 probably with as much vigor as I may need to.               13:50:50        15 inaccurate, right?                            13:54:22
16       Q. Okay. And would you agree with me that             13:50:52        16       A. I don't have sufficient information to         13:54:24
17 if you look on these sheets, there's record numbers         13:50:57        17 tell you one way or the other.                     13:54:26
18 which also correspond to line numbers --               13:51:10             18       Q. Okay. And do you know what the                   13:54:28
19       A. Yes.                           13:51:14                            19 notations LL and US mean?                              13:54:32
20       Q. -- on the left-hand column?               13:51:14                 20       A. Low level, and I can't remember what the 13:54:37
21       A. Yes.                           13:51:19                            21 US is. I looked it up at one point, but I don't          13:54:41
22       Q. And two columns over, they provide a           13:51:19            22 remember.                                    13:54:45
23 date for the event, a time, Temperature A, Temperature 13:51:21             23       Q. Okay. And do you know what the notation 13:54:45
24 B, LN2 level, LN2 usage, and then event codes?               13:51:24       24 F means?                                     13:54:49
25       A. Yes.                           13:51:29                            25       A. I think fill, but again, when I first       13:54:51
                                                                   Page 154                                                                          Page 156

 1       Q. If you could turn -- well, do you agree       13:51:29              1 got this, I looked up the codes in the chart            13:54:54
 2 with me to the extent you've already reviewed this           13:51:35        2 documents. I did not commit them to memory.                   13:54:57
 3 portion of the data that in December of 2013 and over 13:51:38               3       Q. And can you confirm for me that based              13:54:59
 4 the Christmas holiday the liquid nitrogen level in          13:51:44         4 upon this data the last fill that occurred during this 13:55:03
 5 Tank 4 went to zero?                             13:51:49                    5 time frame was on December 23rd, 2013 until                   13:55:08
 6       A. December of 2013?                        13:51:50                   6 December 30th, 2013?                               13:55:14
 7       Q. '13.                          13:51:53                              7       A. Let me take a look.                     13:55:16
 8       A. Do you have a page number by chance?               13:51:55         8           I do see that. December -- what was the 13:55:37
 9       Q. Yes, turn to Pages 260 to 261.             13:51:56                 9 other cut-off date? Was it the 30th?                   13:55:40
10       A. And what was the date again? Or what            13:52:14           10       Q. Yes.                               13:55:42
11 record number?                               13:52:17                       11       A. I do not see an F, which I believe to be 13:55:43
12       Q. It was over -- it's Record Numbers           13:52:18              12 a fill indicator, in that interim period.            13:55:46
13 18282 --                                13:52:25                            13       Q. So at least according this data, between 13:55:49
14       A. 18282. Okay.                        13:52:30                       14 December 23rd, 2013 and December 30th, 2013, the tank 13:55:52
15       Q. -- and you can go up to 8 -- you can go       13:52:31             15 was not filled?                              13:55:55
16 down to 18355.                              13:52:37                        16       A. Correct.                            13:55:56
17       A. 18355?                           13:52:51                          17       Q. I think we've already established that          13:56:00
18       Q. Yeah. So if you look at Record Number              13:52:53        18 it's your belief that a liquid nitrogen level of zero 13:56:03
19 18355, it shows that on December 23rd of 2013, the            13:52:57      19 is an unsafe level, right?                       13:56:06
20 liquid nitrogen level in the tank was 9 inches, right? 13:53:03             20       A. If zero means zero inches above the             13:56:10
21       A. At 355?                          13:53:12                          21 false bottom -- then, again, you're a little bit        13:56:15
22       Q. Yes.                           13:53:14                            22 outside my area of expertise, but it certainly I would 13:56:21
23       A. Yes. Hold on one sec.                    13:53:24                  23 think would be an unwanted level, and depending upon               13:56:25
24       Q. And then --                        13:53:29                        24 the amount of time that it's at that level, I suspect 13:56:28
25       A. Yes, I do see it.                  13:53:30                        25 it could cause damage the samples that are being             13:56:30
                                                                   Page 155                                                                        Page 157

                                                                                                                          40 (Pages 154 - 157)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 42 of 92

 1 stored.                                 13:56:32                             1      Q. Okay. Take a look at Pages 370 to 371               13:59:39
 2       Q. According to this data, even as of           13:56:36               2 as one example of continuous temperature measurement              13:59:44
 3 December 23rd, 2013, to the extent 11-inch racks were 13:56:43               3 differentials between Temperature A and Temperature B. 13:59:48
 4 being used, the liquid nitrogen level was below the           13:56:49       4      A. 370 to 371?                         13:59:52
 5 level of 11-inch racks, right?                     13:56:53                  5      Q. Yes.                             13:59:54
 6       A. I can't agree that it was below that,       13:56:55                6      A. Okay.                             13:59:55
 7 but I could agree that that's what the controller is       13:56:58          7          Okay.                           14:00:02
 8 indicating.                               13:57:01                           8      Q. And do you agree with me that the              14:00:03
 9       Q. Right.                           13:57:03                           9 Temperature A in many instances, according to this             14:00:05
10       A. So absent any sort of malfunction, it's       13:57:04             10 data, was between minus 125 and minus 128?                    14:00:10
11 properly calibrated and working correctly, then that          13:57:06      11      A. And what's the range that you're giving          14:00:25
12 would be the case. The interesting part of this,           13:57:09         12 me from?                                  14:00:27
13 though, is I don't see much -- sitting here today,         13:57:19         13      Q. I'm giving you the range from record            14:00:28
14 much variation in the temperature.                   13:57:25               14 26003 on 11/13/2012.                              14:00:31
15       Q. Yeah. Did you -- do you have any              13:57:28             15      A. 26003?                             14:00:34
16 information as to why both thermocouples in the case           13:57:30     16      Q. Which is at the very top of Page 370.          14:00:36
17 were registering approximately the temperature of             13:57:36      17      A. No, it's not.                     14:00:46
18 liquid nitrogen? And I'll represent to you that that 13:57:39               18      Q. Oh, it's not?                      14:00:47
19 occurred only on and after December 12th of 2013.              13:57:42     19      A. It's at the bottom of 369. To 26003.          14:00:51
20       A. I mean, either they're -- I would say        13:57:49              20      Q. To 26114.                           14:01:02
21 either they're both --                          13:57:54                    21      A. And your question is the range is             14:01:10
22            MR. TARANTINO: Object to form.                   13:57:56        22 between roughly what and what?                         14:01:12
23       A. They're either both placed very, very         13:57:57             23      Q. Let me ask you this question, another           14:01:13
24 low in the tank and there is some nitrogen in there or 13:58:00             24 question. Between that range, do you agree with me             14:01:16
25 perhaps, more likely, the level is giving erroneous         13:58:06     25 that the Temperature A, which corresponds to the top              14:01:18
                                                                   Page 158                                                                        Page 160

 1 results.                                13:58:10                             1 part of the tank, in several instances went below 130 14:01:21
 2       Q. (BY MR. SMITH) Okay. So take a look,                 13:58:10       2 degrees Celsius?                              14:01:25
 3 for example, on Page 367. And if you look at line             13:58:13       3       A. Yes, I'm seeing readings below 130             14:01:28
 4 number 25849.                                   13:58:32                     4 degrees Celsius.                            14:01:31
 5       A. 25849. Okay.                           13:58:39                     5       Q. Now --                            14:01:33
 6       Q. Do you see that at least at this point      13:58:42                6       A. Not by much, but by a couple of degrees. 14:01:33
 7 in time, November 20th of 2012, there was a                 13:58:45         7       Q. -- if you go to record number 18018.           14:01:36
 8 differential in the Temperature A and Temperature B             13:58:48     8       A. Page?                            14:01:50
 9 readings?                                 13:58:53                           9       Q. I have it on Pages 252 and 256.              14:01:52
10       A. I do.                           13:58:54                           10       A. 18108?                            14:01:58
11       Q. And the Temperature A reading in this             13:58:55         11       Q. I'm sorry. I'm sorry. Yes. 18108.            14:02:01
12 instance is minus 20.6, right?                     13:58:57                 12       A. Okay.                            14:02:21
13       A. Yes, but it's surrounded by open circuit 13:59:00                  13       Q. Sorry. I'm dyslexic. 18018.                14:02:22
14 indicators on either side of that, that date.         13:59:07              14       A. 18018. Okay.                            14:02:25
15       Q. And what does the open circuit indicator 13:59:11                  15       Q. All right. And do you agree with me             14:02:32
16 mean?                                    13:59:15                           16 that at least according to this data, this showed a         14:02:34
17       A. Again, this is not something I've           13:59:15               17 liquid nitrogen level as of January 15th of 2014 as          14:02:39
18 thoroughly analyzed, but I would suspect it could mean 13:59:17             18 12.5 inches?                               14:02:42
19 that either the sensor is busted or that it's been     13:59:21             19       A. Yes.                            14:02:43
20 unplugged.                                 13:59:25                         20       Q. And do you agree with me that according             14:02:43
21       Q. Okay. And when you say the sensor is              13:59:26         21 to this data the liquid nitrogen level dropped over          14:02:48
22 busted, what do you mean by that?                      13:59:28             22 the next several days to a level of zero on            14:02:51
23       A. "Busted" is not an engineering term. I        13:59:29             23 January 20th of 2014?                             14:02:54
24 mean that there's -- for some reason, there's a break 13:59:32              24       A. I see that it is indicating -- again,      14:03:12
25 in the connection of the sensor to the controller.         13:59:35       25 I'm going to hesitate to answer that the nitrogen             14:03:16
                                                                    Page 159                                                                       Page 161

                                                                                                                          41 (Pages 158 - 161)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 43 of 92

 1 level dropped to that level, but I will agree that the 14:03:19             1 analyze this data. I was not there also for the   14:06:02
 2 controller is showing a level of zero.                 14:03:23             2 downloading of it either.                    14:06:04
 3       Q. And why do you hesitate to say that the          14:03:25          3      Q. Yeah, okay.                        14:06:06
 4 liquid nitrogen level dropped to that level?             14:03:29           4         (Deposition Exhibit 7 was marked.)        14:06:40
 5       A. Because it assumes that the controller          14:03:32           5
 6 is functioning and has been calibrated properly, and         14:03:35
 7 as I sit here today, those are unknowns; and we have         14:03:38
 8 issues with controller malfunctions and specifically        14:03:43
 9 related to the nitrogen level. So I would -- you          14:03:46
10 know, I'm not being argumentative. I agree if              14:03:49
11 everything is working properly and calibrated, that's 14:03:51
12 what it reflects, but if not, who knows.                14:03:54
13       Q. Understood. Are you aware of any                14:03:57
14 evidence indicating there was any controller              14:04:01
15 malfunction at or prior to -- sorry, or -- are you       14:04:03
16 aware of any evidence showing any controller                14:04:08
17 malfunction prior to February 15th of 2018?                14:04:10
18       A. Only that if the autofiller is operating 14:04:15
19 properly and the storage tank has nitrogen supply in         14:04:21
20 it, adequate, I would not expect to see zero levels.       14:04:26
21 So I mean, that could be argued as that's evidence of 14:04:29
22 it potentially malfunctioning. I'm not saying more          14:04:33
23 probably than not, but that's one of the ways I would 14:04:36
24 go about evaluating it.                         14:04:39
25       Q. Right. But you're not aware of any             14:04:40
                                                                   Page 162                                                               Page 164

 1 evidence that actually shows that there was a             14:04:42
 2 controller malfunction prior to February 15th of 2018, 14:04:44
 3 right?                                   14:04:47
 4       A. Well, I know in the testimony and              14:04:51
 5 perhaps responses from PFC there have been controller 14:04:52
 6 failures prior to that date, but I don't know that       14:04:55
 7 it's necessarily -- it's not -- my understanding, it's 14:05:00
 8 not this tank.                             14:05:08
 9       Q. Have you analyzed the filling data for          14:05:09
10 Tank 4 in the days leading up to March 4th?                14:05:18
11       A. I looked at it. I did not thoroughly          14:05:22
12 analyze it.                                14:05:28
13       Q. Did you notice anything?                   14:05:29
14       A. It's been a while since I looked at it,       14:05:30
15 so I don't recall. I mean, the main thing I noticed       14:05:34
16 there was some discrepancies in time that made sense           14:05:40
17 with regard to clinic hours.                     14:05:44
18       Q. There were discrepancies with respect to 14:05:45
19 time that made sense --                         14:05:48
20       A. I'm sorry, that did not make sense.           14:05:49
21       Q. That did not make sense with regard to           14:05:51
22 clinic hours?                               14:05:53
23       A. Operating hours, that was kind of the           14:05:54
24 first thing I noticed, but I did not -- and it's not    14:05:56
25 addressed in my report -- go through and completely            14:05:59
                                                                    Page 163

                                                                                                                       42 (Pages 162 - 165)
                                                           Veritext Legal Solutions
                                                                866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 44 of 92




                               Page 166




                                                                                           14:14:18
                                          15       Q. Okay. That's it for that document. Are 14:14:19
                                          16 you still an adjunct assistant professor at Duke?         14:14:41
                                          17       A. I can't remember when my appointment              14:14:44
                                          18 runs out or ran out, but for the past two years, I       14:14:49
                                          19 have not actively been involved in doing that because 14:14:52
                                          20 I've pretty much relocated out to this area.           14:14:57
                                          21       Q. Do you live in Colorado most of the             14:15:00
                                          22 year?                                   14:15:04
                                          23       A. I'm back and forth. I'm kind of             14:15:04
                                          24 cherry-picking a little bit, so I'd say not          14:15:07
                                          25 necessarily most of the year, but a good portion of        14:15:11


                                                                                     43 (Pages 166 - 169)
                          Veritext Legal Solutions
                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 45 of 92

 1 the year.                              14:15:13                             1       Q. Okay. So the same defense attorney            14:17:38
 2      Q. Most people in Colorado go to warmer             14:15:13           2 in -- well, strike that. Was the South Carolina case 14:17:40
 3 weather in the winter rather than stay here in the      14:15:16            3 a Jet Ski case?                          14:17:45
 4 winter.                                14:15:18                             4       A. Yes.                          14:17:46
 5      A. I like the cold.                  14:15:19                          5       Q. So the attorney representing the           14:17:46
 6      Q. You do not consider yourself to be an          14:15:20             6 defendant in that case moved to exclude your testimony 14:17:48
 7 expert in the area of product warnings, right?          14:15:26            7 there and in the Utah case?                      14:17:52
 8      A. I have some expertise in product             14:15:28               8       A. That's correct.                  14:17:55
 9 warnings, but my answer to that is I believe that to     14:15:30           9       Q. And both times, those were successful?         14:17:55
10 develop a proper warning requires more than just an         14:15:35       10       A. Yeah. I know the current one is under         14:17:57
11 engineer to do that. My training is really more along 14:15:39             11 appeal right now.                           14:17:58
12 the lines of determining when a warning is necessary        14:15:43       12       Q. Have you had any of your -- strike that. 14:17:59
13 and what the basic ingredients of that warning are,       14:15:46         13 Have you had any other testimony or opinions excluded 14:18:03
14 and then whether or not it meets ANSI requirements in 14:15:50             14 in whole or part?                           14:18:06
15 terms of the presentation of the warning, but not so      14:15:53         15       A. Those are the only two cases in thirty-     14:18:07
16 much the precise language in the warning.               14:15:55           16 some years that I'm aware of.                    14:18:12
17      Q. Haven't you been quoted in opinions as          14:15:57           17       Q. Were you precluded from testifying to         14:18:19
18 saying, "I wouldn't go out and say I'm a warnings         14:16:03         18 some extent in the case of Royace versus Mercedes            14:18:22
19 expert"?                                14:16:07                           19 Benz?                                  14:18:25
20      A. I may have. I mean, as I said, I think       14:16:08              20       A. I think the only preclusion in that case 14:18:25
21 my expertise -- I would not write a warning by myself 14:16:11             21 was for me not to use the word "recall," and then the 14:18:28
22 to be put onto a product. I may say, "Hey, I think       14:16:15          22 only thing that the judge would not allow us to do is 14:18:32
23 this is a situation where a warning is relevant, and     14:16:20          23 we had an exhibit that showed a stress analysis of a     14:18:37
24 it should include these features," but I believe that 14:16:23             24 heater core component that had fractured; and we,           14:18:40
25 human factors and English majors are required to          14:16:28    25 consistent with the practice by most all engineers,           14:18:46
                                                                Page 170                                                                      Page 172

 1 really put together a complete warning.               14:16:30              1 had scaled the deflections up to show the deformed          14:18:49
 2      Q. Have you had warning testimony or               14:16:33            2 mode of the heater cord because when something moves a 14:18:55
 3 opinions excluded in the past?                   14:16:36                   3 few 10/1000 of an inch showed it to the jury. And I         14:18:59
 4      A. Yes, I have.                      14:16:37                          4 think the judge in that case said it wasn't to a real 14:19:06
 5      Q. How many times?                       14:16:38                      5 scale, that part of exhibit would not be allowed.       14:19:10
 6      A. To the best of my knowledge, it's only         14:16:39             6 That's it.                            14:19:12
 7 been in a Jet Ski case involving a Kawasaki -- I'm        14:16:42          7       Q. And is it correct the two times your        14:19:13
 8 sorry. It may not have been a Kawasaki. I cannot          14:16:50          8 opinions were excluded --                        14:19:16
 9 remember the manufacturer. It was either Yamaha or           14:16:55       9       A. That wasn't an opinion. So in Royace,         14:19:17
10 Kawasaki.                                 14:16:58                         10 there were no opinions I'm aware of that were           14:19:21
11      Q. Was your warning testimony excluded in            14:17:00         11 excluded. There was an exhibit that we were not --          14:19:24
12 the case of Hickerson versus Yamaha Corporation?            14:17:03       12       Q. I understand. I'm going back to the         14:19:27
13      A. Portions of it.                   14:17:09                         13 Utah --                                14:19:28
14      Q. And that was a warning case, right?            14:17:11            14       A. Okay.                          14:19:29
15      A. Yeah, portions of it were.               14:17:12                  15       Q. -- the Utah and the South Carolina          14:19:29
16      Q. And your opinion was recently excluded           14:17:14          16 thing. With respect to the two times where your          14:19:32
17 by the District of Utah in a case involving Kawasaki, 14:17:16             17 opinions have been excluded, were those opinions both 14:19:33
18 right?                                14:17:20                             18 related to warning opinions?                     14:19:36
19      A. Yeah, same attorney and all of             14:17:21                19       A. So, I'll tell you. Honestly, the Utah      14:19:37
20 plaintiffs' experts' opinions were thrown out, to the 14:17:25             20 case, you probably know more about it than I do. The 14:19:40
21 extent that means anything.                      14:17:28                  21 only thing I know is a phone call from my client said 14:19:43
22      Q. When you say "same attorney," what do            14:17:30          22 the judge made a very unusual ruling and all of our         14:19:47
23 you mean?                                 14:17:34                         23 expert testimony has been excluded. The Hickerson            14:19:50
24      A. Same defense attorney as in the prior          14:17:34            24 case, I'm more familiar with, and the majority of my        14:19:54
25 Jet Ski case.                           14:17:36                           25 design opinions and my mechanical engineering opinions 14:19:57
                                                                   Page 171                                                            Page 173

                                                                                                                       44 (Pages 170 - 173)
                                                         Veritext Legal Solutions
                                                              866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 46 of 92

 1 were allowed in. The issue with the warnings,              14:20:01           1 that's displayed under the handlebars of it. So that 14:22:35
 2 consistent with the opinion I just gave you a second          14:20:03        2 was my opinion.                                  14:22:38
 3 ago about what I believe needs to be done to develop a 14:20:05               3            My recollection of the -- I need to       14:22:39
 4 proper warning, was that we had not tested our             14:20:09           4 reread it, but I think parts of it, the judge        14:22:46
 5 warning, and in addition to that, I'll go so far as to 14:20:15               5 accepted, but ultimately I think the conclusion was,          14:22:50
 6 say is my client, against my recommendation, failed to 14:20:18               6 without having tested the efficacy of that warning,           14:22:53
 7 bring in a human factors expert to help in the warning 14:20:21               7 that we couldn't testify that the warning would have          14:22:58
 8 development.                                 14:20:25                         8 done anything.                                  14:23:01
 9       Q. So --                            14:20:26                            9       Q. And is that testing efficacy of the         14:23:01
10       A. Let me add one other thing to that too         14:20:27             10 warning, is that the human factors piece that you            14:23:05
11 while we're on it because I'm a little sensitive to      14:20:29            11 testified?                                14:23:09
12 it. The same attorney who had the warnings excluded             14:20:32     12       A. My recommendation to my client was to                14:23:09
13 was representing the manufacturer who put almost the             14:20:34    13 hire a human factors person, which ultimately he did, 14:23:12
14 exact same warning in the exact location on future            14:20:37       14 but not as a testifying expert. So the development of 14:23:15
15 products that we proposed in our opinions. So it's a 14:20:39                15 the language on the warning that was contained in my            14:23:18
16 little bit ironic that in the Hickerson case clients     14:20:43            16 report was in conjunction with the human factors              14:23:21
17 are putting warnings on a seat right where we said to 14:20:50               17 expert.                                  14:23:24
18 put it with almost exactly the same language, yet he           14:20:52      18            My other recommendation was to have a             14:23:24
19 feels that our opinions don't carry merit. So to the 14:20:55                19 panel to review the warning and to basically check off 14:23:26
20 extent that that helps.                       14:20:58                       20 whether or not -- how it would influence their              14:23:31
21       Q. Yeah.                             14:21:02                          21 behavior, a small study to establish that the wording 14:23:33
22       A. That's venting a frustration.              14:21:02                 22 was reasonable, and if they read that, they may have           14:23:36
23       Q. That's okay. So with regard to the --         14:21:04              23 changed their behavior. That was something that was             14:23:39
24 is it the Henderson case?                          14:21:10                  24 never done and agreed to.                          14:23:41
25       A. Hickerson.                          14:21:11                        25       Q. Okay.                             14:23:44
                                                                     Page 174                                                                        Page 176

 1       Q. Hickerson. So with regard to the              14:21:13               1       A. So it was a source of frustration, and        14:23:44
 2 Hickerson case in South Carolina, were you offering an 14:21:15               2 I'm sure for the client too. And ultimately, I feel         14:23:47
 3 affirmative opinion as to what a warning should be or 14:21:18                3 bad for the plaintiffs because the nature of the           14:23:51
 4 consist of?                                14:21:21                           4 injury is basically equivalent to having someone stick 14:23:53
 5       A. I was -- so in the Hickerson case, my          14:21:21              5 a fire hose between your legs.                      14:23:57
 6 main opinions had to do with the design of a seat and 14:21:26                6       Q. When you say human factors expert, is              14:23:59
 7 testing that we had done that -- along -- the           14:21:30              7 that someone who tests whether or not a warning will            14:24:02
 8 executive summary is on Jet Skis. Some Jet Skis, the 14:21:35                 8 be effective?                               14:24:04
 9 seat has a substantial lip on it like a bolster.       14:21:41               9       A. Well, different -- so you asked whether           14:24:06
10 Others are perfectly flat.                      14:21:44                     10 I hold myself out as a warnings expert, and I've kind 14:24:08
11          In both cases that you're referencing,        14:21:46              11 of explained that I don't think by myself I could be         14:24:12
12 the injured plaintiff slid off the back of the seat,    14:21:48             12 an expert to justify, without support and testing, a        14:24:14
13 and my opinion was essentially that a lip on the back 14:21:52               13 warning. There are people in the industry, generally 14:24:17
14 of the seat would have reduced the likelihood of              14:21:55       14 human factors people, who consider themselves warnings 14:24:19
15 someone sliding off the back of the seat based on             14:22:01       15 experts.                                  14:24:24
16 physics and common sense.                            14:22:03                16            I would still argue that even if you      14:24:24
17          In addition to that, some of these Jet      14:22:04                17 have a human factors person, you need an engineer, and 14:24:26
18 Skis have a strap to hold onto, and the warning for           14:22:08       18 you need somebody with expertise in technical writing; 14:24:29
19 using that strap and wearing a wet suit bottom is          14:22:12          19 and the human factors expert is generally somebody              14:24:33
20 placed primarily at the front of the Jet Ski between          14:22:15       20 with a stronger psychology background than, for               14:24:37
21 the operator's legs. And my opinion was that warning 14:22:19                21 example, I have. How will someone perceive this                14:24:39
22 really should be placed on the rear seat where the         14:22:22          22 language? Is it likely to cause them to change their 14:24:43
23 person who 's likely to slide off would see it as        14:22:26            23 behavior?                                  14:24:46
24 opposed to hoping that person can see around the               14:22:30      24            I've got formal training in hazard        14:24:47
25 operator, perhaps a second passenger, to the warning           14:22:33   25 detection, failure modes and effects analysis, and              14:24:49
                                                                    Page 175                                                                        Page 177

                                                                                                                            45 (Pages 174 - 177)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 47 of 92

 1 determining whether the hazard may justify a warning             14:24:53     1 depends upon Chart's testimony and further discovery            14:27:43
 2 and whether that warning should be a warning, a danger 14:24:56               2 as to whether or not you're offering an opinion on a       14:27:46
 3 or a caution. That's all within my area of expertise, 14:24:59                3 failure to warn?                           14:27:49
 4 but for me to go out and say if we put this warning on 14:25:03               4      A. Well, I'll say in retrospect given           14:27:50
 5 this tank, it's going to prevent this accident, all     14:25:06              5 what's happened here, I think there should be a           14:27:53
 6 I'm willing to say, like I said earlier in this       14:25:10                6 warning and instruction that you should not operate         14:27:56
 7 deposition, I certainly think if we put a warning on a 14:25:13               7 this tank in critical areas without the controller      14:27:58
 8 tank not to use a tank with a malfunctioning             14:25:16             8 functioning properly.                         14:28:03
 9 controller, it's more likely to prevent the use of a     14:25:19             9          MR. SMITH: Okay. I think that's it.          14:28:07
10 malfunctioning controller, but I'm not prepared to say 14:25:24              10 Give me two seconds or two minutes and I'll make sure 14:28:08
11 that more likely than not that person would have              14:25:26       11 I don't have any other questions. And then I think        14:28:11
12 changed his behavior. That's where the human factors 14:25:30                12 Bill will have some questions for you or may have some 14:28:14
13 person comes in.                              14:25:33                       13 questions for you.                           14:28:17
14       Q. Okay. And to your knowledge, have any                14:25:33       14          THE VIDEOGRAPHER: The time is 2:27, and 14:28:18
15 human factors experts considered any of the warnings             14:25:37    15 we are off the record.                       14:28:20
16 that you propose for the Chart tank or for the Chart          14:25:42       16          (Recess taken.)                   14:28:21
17 controller?                                14:25:45                          17          THE VIDEOGRAPHER: The time is 2:35, and 14:32:28
18       A. No, but I'll also be clear. I really       14:25:45                 18 we are back on the record.                      14:36:05
19 don't see this as primarily a warnings issue. We have 14:25:48               19               EXAMINATION                        14:36:07
20 a crack that resulted in a catastrophic failure and      14:25:50            20 BY MR. TARANTINO:                                     14:36:07
21 event here. A warning is -- so the way we're trained 14:25:57                21      Q. Good morning, Dr. Kasbekar. My name is              14:36:08
22 is design it out, guard against it, and the last       14:26:02              22 Bill Tarantino. I'm going to ask you a few very short 14:36:11
23 resort is warnings and instructions to users because          14:26:04       23 questions.                               14:36:15
24 they're less effective than obviously designing out           14:26:07       24      A. Okay.                            14:36:16
25 the hazard or putting in an effective guard.            14:26:10        25           Q. Do you have any education or training in 14:36:16
                                                                  Page 178                                                               Page 180

 1          In this case, what I'm really saying is      14:26:13                1 the fields of cryobiology?                     14:36:18
 2 the tank is defective because we've got a breach of           14:26:17        2       A. No.                            14:36:20
 3 the interior wall and a rapid loss of vacuum and          14:26:21            3       Q. And are you an expert in any way on the          14:36:20
 4 introduction of nitrogen into the vacuum space.               14:26:25        4 appropriate lab practices for in vitro fertilization? 14:36:23
 5       Q. Are you making a claim that there was            14:26:27            5       A. No.                            14:36:27
 6 a -- strike that. Are you offering an opinion in this 14:26:33                6       Q. Are you an expert for the practices that 14:36:27
 7 case that Chart failed to warn users regarding either 14:26:35                7 are required to ensure the viability of human embryos? 14:36:31
 8 the tank or the controller?                        14:26:39                   8       A. No.                            14:36:36
 9       A. Well, from what I -- Chart really hasn't 14:26:41                    9       Q. Same question with respect to human             14:36:36
10 been deposed yet, so I don't know really what their           14:26:47       10 eggs.                                   14:36:39
11 intention were. From what I gleaned from the                  14:26:50       11       A. No.                            14:36:39
12 documents -- and this is me trying to interpret          14:26:54            12       Q. Do you have any knowledge or foundation            14:36:40
13 Chart's documents -- is they assign low risk to the           14:26:59       13 as to which particular temperature may impair the          14:36:47
14 very event -- the crack in the weld and the loss of       14:27:04           14 viability of cryopreserved eggs or embryos?              14:36:51
15 vacuum. And it appears that perhaps -- and this is me 14:27:08               15       A. Only to the extent of what I have read         14:36:57
16 speculating -- that the reason they assign that low       14:27:10           16 in Christin Allen's report.                   14:36:59
17 risk is because they think the controller may mitigate 14:27:13              17       Q. Beyond Christin Allen's report, did you         14:37:02
18 that. It's not said in so many words, but it's a        14:27:16             18 read anything else?                          14:37:05
19 possibility.                               14:27:19                          19       A. No, and if I did, it was casual reading. 14:37:07
20          So if Chart's position is the controller 14:27:19                   20 I have no intention of offering opinions in those         14:37:10
21 would have prevented this loss, then my opinion is             14:27:24      21 areas.                                 14:37:13
22 that if that's the case, then there ought to be        14:27:30              22       Q. Are you familiar with cryogenic tanks           14:37:13
23 significant instructions and warnings not to operate          14:27:36       23 that use vapor to maintain their temperature?            14:37:18
24 the tank without a controller.                      14:27:38                 24       A. I'm familiar with the existence of such        14:37:23
25       Q. Okay. So is it correct to say that it        14:27:41               25 tanks.                                  14:37:25
                                                                     Page 179                                                                       Page 181

                                                                                                                          46 (Pages 178 - 181)
                                                           Veritext Legal Solutions
                                                                866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 48 of 92

 1         Q. What do you know about them?                 14:37:25             1 the record.                           14:39:57
 2         A. That they're tanks that provide liquid      14:37:28              2         WHEREUPON, the foregoing deposition was
 3 and vapor storage and perhaps some that only provide            14:37:30     3 concluded at the hour of 2:39 p.m. Total time on the
 4 vapor, but that's the extent of it.              14:37:34                    4 record was 4 hours and 10 minutes.
 5         Q. Can you explain what you understand           14:37:36            5          * * * * *
 6 vapor storage to mean?                           14:37:38                    6
 7         A. Storage where the samples are not           14:37:39              7
 8 submerged in liquid nitrogen, but instead are stored        14:37:45         8
 9 in a vapor space directly above the liquid nitrogen.      14:37:47           9
10         Q. So there are mechanisms to maintain very 14:37:52                10
11 low temperatures without being submerged in liquid              14:37:58    11
12 nitrogen?                                 14:38:02                          12
13         A. I -- yes. I mean, I understand that       14:38:02               13
14 that's possible to do. I know little to nothing about 14:38:06              14
15 its use and functions --                      14:38:11                      15
16         Q. Do you --                       14:38:15                         16
17         A. -- with regard to biological materials.     14:38:16             17
18         Q. Okay. In the course of your               14:38:17               18
19 investigation, have you uncovered any information              14:38:19     19
20 other than the absence of the controller to suggest       14:38:26          20
21 that the physicians or staff at PFC misused this tank? 14:38:31             21
22         A. No, and I have looked at the tank itself 14:38:39                22
23 for any evidence of misuse or abuse and have not seen 14:38:42              23
24 that.                                  14:38:47                             24
25            MR. TARANTINO: Okay. I have nothing                 14:38:51     25
                                                                    Page 182                                                          Page 184

 1 further. Thanks.                            14:38:52                         1           I, ANAND DAVID KASBEKAR, PH.D., the
 2            MS. ZEMAN: I think I have just a few          14:38:54            2   deponent in the above deposition, do hereby
 3 questions.                                14:38:55
                                                                                3   acknowledge that I have read the foregoing transcript
                                                                                4   of my testimony, and state under oath that it,
 4                 EXAMINATION                       14:38:56
                                                                                5   together with any attached Amendment to Deposition
 5 BY MS. ZEMAN:                                     14:38:56
                                                                                6   pages, constitutes my sworn testimony.
 6         Q. Dr. Kasbekar, Chart's counsel had asked       14:38:57            7
 7 you some questions regarding the log data pulled off           14:39:02      8   ______ I have made changes to my deposition
 8 of the subject controller, correct?                 14:39:05                 9   ______ I have NOT made any changes to my deposition
 9         A. Yes.                          14:39:08                           10
10         Q. For the dates that he had referenced        14:39:08             11
11 where the log indicated a zero level, do you know what 14:39:11                       ____________________________
                                                                        12               ANAND DAVID KASBEKAR, PH.D.
12   tank the controller was attached to on those dates? 14:39:15
                                                                        13
13            MR. SMITH: Leading.                   14:39:18
                                                                        14        Subscribed and sworn to before me this
14         A. I do not.                      14:39:19                   15 ____ day of __________________, 20____.
15         Q. (BY MS. ZEMAN) Assuming it was attached 14:39:20 16
16   to a tank, do you know whether the tank contained any 14:39:24     17        My Commission expires: _________________
17   samples on those dates?                      14:39:27              18
18         A. I do not.                      14:39:28                   19
19            MS. ZEMAN: Thank you. That's all I         14:39:30                          __________________________
                                                                        20                 Notary Public
20   have.                                 14:39:32
                                                                        21
21            THE VIDEOGRAPHER: This concludes the             14:39:34
                                                                        22                 __________________________
22   deposition of Anand David Kasbekar, Ph.D.             14:39:35                        Address
23            THE DEPONENT: Perfect.                   14:39:44         23
24            THE VIDEOGRAPHER: Total number of media 14:39:46 24
25   units used is one. The time is 2:39, and we are off 14:39:48       25
                                                                    Page 183                                                          Page 185

                                                                                                                   47 (Pages 182 - 185)
                                                          Veritext Legal Solutions
                                                               866 299-5127
     Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 49 of 92

 1            REPORTER'S CERTIFICATE
 2
 3            I, Sandra L. Bray, Registered Diplomate
 4   Reporter, Certified Realtime Reporter, and Notary
 5   Public within and for the State of Colorado,
 6   commissioned to administer oaths, do hereby certify
 7   that previous to the commencement of the examination,
 8   the witness was duly sworn by me to testify the truth
 9   in relation to matters in controversy between the said
10   parties; that the said deposition was taken in
11   stenotype by me at the time and place aforesaid and
12   was thereafter reduced to typewritten form by me; and
13   that the foregoing is a true and correct transcript of
14   my stenotype notes thereof.
15            That I am not an attorney nor counsel
16   nor in any way connected with any attorney or counsel
17   for any of the parties to said action nor otherwise
18   interested in the outcome of this action.
19            DATED: December 27, 2019
20
21
22              <%22392,Signature%>
                Sandra L. Bray
23              Registered Diplomate Reporter
                Certified Realtime Reporter
24              and Notary Public
25          My commission expires: January 16, 2020.
                                                      Page 186




                                                                          48 (Page 186)
                                               Veritext Legal Solutions
                                                    866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 50 of 92

[& - 367]

          &           11:24 72:21           1994 153:7            24 33:16 131:24
 & 2:7,11,17 3:4      12.5 161:18           1:05 143:5            25 27:13 33:15
   4:20               125 160:10            1:34 143:8              151:7
                      128 160:10                     2            252 161:9
          0
                      12:20 67:17                                 256 161:9
 001838 34:3                                2 3:19 42:20,21
                      12:30 68:5,21 69:4                          25849 159:4,5
 01586 1:3 4:18                               55:18 58:7,8,10
                        117:21 118:2                              25th 156:8
 023987 58:11                                 65:21 70:1,7,9,21
                      12th 158:19                                 26 58:20
 070093 154:8                                 85:15,16,17 106:4
                      13 1:7 3:6 155:7                            260 155:9
                                              112:13
          1           130 161:1,3                                 26003 160:14,15
                                            20 13:2 24:3 33:18
 1 3:18 4:12 32:3,7   13th 4:3                                      160:19
                                              64:3 65:14,19
   43:20 44:5,14      14 24:11,20 33:20                           261 155:9
                                              78:9 93:15 114:11
   45:9 50:11,18        85:9 118:7 131:24                         26114 160:20
                                              150:15,23 153:6
   70:6,10,17 71:10   148 33:16                                   27 152:5 186:19
                                              185:15
   72:24 78:10        14th 2:3                                    28 153:2
                                            20.6 159:12
   112:13 131:25      150 44:12,13 47:3                           2:27 180:14
                                            2012 159:7
 1/4 117:7              47:15,17 51:7                             2:35 180:17
                                            2013 155:3,6,19
 1/8 117:2              82:15,19                                  2:39 183:25 184:3
                                              156:2,8,9 157:5,6
 10 24:14,17,20       153 3:23                                             3
                                              157:14,14 158:3
   44:25 45:3 65:21   15th 161:17
                                              158:19              3 3:20 24:20 33:10
   107:11,11 146:19     162:17 163:2
                                            2014 161:17,23          41:2 43:12 55:18
   146:20 184:4       16 186:25
                                            2016 13:17,19           60:12,13 69:25
 10,000 138:19        163 3:25
                                            2018 9:21 42:14         70:1,11 75:13,15
 10.3 34:2 41:3       16303 164:8
                                              43:13 50:13,20        88:3 90:4 105:15
 10.3. 33:23          16312 165:6,7
                                              73:1 75:16 78:11      105:16 112:19
 10/1000 173:3        16449 165:15,16
                                              112:14 117:21         119:22 127:8
 10/15/19 3:18        16471 165:23
                                              162:17 163:2        30 24:3,21 30:12
 10/18/19 3:23        16510 166:7,8
                                            2019 1:7 3:7 4:3        41:3 65:14 91:1
   154:9              16512 168:10
                                              186:19                107:2
 100 13:2 126:16,18   17th 3:5 4:21
                                            2020 186:25           3000 17:16 28:13
 101 3:22             180 3:14
                                            20th 159:7 161:23       85:7 134:19
 10:13 31:25          18018 161:7,13,14
                                            21 33:16 78:9,10        168:17
 10:18 32:4           18108 161:10,11
                                              119:21              304 97:9
 11 24:19 41:2,10     18282 155:13,14
                                            22 34:6 67:25         30th 156:8 157:6,9
   41:25 45:1 55:2    183 3:15
                                              129:15                157:14
   56:9 158:3,5       18324 156:2,3
                                            22392 186:22          32 3:18
 11/13/2012 160:14    18355 155:16,17
                                            23 67:25              34 33:25
 1110 2:3               155:19
                                            2300 2:17             35 10:21
 115 90:9             196 48:19 65:1
                                            23rd 75:16 155:19     355 155:21
 11:14 72:18          1987 11:2
                                              157:5,14 158:3      367 159:3


                                                                              Page 1
                               Veritext Legal Solutions
                                    866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 51 of 92

[369 - adding]

 369 160:19                     5            8:00 68:2 69:8        access 16:18 74:6
 370 3:5 4:21 160:1    5 3:22 35:11                    9             74:7
   160:4,16              102:22,23,25                              accident 11:12,17
                                             9 134:2 150:9
 371 160:1,4             105:22 106:12,19                            178:5
                                               155:20
 38 86:17                106:24 107:6,10                           accidents 11:8,13
                                             90s 153:17
 3:18 1:3 4:18           107:20 109:1,1                            accommodate
                                             925-930-9090 2:18
          4              113:16 144:2                                95:8,19 142:21
                                             94 14:2
                       50 11:25 12:2,3                             account 55:12
 4 3:21 21:11 34:6                           94105 2:8,12
                         14:4                                        78:19 79:20 82:25
   36:2 37:15 41:21                          94523 2:18
                       500 107:12                                  accounted 51:22
   42:12 43:14 45:25                         94612 2:4
                       505 2:3                                       95:2,4
   46:3,15 50:12,19                          9:38 3:6 4:3
                       50s 30:8                                    accumulated
   55:1,20 56:1                                        a
                       510-350-4721 2:4                              119:2
   61:14 63:14,15,17
                                             a.m. 3:6 4:3 67:17    accumulating
   63:23 65:17 67:23   58 3:19
                                               68:2,21               110:20
   68:4 74:11 75:25             6            aaron 2:16 5:16,19    accuracy 71:1
   77:10 78:10 84:19   6 3:13,23 33:15       ability 61:5 127:4    accurate 6:17
   88:23 90:7,8 94:2     66:1 72:24 113:16     136:22 140:9          45:18 69:20,22
   106:23 112:7,13       148:20 154:3,5      able 66:18 96:16        70:24 114:17
   112:14 118:6        60 166:19               100:14 104:4          117:18 118:3,5,11
   129:14,16 134:6
                                7              148:11,15 151:1     achieve 150:23
   136:10 154:6
                       7 3:25 36:8 102:6     absence 41:15         acknowledge
   155:5 163:10
                         134:2 150:6 164:4     116:3 129:23          185:3
   184:4
                         164:5                 142:22 143:2        acknowledgment
 4/23/18 3:20
                       700:1 122:24            182:20                76:10
 40 27:10
                       70s 30:8              absent 49:22 61:1     acquisition 29:1,3
 408 32:17
                       75 3:20                 80:22 105:4           29:15
 415-442-1000 2:8
                       79 102:24 105:13        109:24 111:1        acted 104:21
   2:13
                       7:00 68:2,21 69:8       158:10              action 4:25 186:17
 4200 3:5 4:20
                       7:30 67:17            absolutely 54:11        186:18
 425 2:12
                                               61:24 63:15 168:9   actively 169:19
 43 34:10 134:3                 8
                                             absorb 52:25          acts 103:4
 445 11:24             8 36:8 58:21 117:2      53:22               actual 99:3 145:20
 45 16:5                 155:15 156:4,9      absorbed 125:19       add 104:7 111:4
 45,000 13:4           80 14:5,9             absorbs 53:19           142:4 145:4 149:9
 48 112:18             800 80:21 84:3        abuse 78:21,23          174:10
 495 11:24 12:2        808 54:17 74:16         79:16 80:19         added 11:5 33:16
 4:44 112:15 118:2       78:23 80:12 85:18     182:23                34:6,10,12 35:11
 4th 43:13 50:12,20      86:22 87:3 96:21    academy 153:6           92:13 120:11
   67:17 68:21 78:11   808af 3:18            accepted 176:5        adding 79:11
   112:14 117:21       89 3:21
   163:10

                                                                                Page 2
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 52 of 92

[addition - applies]

 addition 17:25        agree 21:23 49:22     allowing 82:4           116:7 118:14
   110:17 128:14         50:11,18 73:21        110:23                123:16,18 132:5
   174:5 175:17          77:21 78:14 81:11   alternative 135:4       132:17 139:4
 additional 51:20        81:12 82:20 87:7    aluminum 73:1         ansi 134:21 170:14
   55:12 71:23 103:7     87:21 89:24           74:9,11             answer 8:18 12:23
   116:11                105:15,21 106:1,4   ambient 48:12           13:6 20:14 27:1
 additions 147:24        112:6 113:9,20        49:16 62:7,13         48:13 50:16 51:18
   147:25                115:22 116:12,16      67:5 119:10           64:4 66:21 69:5
 address 133:12          117:12,13,19        amendment 185:5         71:12 82:5 103:18
   185:22                118:10 125:3        amount 30:10            112:11,21 114:20
 addressed 73:16         139:23 144:9          41:4,9 49:1 79:10     118:2 124:20
   163:25                148:14 154:16         97:2 114:22           142:4 145:4,7
 addresses 73:17         155:1 156:1,7,11      122:22 125:24         149:10 161:25
 adequate 102:20         158:6,7 160:8,24      151:3 157:24          170:9
   122:11 148:22         161:15,20 162:1     amounts 69:11         answered 41:1
   162:20 166:14         162:10 165:25         79:4 94:9             54:25 82:23 96:4
   168:14              agreed 4:10 37:14     amy 2:2 5:12 6:23       125:16 145:13
 adequately 83:13        176:24              amz 2:5                 151:17
   108:9               agreement 8:25        analysis 3:18         anticipate 83:25
 adjunct 169:16        agreements 9:4,10       10:15,19 11:3,21    anticipated 97:13
 administer 4:24       ahead 56:17             21:17 29:7 30:11    anybody 10:5
   186:6               air 20:18 26:19         31:8 36:7 37:8,15     131:22
 adobe 70:4              64:20 65:4,6          45:22 96:10 104:8   apart 51:3 123:4
 adversely 87:17         68:18 97:23 98:20     132:4,7,16 142:19   apparently 122:9
 advertising 15:20       98:24 101:1           147:7 151:20        appeal 172:11
 advised 77:1            126:15                153:16 172:23       appear 59:10
   146:20              alarm 169:10            177:25              appearance 5:17
 advisor's 28:19       alarms 135:9          analyze 163:12        appearances 2:1
 affect 52:1,3           148:19 168:17         164:1                 5:4,6
 affiliated 17:4         169:6               analyzed 19:6         appears 70:19,20
 affiliations 5:4      alert 134:22            159:18 163:9          86:13 88:6 106:10
 affirmative 175:3       148:22 149:14       anand 1:6 3:3 4:13      129:22 139:12,15
 affirmed 6:1          allen 47:10,12,13       5:25 6:10 183:22      139:18 179:15
 aforesaid 186:11        57:13,17 137:10       185:1,12            applicable 169:11
 agent 53:23 54:7      allen's 181:16,17     animations 27:22      application 153:14
   74:14,17,20         allow 80:12 81:10       153:21              applications 28:23
 aging 97:9              81:21 98:20         annular 64:15           85:20 86:2,9
 ago 8:19,19 27:13       118:22 172:22         78:1 88:18 89:12      87:14 134:23
   47:4 65:20,21,21    allowed 64:19           91:13 100:13        applied 75:4 87:25
   174:3                 67:1 82:10 94:20      103:3 110:4         applies 28:13
                         133:9 173:5 174:1     111:21 112:3          51:17

                                                                               Page 3
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 53 of 92

[applying - basis]

 applying 19:25        aschultz 2:19         atoms 54:10            110:2,11 124:18
 appointment           asked 40:17 41:16     attached 154:6         125:2 133:22
   169:17                51:15 69:19 94:10     183:12,15 185:5      134:4 139:25
 appropriate 3:2         96:3,25 103:6       attempt 15:11          143:9,10 151:1
   8:10 181:4            109:19 118:3          26:23 128:16         153:16 168:5
 approximate             125:15 151:10,16      129:5                169:23 173:12
   12:24                 177:9 183:6         attempted 143:25       175:12,13,15
 approximately         asking 87:11          attending 5:3          180:18
   7:24,25 9:17          124:4 138:11        attention 9:7         background 42:21
   12:21 13:4 24:14    asm 31:14 152:12        20:15 59:24 73:8     177:20
   41:25 43:20 78:11     152:20                78:9                bad 169:1 177:3
   158:17              assembly 101:6        attorney 5:7          balance 124:9
 approximation         assess 26:16            171:19,22,24        balanced 14:20
   12:25 47:18         assessment 125:24       172:1,5 174:12       129:11 151:24
 april 9:21 73:1       assign 179:13,16        186:15,16           balloon 22:20,21
   75:16               assistance 32:14      atypical 58:4         based 15:13 24:5
 area 17:24 18:4       assistant 13:24,25    audio 4:9,9            44:22,24 46:22
   26:6,7 39:19 40:5     169:16              authorized 4:24        47:15,18 52:9
   40:23 44:7 45:12    assisted 32:12        auto 119:3             57:11 61:6 62:8
   47:19 55:7,8        associated 6:22,23    autofiller 162:18      64:13 68:10,22
   59:23 61:10 75:1      40:6 86:22 113:14   automobile 10:16       69:6,13 77:22
   82:7,14 89:7,16       130:20 145:23         11:7,13 153:15       78:5 88:4,22 89:4
   91:10 92:3 98:8     assume 108:3          automobiles 7:9        94:6 100:1 105:19
   105:23 123:7          130:8 164:13,23       7:12,16              106:7,10 108:11
   137:14 139:19         164:25 167:1        automotive 10:23       110:21 112:21
   140:2,4 157:22      assumes 162:5         available 40:22        122:9 127:23
   166:2 169:20        assuming 18:9           68:23 88:5 148:21    135:15 137:16
   170:7 178:3           45:18 55:1 66:9     awarded 14:2           142:16,25 146:14
 areas 18:11 30:22       71:8 72:6 117:17    aware 9:3 27:8         151:1 154:11
   36:6 41:7 89:8        118:2 124:12          73:6 83:5 90:5       157:3 175:15
   109:5 180:7           183:15                96:20 97:15,25      basic 27:9 125:9
   181:21              assumption 45:8         98:9 135:8 162:13    170:13
 argue 22:12,18          45:14 59:15 69:7      162:16,25 172:16    basically 20:2 75:1
   76:11 103:16          77:9,11,18 104:14     173:10               105:22 110:9
   177:16                104:16 108:12       axle 11:15,18          119:17 135:1
 argued 162:21           122:25                        b            136:3 138:12
 argumentative         assy 3:21                                    152:19 153:13
                                             b 6:12 154:24
   162:10              atmospheric 21:21                            176:19 177:4
                                               159:8 160:3
 arriving 68:1,10        63:10 122:12,18                           basis 32:21 83:3,4
                                             back 16:15 32:5
 arrow 105:16            122:20                                     85:24 86:10 89:2
                                               34:22 60:12 72:22
   106:5                                                            137:22 156:13
                                               80:8,14 82:11

                                                                               Page 4
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 54 of 92

[bat - bulk]

 bat 79:14              benjamin.smith          157:21 169:24        bray 1:22 3:7 4:23
 bates 58:10 102:24       2:9                   174:16                 186:3,22
   154:8 164:7          benz 172:19           blockage 83:19         breach 68:1 88:7
 bearing 21:22          best 18:2 21:25       blocking 47:8            88:21,23,24 89:25
 beat 79:14               68:19,22 69:6       blood 60:7 86:8          96:22 97:16
 beef 165:12              84:20 140:9 171:6     87:15                  100:10 110:13,14
 beginning 5:6          better 15:9 20:14     blowing 168:18,23        121:10 127:9
   145:9 151:11           29:17 57:5 65:3       169:4                  131:15 136:21
 begins 78:8 164:7        77:17,21 140:25     blown 107:22             138:4 144:6
 behalf 2:2,6,10,14       141:20              board 29:6,7             148:13,16,18
   5:8,10,13,20 14:17   beyond 24:25          bockius 2:7              149:18,21 179:2
 behavior 29:8            26:25 44:11 51:4    boil 115:10 124:24     break 31:23 71:4
   38:16 176:21,23        56:2,20 59:15       boiler 10:23             72:16 140:19
   177:23 178:12          70:25 97:23 98:5    boiling 53:12            143:4 159:24
 belief 157:18            130:11 137:6,8,14     119:12,15 120:13     breakage 58:1,2
 believe 6:21 7:1,9       148:5 181:17        bolster 175:9          breeding 86:23
   8:23 11:22 24:19     bicycle 10:22         bolt 105:23              87:3,5,7,13,22,25
   27:5 35:19 39:3      big 15:7 104:3        bond 53:22               88:1 149:5 165:10
   58:18 69:22 91:24      105:5 142:14        bone 86:8 87:15        brett 109:20
   93:17 95:7 101:23      146:17                87:17,19 138:20      brief 19:2 47:6
   102:16 119:2         bigger 152:20         bottom 16:18,22        briefly 16:11
   121:10 144:17        bill 5:10 180:12,22     16:24 17:2 33:25       17:19 154:12
   148:4,4,7 156:14     billed 13:3             48:21 49:20 50:6     bring 31:20 174:7
   157:11 170:9,24      binder 153:25           50:15,19,22 58:4     bringing 76:8
   174:3                  154:9                 64:12,15,17,22       broaden 67:19
 believed 136:17        binding 74:14,17        65:2,5,17,25 66:4    broken 11:15
 believing 100:22         74:20                 67:24 70:7,8,22      brought 35:9
   104:25 153:3,12      biological 51:6         72:2,8,10,24 90:22     69:20 95:14
 belonging 26:18          56:16 81:9,15,16      91:20,21,25 92:8     buckle 23:11
 ben 5:8 71:4             81:22 85:20 86:7      92:17 100:5          buckling 22:10
 bend 142:21              182:17                112:25 113:19        buffer 55:12,16
 bending 145:24         biomedical 20:12        114:25 115:1         build 17:9 60:17
 bends 95:7 142:8       biotech 85:19 86:2      119:6,7,8,22           64:9,11 136:3
 beneath 68:4             87:14                 157:21 160:19        building 28:23
 benefit 115:11         bit 15:15 18:10         166:17 175:19          125:1
   130:10 131:8           23:23 25:2 37:4     boulevard 2:17         buildup 60:14
   139:16                 40:3 61:15 67:19    bow 142:15               64:7 69:12 83:9
 benefits 152:20          88:14 104:12        box 41:2 56:20,23        127:21,22
 benjamin 2:6             107:9 112:23          59:22 80:1 148:3     built 12:2 53:5
   30:14                  122:24 125:4        boxes 41:3,25 50:7     bulk 118:5
                          133:11 151:25         59:8,11,12

                                                                                  Page 5
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 55 of 92

[bulletin - certification]

 bulletin 130:18         cannisters 42:4          153:4,22 158:12       101:3 105:7 108:1
   131:1 134:7,13          55:2 56:9,13           158:16 171:7,12       111:1,13 120:1
   135:8                   57:23                  171:14,17,25          122:14 128:21
 burst 103:20            capability 52:20         172:2,3,6,7,18,20     139:24 140:2
 busted 159:19,22          151:25                 173:4,20,24         causes 90:4 169:12
   159:23                capacity 93:18           174:16,24 175:2,5   causing 100:6
 byproduct 33:13           124:23 147:5           179:1,7,22          caution 178:3
           c             capillary 59:21        cases 7:5,6,25,25     caveat 111:4,17
                           60:7                   8:5,8,8,12 11:7       141:5
 c 4:1 44:12,13
                         caption 69:25 70:6       14:19,24 15:9,12    cd 31:18
   47:17 82:15,19
                           70:11,18               15:15 21:2 25:12    cell 4:7 86:8
 c.v. 30:22
                         captions 70:24           172:15 175:11       cellular 4:6
 calculated 107:17
                           112:17,22 113:4      casual 181:19         celsius 48:19 51:7
   142:18
                         captured 54:1          catalog 41:23           161:2,4
 calculation 24:15
                         care 92:4              catalogs 36:22        center 1:4 2:15
   142:20
                         career 13:22           catastrophic 67:16      4:15 5:21 90:15
 calculations 24:13
                         careful 15:16            67:20 68:20 73:15   centimeter 64:18
   41:6
                         carefully 85:7           73:24 74:1,22,25    ceramics 30:4,7
 calibrated 158:11
                         carl 2:15 5:22           76:11 77:9 93:22    certain 8:7,13 41:4
   162:6,11
                         carolina 16:16           94:1 101:14 131:4     59:11 78:21 80:3
 california 2:4,8,12
                           17:1 72:13 172:2       131:10 132:21         83:6 109:4 115:25
   2:18 4:17
                           173:15 175:2           133:3 135:18,21       120:19 126:1
 call 17:15 21:12,14
                         carolyn 2:15 5:21        137:25 138:17         143:19
   29:25 55:10 74:19
                         carries 99:22            144:6 148:8,12,16   certainly 14:13
   77:11,12 90:16
                         carry 174:19             148:24 149:15         18:25 20:21 25:12
   92:24 93:4 104:23
                         case 1:3 4:17 6:20       178:20                26:4 27:11 30:15
   108:12 115:20
                           7:11,17,20 8:10,13   cause 23:9,11           63:8 64:1 65:9
   122:15 130:7
                           8:14,23 9:5 10:6       51:10,13 62:22        69:23 71:18 78:17
   131:4 142:7
                           10:14 11:25 12:22      77:19,23 78:6         81:25 83:10 93:2
   173:21
                           15:16 16:14 20:7       81:5 88:6,10          94:16 96:12 99:10
 called 3:3 6:25
                           20:22 25:5,6,16        93:17 94:25 97:22     102:4 109:23
   31:15 53:16 89:14
                           35:17 55:10 57:13      98:12 99:5,23         114:24 127:2
   105:18 154:9
                           62:9,10 63:13          100:24 105:2          128:5 129:12
 calling 77:15
                           64:2 66:24 68:11       106:13 107:16         132:19 135:25
   135:18
                           85:1 87:16 91:18       110:4 111:21          137:11 139:3
 calls 108:14
                           92:19 93:1 94:23       115:16 120:21         144:13 145:20
 camera 70:13
                           95:9 100:25            121:2 126:6           149:22,25 157:22
 camp 101:8
                           103:25 128:11          127:10 157:25         178:7
 cane 59:18,22 60:4
                           137:11,12,19           177:22              certificate 186:1
 canes 56:19,23
                           141:14,16 143:18     caused 27:3 60:19     certification 47:6
   59:16
                           146:15 147:11          94:2,18 100:10

                                                                                  Page 6
                                   Veritext Legal Solutions
                                        866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 56 of 92

[certified - companies]

 certified 3:8 186:4        135:4,5,13 136:12   citations 32:15       coefficients 52:8
   186:23                   136:17 137:17       cite 32:25 33:17      cold 19:25 62:24
 certify 186:6              138:7,14 143:12       34:11                 65:4,7 170:5
 chance 36:5 66:14          144:4,10,17 145:2   cited 32:24 59:5      colder 19:24 49:21
   155:8                    145:10,11 146:12      164:6                 119:9
 change 19:2 66:22          148:8,22 149:3      civil 3:2             coldest 67:8
   69:4 85:23 94:17         154:8 157:1 164:6   claim 179:5           collapse 23:11
   100:13 105:4             164:8,20,25 165:2   clarification 38:11   collapsed 104:5,6
   108:7 109:6,7            165:9,9 167:19      clarify 118:1         collection 28:18
   177:22                   178:16,16 179:7,9   clarity 33:22         colorado 1:1 3:6,9
 changed 35:24            chart's 36:19 74:8    class 5:13 47:6         4:21 169:21 170:2
   176:23 178:12            74:13,16 75:25      classes 31:7,9          186:5
 changes 27:8               76:13 87:2,10       classlawgroup.c...    column 154:20
   52:11 185:8,9            88:2 104:10 105:8     2:5                 columns 154:22
 characteristics            133:8 135:18        clear 22:6 70:5       come 8:20 67:13
   39:4 46:24               136:9,13 137:19       126:4 143:21          79:2,7 80:13
 characterize 44:16         139:1 150:2           167:25 178:18         98:20 147:13
 charge 12:19 34:8          166:10 179:13,20    clearly 118:4           168:17
 charging 11:23             180:1 183:6         client 21:25 103:6    comes 26:19
   12:18                  check 70:8 146:21       116:9 146:20          141:11,17,17
 chart 2:6 3:4,18           147:13 176:19         173:21 174:6          178:13
   3:20,23,25 5:9         checked 84:9            176:12 177:2        comfortable 37:6
   20:13 24:16 34:3       checks 84:21,25       clients 12:19         coming 89:9
   36:20,23 39:7,11       chemistry 31:10         130:18 134:7          123:17 139:13
   39:23 40:17 41:15      chenette 2:15 5:22      174:16              commencement
   47:22 49:25 51:5       cherry 169:24         climate 99:17           186:7
   52:22,24 55:20         chesson 17:3            101:1               commencing 3:6
   62:1 72:8,25 73:5      child 87:18           clinic 74:6 82:3,10   comments 89:4
   73:11,16,21 74:3,7     christin 47:8,13        86:15 95:15           142:25
   75:21 76:25 78:23        57:12,17 137:10       126:14 163:17,22    commission
   80:18 81:9,12,13         181:16,17           clinics 37:5 87:22      185:17 186:25
   81:19,25 82:3,8,9      christmas 105:22      close 19:15 35:3      commissioned
   83:1,5,14,20,25          155:4 156:2           51:2 62:4 64:17       186:6
   84:7,11 85:17,25       chronology 92:18        65:8 93:10 122:24   commit 157:2
   86:3,6,11 87:14        circled 90:25           139:14 141:2        committee 134:18
   90:9 95:7 96:21        circuit 18:14,18      closely 21:6          common 175:16
   97:3 99:2 102:24         29:6,7 159:13,15    closer 48:16 50:13    commonly 86:14
   108:5,25 129:19        circumstances           123:6               commonsense
   130:17,25 131:13         38:17 40:9,10       clutch 7:8              46:11 51:4
   132:1 133:1,2,17         49:23               codes 154:24          companies 17:5
   133:20 134:18                                  157:1

                                                                                  Page 7
                                   Veritext Legal Solutions
                                        866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 57 of 92

[company - contraction]

 company 9:13,24       concerted 66:4        conjunction           consultation 17:11
   10:3,5 13:18 26:8   conclude 114:14         176:16              consulting 10:9,9
   86:11                 132:4               connected 91:8          15:23
 comparing 58:18       concluded 184:3         186:16              consumed 41:10
 compartment           concludes 183:21      connection 36:9         65:11
   123:14              conclusion 133:7        36:18 37:3 57:17    consumer 74:7
 competing 67:5          176:5                 57:20 59:1 159:25   consumption
 complete 51:24        condensation          consequence             40:18 54:6 55:12
   56:14 83:6 166:18     61:14,22 67:2         138:17                144:15
   171:1                 68:3 71:10,19       consequences          contact 8:16 65:1
 completed 36:2          72:9                  87:20 133:10          135:4
 completely 39:6       condense 62:23          134:11              contacted 6:19
   40:15 78:4 81:17      65:7,22 68:18       consider 25:24        contained 19:3
   82:4 88:15 163:25   condensing 52:17        28:5 29:22 36:7       35:17 45:15 73:11
 compliant 134:21      condition 39:15         43:5 45:4 73:14       130:12 146:15
 component 126:12        51:24 61:8 83:17      81:14,15 89:5         176:15 183:16
   129:20 172:24         94:24 95:20,23        94:24 133:23        containing 81:22
 components 10:21      conditioned 101:1       170:6 177:14        containment
   10:22,23 11:1       conditioning          consideration 38:3      40:20
   39:19 42:7,10         126:15              considered 38:6       contains 112:13
 composite 74:14       conditions 49:16        38:13 39:1,2        contaminant 53:7
   74:17                 62:2 83:6,7,9         55:17 103:20          53:14
 compromise 76:23        99:15 101:10          116:10 127:18       contaminants
 computer 11:4           128:6                 154:13 178:15         52:25 97:20
   27:12,12,22 28:18   conduct 37:9,18       considers 80:18       contemporaneous
   29:5,11 69:3          111:18              consist 175:4           128:16 129:4
   153:4,13            conducted 11:20       consistent 61:18      contents 24:8,18
 conaghan 33:11          37:13 88:20,23        69:21 89:6 128:12     24:22 31:20 39:14
   43:18,19 44:2       conductor 65:3,3        142:6,22 172:25       41:6,13,21 45:3,21
   56:6 113:22,22      confidential 32:21      174:2                 54:20,22 55:1,9
   127:24 129:7,8      configuration         consistently            95:20 129:21
   131:21 143:22         39:24                 151:21                131:10 135:21
 conaghan's 16:4       configured 39:22      constantly 147:12       138:17 140:17
   24:10 33:16 60:13   confirm 110:3         constitutes 185:6     continue 4:9
   64:6 112:23           111:20 113:7        constructed 54:4        124:20 136:15
 concede 76:6            157:3                 54:15               continuous 160:2
 concept 140:8         confirmation 90:2     construction          contra 2:17
 concern 27:22           92:11                 107:10              contract 14:6
   146:7               confirmed 89:12       consult 111:19,24       31:20 52:7
 concerned 74:8          110:15 128:11       consultant 10:11      contraction 51:16
   145:18 165:9                                26:9,12,13,16         52:1,9 95:1,6

                                                                                Page 8
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 58 of 92

[contraction - cryogenically]

   138:13              conversation 38:7       179:25 183:8           96:10,17 99:24
 contracts 12:14         38:21 109:13          186:13                 100:6,12 101:5
   14:3 28:24          conversations 4:6     corrected 101:24         110:4,10,16,23
 contradicts 69:16       16:9 38:14 44:17    correction 144:3         111:7,14,20 112:3
 contribute 125:21       57:12,16 137:10     correctly 158:11         115:18 116:7
 contributing          conversion 120:25     correlates 115:23        118:14,19 121:11
   128:4               cool 52:6 68:16       correspond               123:2,2,3,6,10
 control 20:6 28:18      95:19 98:21,22        154:18                 124:14,23 125:3
   28:23 29:1 102:9      120:14 128:7        corresponds              128:2 132:4 139:4
 controlled 99:17      cooled 19:17 25:21      160:25                 139:15,25 141:8
   101:1,15 109:5        67:10               costa 2:17               142:14 178:20
   140:14              cooler 138:12         counsel 4:14 5:2         179:14
 controller 17:16      cooling 20:5 44:11      9:8 36:12,14         cracked 146:3
   18:7,18,23 19:1,6     51:13 62:20,22        37:24 38:4,7         cracking 7:11
   34:9,16 85:7          77:5 93:18 115:3      40:17 41:16 43:7     cracks 92:25
   129:19,23,25          119:18 120:23         57:25 87:10            93:14 132:18
   130:2,4,14,19       cools 119:16            109:19 183:6         crafted 142:9
   131:2,9,19,23       copy 32:7 34:18         186:15,16            create 98:23
   133:23 134:8,10       34:23,25 35:8,9     counsel's 70:19        creates 147:4
   134:12,14,24          69:20 70:6,19,19    county 153:5             169:11
   135:3,13,20,22      cord 86:8 87:14       couple 8:2,8 51:2      critical 47:17
   136:9,21 137:16       173:2                 161:6                  134:23 180:7
   137:23,24 140:10    core 172:24           coupled 129:22         criticality 104:8
   140:10 143:11,13    corporation           course 9:9 120:20        132:16
   144:13,24 145:17      171:12                182:18               cross 90:16,23
   147:4,10 148:14     correct 12:7 14:16    court 1:1 4:16,22      cryobiological
   149:10,20 154:5,6     18:19,21 19:8         5:14,23                3:25 164:7
   156:11,14 158:7       24:14 27:21 30:20   cover 56:2             cryobiology 181:1
   159:25 162:2,5,8      30:24,25 32:17,24   covered 44:9           cryogenic 11:21
   162:14,16 163:2,5     33:5 35:20 36:11      63:18,24 144:25        19:11,14 20:4,8,23
   178:9,10,17 179:8     48:20,24 56:4,7     covering 141:15          21:16 25:18,25
   179:17,20,24          59:3 60:15 61:24    crack 17:25 24:25        26:3,4,5,9,11,16
   180:7 182:20          74:10,15,19 78:13     39:5 40:5 64:18        27:9,19,19 37:10
   183:8,12              83:15 84:1 87:1       64:23 66:10 71:21      48:2 49:12 51:10
 controllers 28:3,6      88:9,25 89:18,20      73:17 77:18 78:1       51:13,17 52:14
   28:12,15 134:19       91:7,12 92:9          88:11,17 89:10         54:18 62:1 80:12
   137:5,18              102:12 105:20         91:4,13,15 92:11       85:18 86:6 111:19
 controls 27:12          109:9 130:22          92:13,15,21 93:4,9     125:13 137:4,24
   28:8                  143:3 151:11          93:16,17,22,25         181:22
 controversy 186:9       152:10 157:16         94:4,7,7,8,12,18     cryogenically
                         172:8 173:7           94:19,22,25 96:1       19:17

                                                                                 Page 9
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 59 of 92

[cryogenics - deposition]

 cryogenics 25:20        68:23,24 88:5,19    defendant 3:4         degree 14:2 53:25
 cryopreservation        88:21 96:7,8          4:14 15:7 172:6       100:18
   3:18 148:23 149:3     110:15,22 112:25    defendants 2:10       degrees 47:3 48:19
 cryopreserved           148:21 154:23         2:14 5:20 15:11       51:3,7 126:16,18
   181:14                155:10 157:9        defense 14:4,22         161:2,4,6
 culminated 117:24       159:14 163:6          15:6 28:25 70:19    deliver 145:25
 current 172:10        dated 75:16             171:24 172:1          165:5
 currently 144:9         186:19              definitely 69:16      delivers 91:10
 curriculum 30:8       dates 183:10,12,17      82:2                denver 3:5 4:21
 customers 76:13       david 1:6 3:3 4:13    deflections 173:1     department 13:23
   86:12 164:24          5:25 6:10,11        deform 101:12           14:3 28:25 29:14
 cut 91:24 92:17         183:22 185:1,12       102:21              depend 49:16
   157:9               davis 109:20          deformation 60:25     dependent 54:19
 cutting 116:11        day 55:18 61:9,10       61:10 77:16 78:2      95:12
   153:17                85:9 94:20 113:1      99:21 100:4,11,12   depending 52:16
 cv 1:3 4:18             156:2 185:15          100:24 102:10,17      65:18 72:13 99:11
 cycles 96:18 97:22    days 13:13 28:15        104:18,24 105:2,7     111:10 124:22
 cycling 20:2 51:19      112:18 136:25         105:10 107:16,19      125:19 126:20
   51:19 52:13           161:22 163:10         107:22 108:2,9        157:23
           d           deal 28:17              111:1,14 112:6,20   depends 78:15
                       dealing 25:22 97:2      113:24 114:5,12       79:6 82:21 116:20
 d 3:11 4:1 6:11
                         118:19                114:18,21 115:17      116:21 180:1
 daily 84:21,25
                       december 1:7 3:6        115:23 117:14,19    deplete 81:17
 dairy 165:12
                         4:3 155:3,6,19        117:24,25 118:5     depleted 67:13
 damage 22:23
                         156:8,8 157:5,6,8     118:11 121:3,6        122:4,6
   25:7 79:21 80:4
                         157:14,14 158:3       123:5 127:10,13     depletion 116:24
   120:21 140:16
                         158:19 186:19         128:13 131:11,16    depo 166:5
   157:25
                       decide 95:13            132:5,12 140:2,15   deponent 38:24
 damaged 46:8
                       decreased 156:9       deformed 118:16         44:2 47:11 106:20
   80:6
                       deemed 45:2             121:19 173:1          183:23 185:2
 dan 8:3
                         94:13               defrost 83:6,14,16    deposed 6:13
 danger 178:2
                       deeply 154:13           83:18                 69:15 179:10
 data 17:17 18:4,23
                       defect 7:8,14         defrosted 84:23       deposition 1:6 3:2
   19:1,6 28:18 29:1
                         15:10 40:5 93:18    defrosting 143:20       4:8,13,19 8:11,14
   29:3,15 85:7,8
                         98:8 102:15,19      degradation 48:4        8:15 14:11,25
   113:14 154:12
                         110:22 118:18         73:15 77:2 84:1       15:12 16:1,4,10,13
   155:3 156:14
                         126:8 130:1           97:5 131:7 144:11     17:18 32:3 33:17
   157:4,13 158:2
                       defective 101:5,6       146:17,18             40:25 44:17 56:6
   160:10 161:16,21
                         179:2               degrade 98:19           56:8 58:8 75:13
   163:9 164:1 183:7
                       defectively 108:5     degrading 97:21         90:7 102:22 114:2
 date 12:22 13:5
                                                                     114:9 151:11
   35:17 39:7,11

                                                                               Page 10
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 60 of 92

[deposition - disk]

   154:3 164:4 178:7    destructive 16:17       99:18 112:3 115:2   directly 144:14
   183:22 184:2           36:1 38:22 39:2       115:5                 146:18 182:9
   185:2,5,8,9 186:10     88:20,22 91:14,17   dewars 20:17 62:9     disagree 58:22
 depositions 14:14        91:19 103:12,17       62:20 63:9 80:25    disassemble 102:1
   14:15 36:13 59:9       111:18 139:16,17    dfmeca 74:5           disassembled
 describe 21:10           144:23 150:10       diagnosing 135:6        103:10 104:20
 described 118:15       detachment 75:1       diagnosis 144:1         111:5
   133:14 150:2         detail 25:2 39:17     dialing 147:12        disassembly
 description 130:13       41:13 139:11        diameter 118:21         103:11
   134:20                 164:22                139:19 141:8        disclose 38:13
 descriptions 41:23     detect 144:11         difference 30:1       disclosure 32:18
 desert 99:16             148:15 149:10         51:1 76:18 149:16   disconnect 124:3
 design 17:9 20:3       detected 68:5,14      differences 69:23     disconnection
   25:25 26:2,9,13      detection 89:7,9      different 11:1 29:4     143:23
   27:9 51:22 101:5       136:4 149:11          48:1 52:7,8 57:7    discontinued
   101:13 102:14,19       177:25                59:16 70:14,22        152:18
   104:7 105:7          detectors 25:22         76:7,21 82:5        discovered 67:23
   106:17 126:9         determine 18:13         87:23 88:1 94:11      88:24 110:15
   132:15 138:7,16        34:23 41:6 71:17      99:17 101:9           117:20
   138:24,25 139:1,6      116:6 151:1           126:13 177:9        discovery 18:9
   140:8,24 142:5,23    determining           differential 23:9       36:4,6 180:1
   145:5 146:10           170:12 178:1          62:12 122:12,14     discrepancies
   173:25 175:6         detrimental 12:15       159:8 169:12          163:16,18
   178:22               develop 11:4          differentials 49:25   discuss 38:25
 designed 19:13           65:10 67:9,11         160:3                 73:22 74:22
   55:21 99:18            72:9 109:3 110:13   differently 144:18    discussed 37:24
   107:21 108:5           124:17 153:21         144:20 145:2,12       38:3 39:3,16
   131:3 138:2 144:4      170:10 174:3          146:7,13 149:24       96:16 143:20
   144:9,17,19          developed 19:13         149:25                144:21 153:14
   145:12                 93:22 94:1,13       difficult 53:5        discusses 73:21
 designer 26:3            96:1 121:5            58:11 61:11 70:23     74:2
   78:18 79:19          developing 28:10        93:7 104:25         discussing 130:3
 designers 97:6         development 20:4        133:11              discussion 39:13
 designing 178:24         174:8 176:14        difficulty 33:12        39:20,23 74:5
 designs 57:14          device 81:2,3           60:18,20,24         discussions 9:22
 desirable 169:5          108:8,23 145:19     dip 43:22               142:17
 desired 44:25          devoted 12:22         diplomate 3:7         disk 101:18
 destroying 53:2        dewar 25:15,16          186:3,23              102:10,14 103:20
 destruction 16:20        63:13,14,15 76:16   direct 44:7 65:1        104:23 107:24
   101:14                 76:16,20 77:3,4       78:9 133:5            108:13,15 109:3
                          80:25 81:4,5,5

                                                                               Page 11
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 61 of 92

[display - embryos]

 display 29:3          doing 6:7 66:23       due 45:17 55:13        effects 104:8 147:7
 displayed 176:1         93:10 169:19          55:14 96:18,19         177:25
 disputing 70:25       don 17:3                111:12 131:10        efficacy 176:6,9
 dissected 66:21       dots 130:9              132:25 151:25        efficiency 12:15
 dissertation 152:1    double 150:3          duke 13:23 20:11       efficiently 16:20
 distinction 144:18    downloading             20:13 29:10            31:19
   165:20                164:2                 169:16               effort 61:3 66:4
 distorted 102:5       downstairs 95:15      duly 6:1 186:8         efforts 18:2
 distributors          dr 6:5 16:4 24:10     dumped 82:11           eggs 45:9 46:17
   164:23 165:1,3        32:6 33:11 43:18    dumping 79:4,9           50:13,15,20,22
 district 1:1,1 4:16     44:5 56:6 58:15     dwindle 115:8            85:21 86:18
   4:16 171:17           60:13 64:6 72:23    dye 92:1                 181:10,14
 division 4:17           75:16 90:10         dylan 6:21,22,23       eight 60:16
 divulge 38:1            112:23 113:22,22      8:7,17,24 16:11,12   either 8:17 14:24
 doctor 43:24 44:3       127:24 129:7        dynamics 11:17           28:8 50:9 53:21
 document 16:8           143:11,22 154:4     dyslexic 161:13          87:10 92:20
   34:2,3 58:10 61:7     180:21 183:6                  e              115:18 135:16
   75:7,10,15 102:23   draining 77:5 79:3                             136:3 158:20,21
                                             e 3:11 4:1,1 6:12
   130:18 133:12,15    dramatic 21:20                                 158:23 159:14,19
                                             earlier 40:24
   134:1 154:8 164:5   draw 60:8                                      164:2 167:5 171:9
                                               51:15 69:19 82:23
   164:10,12,16        drawing 3:21,22                                179:7
                                               96:25 125:17
   165:4 166:1           39:23 90:8,10,12                           ejection 106:14
                                               166:5,22 178:6
   169:15                90:13 105:19                               elastomer 97:8
                                             early 13:14,15
 documentation           106:7,11                                   eldon 2:15 5:21
                                               16:16 20:25 57:13
   60:1                drawings 72:5                                electrical 19:9
                                               131:3 136:4
 documented 33:20        143:3                                        20:6
                                               137:10 138:24
   39:6                drawn 114:22                                 electronic 28:3,6,8
                                             edge 139:18 141:2
 documenting           draws 105:16                                   28:12,14
                                               141:2,17 153:17
   103:11                106:5                                      element 142:19
                                             edges 166:6
 documents 16:5        dried 167:5                                    153:15
                                             edification 37:6
   32:16,18,20,25      drilled 117:2,7                              elevated 46:18
                                             education 25:18
   33:1 34:4,8 36:6    drip 67:14                                     47:21 51:9 129:21
                                               180:25
   36:12,17,21 43:8    drips 65:12                                    134:25
                                             effect 45:5 52:13
   44:23 49:14 58:25   drop 81:10,22                                email 2:5,9,13,19
                                               52:18 62:20 77:20
   73:16 74:3 76:25      123:9,12,13                                  130:12
                                               77:24 78:2,7 99:1
   84:7,16 95:10       dropped 79:18                                emails 130:5,11
                                               110:5 111:22
   106:16 107:14         161:21 162:1,4                             embryo 87:18
                                               123:4 132:15
   128:9 131:17        dropping 82:1                                embryologist's
                                               134:18
   146:15 148:21       dubai 99:16                                    55:8
                                             effective 108:22
   154:1 157:2 168:2   ducati 7:21                                  embryos 45:10
                                               177:8 178:24,25
   179:12,13                                                          46:17 47:24 50:13

                                                                               Page 12
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 62 of 92

[embryos - existed]

   50:15,20,22 85:21   entitled 75:15        evaluate 18:16        example 39:12
   86:18,25 138:19       164:6                 26:5,12 41:17         69:25 79:25 83:5
   181:7,14            environment             96:16 153:16          94:19 106:5
 emphasis 10:18,20       100:25              evaluated 11:16         112:12 159:3
 employee 10:10        environments            46:14 110:9           160:2 166:13
 emptied 62:10,15        86:14               evaluating 7:13         177:21
 empty 81:1,5          envision 54:5           39:4 40:16 162:24   examples 21:1
   168:18                77:14               evaporated 167:5      exception 70:23
 ended 93:9            equalized 121:25      evaporation 116:2     excessive 68:3
 engineer 19:7,9,11    equilibrate 79:9      event 3:23 23:4         83:9
   29:23 30:2 95:7       79:11 122:16          40:19 64:2 73:7     exchanged 32:21
   132:24 145:21         123:25                96:19 104:1 131:3   exclude 172:6
   170:11 177:17       equipment 25:21         135:2 136:19,20     excluded 171:3,11
 engineered 107:21       25:23 28:24 80:1      147:8 154:10,23       171:16 172:13
 engineering 13:22       80:6                  154:24 169:7          173:8,11,17,23
   25:19 26:2 27:19    equipped 102:9          178:21 179:14         174:12
   28:21 29:14 43:10   equivalent 177:4      events 51:13          exclusively 151:23
   159:23 173:25       eric 8:3,6,17,24      eventually 63:19      executive 175:8
 engineers 10:8        erroneous 158:25        67:4 122:3 123:25   exemplar 38:15
   11:2,14,16 13:24      169:14              everson 2:17            40:8,10 41:17
   89:3 111:19 132:6   escape 105:6          evidence 63:23          42:7,10 58:16
   152:9,11 172:25       108:1 116:6 117:3     64:1 77:13 82:6       59:2,11 60:1
 english 170:25          123:1                 89:2 112:9 122:9    exerted 22:8 99:21
 ensure 79:23          escaped 71:9            126:15 129:17         121:16
   135:23 140:9        especially 14:20        130:17 132:13       exhausted 88:15
   181:7                 79:21 99:11           138:6 140:1         exhibit 3:18,19,20
 ensures 140:14          129:21                162:14,16,21          3:21,22,23,25 32:3
 enter 13:13,15        esq 2:2,6,11,16         163:1 182:23          32:7 58:7,8,10
   64:19 118:23        essence 45:21         evidenced 68:4          70:10 72:24 75:13
   133:9               essentially 38:15     exact 8:18 23:25        75:15 90:7,8
 entered 23:8,16,18      38:20 40:16 45:21     39:24 41:14 44:15     102:22,23,25
   23:21 61:23 65:15     122:17 146:4,24       52:23 71:23           112:13 154:3,5
   66:7 107:3 120:8      175:13                112:11 174:14,14      164:4,5 172:23
   123:10,13           establish 176:21      exactly 16:24 24:6      173:5,11
 entering 66:15        established 46:12       41:9 49:14 51:17    exhibits 3:17
   71:14 111:2           157:17                57:3 142:14 166:4     31:23 113:18
   120:23              estimate 24:9           174:18              exist 48:1 55:22
 enters 66:11            46:25 68:19,22      examination 3:3         107:14
   128:23                69:6 150:22 151:4     3:12 6:3 71:20      existed 50:12
 entire 67:1,3 124:8   estimation 13:3         180:19 183:4          115:19
                                               186:7

                                                                               Page 13
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 63 of 92

[existence - failure]

 existence 62:25        experienced           explosion 21:11,13    facilities 11:4
   63:5 181:24            134:19                22:7 23:1 26:23       20:12,12 57:18
 existing 34:10         expert 7:3 8:10         27:3 77:15 120:18   facility 37:17
 exists 56:16 112:2       10:16,19 13:8,12      122:14              fact 13:12 46:2,7
 expand 52:6 105:1        13:19 15:18,23      explosions 21:2         61:7 73:6 76:3,5
   115:14                 25:24 26:3 28:5       25:4,13               77:4 81:20 92:9
 expanded 23:8            28:12 29:14 47:6    exponent 109:16         108:20 111:6,9
 expanding 53:2           47:7 81:15 143:1      143:1                 118:14 123:5
   104:18 122:23          170:7,19 173:23     exponent's 37:17        128:14 129:19,25
 expands 22:21            174:7 176:14,17     exposed 28:21           140:25 149:20
 expansion 51:16          177:6,10,12,19        45:10 46:18 50:14   factor 71:16 128:4
   52:1,8 62:19 95:1      181:3,6               50:21 125:13          133:13,21,22
   95:6 119:19 120:1    expertise 17:24       exposure 47:21        factors 170:25
   122:10 129:10          18:5 26:7 28:7      expressed 43:6          174:7 176:10,13
   138:13                 29:2,4 44:8 45:13   extensive 114:21        176:16 177:6,14
 expect 49:7 52:15        47:19 51:16 55:7      117:25                177:17,19 178:12
   63:16 64:9,11          55:8 60:10 82:7     extent 45:24 49:18      178:15
   65:14,22 67:2,6        82:14 137:7,8         66:17 71:19 76:25   fail 81:6 95:18,21
   68:13 78:18 80:19      157:22 170:8,21       78:21 103:18          135:17 140:8
   81:3 95:17,21          177:18 178:3          114:16 124:17       failed 11:18,19,19
   98:14 99:4,13        experts 44:11,18        137:13 144:21,23      88:5 142:4 174:6
   101:10 107:2           111:19 171:20         146:1 155:2 158:3     179:7
   123:9 126:10,13        177:15 178:15         171:21 172:18       failing 7:18
   126:22 127:2         expired 14:6,6          174:20 181:15       fails 63:21
   135:5 142:13,15      expires 185:17          182:4               failsafe 136:4
   145:21,22 162:20       186:25              exterior 22:14        failure 3:18 7:20
   167:20               explain 60:18           102:8                 10:15,18 11:3,20
 expectation 49:5         62:18 182:5         external 27:3           21:17 25:17 26:5
 expectations 97:3      explained 58:2        extra 11:25             26:13,16 29:7
 expected 53:25           119:1 126:19        extremely 136:23        30:11,20 31:8
   78:15,19 82:21,24      177:11              eye 93:2                37:14 40:4 42:12
   123:12               explaining 57:24                f             46:16 61:19 63:1
 expelled 109:10          130:7                                       63:6,17 67:16,20
                                              f 2:11 156:24
 expended 18:2          explanation 60:23                             68:20 74:25 87:16
                                                157:11
 expense 146:22           104:17 127:14                               88:6 90:4 93:23
                                              fab 146:5
 experience 15:13         129:13                                      94:1 96:2,17
                                              fabricated 35:13
   25:20 29:24 30:10    explode 139:24                                101:15 104:8
                                                35:13 138:3 144:5
   30:23 31:2 53:3      exploding 22:22                               110:5,6,11 111:21
                                                144:10,20 146:6
   62:8 67:7 80:25      exploration 40:4                              111:22 128:16
                                              fabrication 51:22
   97:1,2 151:8,13,14   explored 148:6                                132:15 133:24
                                              face 93:20 141:7
                                                                      137:25 147:3,7

                                                                               Page 14
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 64 of 92

[failure - found]

   148:24 149:15       fedex 80:5              findings 27:2         fmea 138:16
   151:20,23 177:25    feed 95:8               fine 35:1 151:5       focus 18:1 30:4
   178:20 180:3        feel 18:15 103:17       finite 142:19           114:9
 failures 7:4 26:11       177:2                   153:15             focused 17:20 30:9
   74:22 133:3 163:6   feels 174:19            fire 126:12 177:5       59:24
 fair 10:14,17 11:6    feet 93:15              firm 6:24 7:22        foerster 2:11 3:5
   21:14 22:10 23:2    fell 29:19                 8:22 11:24           4:20
   31:1 49:19 84:7     felt 26:6               firms 9:4,10 15:6     folks 95:22
   90:16 93:21 97:1    fertility 1:3 2:10      firmware 18:13,17     following 79:12
   113:17 154:13          2:15 4:15 5:11,20       29:6,9               141:8
 fairly 72:11 94:8        37:5 42:23 43:2      first 6:1,10,19       follows 6:2
   120:15 122:20          82:3 87:22 126:14       8:16 13:21 23:3    footer 113:18
 fall 153:6               149:7                   28:16,20 35:12     footnote 33:15,25
 falling 7:18          fertilization 181:4        50:17 64:12 67:9     86:17 134:3
 false 16:22,24 17:2   fields 181:1               80:8 85:16 88:4    force 125:2
   64:16,17 89:10      fifteen 14:21              90:3 92:8 119:14   forefront 153:19
   91:21,25 92:7,17    figure 39:17 69:25         144:3 145:19       foregoing 184:2
   100:5 114:25           70:6,9,17,18,22,24      149:17 151:19        185:3 186:13
   115:1 119:5            100:14 112:13,19        153:11 156:25      foresee 81:20,25
   157:21 168:17       file 154:8                 163:24 165:10        82:3
   169:6,10            filed 4:15 47:5         fitting 139:13,19     foreseeable 51:21
 familiar 82:16        fill 18:1 24:23,24         141:1,9,10,13,16     55:14 78:20,20,21
   84:5 90:10 102:25      33:19 39:21,22          141:21,23,25         78:23 79:2,6,13,16
   125:6 166:20           62:20 77:18 81:1        142:12 146:11        80:11,17,23 81:8
   173:24 181:22,24       81:4 83:10,19        five 14:8 17:14         82:2,25,25 94:24
 familiarize 20:23        85:9 95:12 111:7        84:3                 95:9,17 99:14
 far 64:13 129:23         111:12 124:12,13     fixtures 17:10          101:6 126:5,11
   165:9 174:5            131:23,24 156:25        28:10                127:3 137:15,18
 farther 51:3             157:4,12 169:13      flash 120:6             137:19
 fast 123:8            filled 24:4,11,19       flashed 66:8          form 49:4 53:1
 faster 117:13,14         64:23 81:4 85:5         119:24 120:17,19     62:24 65:23 68:18
 fatigue 138:13           119:13 157:15        flashing 120:10         71:9,11 81:24
 fault 136:9,13        filler 119:3            flat 7:17 175:10        98:4 158:22 167:2
 faulty 134:23         filling 20:17 80:13     flexible 143:24         168:8 186:12
 feasible 98:16           80:14 83:13 163:9    floor 65:13 67:14     formal 177:24
 feature 115:21        financial 9:9              67:16 69:12        formation 71:19
   131:2 133:20        financially 5:1         flow 124:1,5          formed 142:14
 features 170:24       find 25:9,15 60:14      flowing 62:21         forms 124:24,24
 february 162:17          84:14,16 111:9,10    fluctuate 98:18       forth 169:23
   163:2               finding 17:25           flywheel 7:8 8:13     found 25:10 33:4
                                                                       34:2 36:21 39:5

                                                                                 Page 15
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 65 of 92

[found - going]

   43:19 45:19 46:9    functional 77:3       gear 27:23,25            146:23 169:9,13
   60:18 64:13 68:4      135:23 145:17       general 43:4 54:25       180:10
   83:24 91:4,14,17    functioned 105:9        56:18,20 57:10       given 33:19 38:3
   100:9 109:22        functioning 125:9       59:6,23 73:22          40:4 44:8 56:25
   112:4                 129:25 131:8          78:14 84:2 88:14       70:10 85:1 96:6
 foundation 181:12       148:15 162:6          134:16 146:2           118:13 180:4
 four 14:8               180:8               generally 20:24        givens 2:15 5:21
 fractography          functions 182:15        36:23 52:4 57:24     gives 113:6
   31:10               funded 30:17            62:9,11,22 63:9,10   giving 89:10
 fractured 172:24      funding 15:15           90:12 99:4 109:4       158:25 160:11,13
 fragments 58:3          30:15                 165:4 177:13,19      glass 58:1,3 60:6
 frame 112:11          funky 21:24           generate 52:10         glattys.com 2:19
   157:5               further 38:21 39:2    generated 35:17        glean 41:22
 francisco 2:8,12        39:9 61:15 109:25   generation 30:6        gleaned 44:16
   4:17 42:14            111:17 135:5          30:13                  179:11
 frankly 15:7 80:18      139:16 149:14       generations 28:21      glued 75:1
   95:22                 180:1 183:1         geometry 24:1          go 4:10 10:24
 freeze 65:23          future 71:5 174:14      39:5,10,15,25 40:1     18:13 33:8 43:17
 freezer 19:14 20:4             g              52:10                  47:16 56:17 69:3
   20:8 25:16 85:18                          getter 125:12,20         69:25 80:8 81:1,2
                       g 4:1
   87:16 166:18                                125:20,23 126:2,6      81:3 82:9,10
                       gain 16:18
   168:18,24                                   148:7,11               86:20 97:22
                       galloway 2:17
 freezers 83:2 86:1                          gettering 52:13,20       101:17 102:6
                       gaping 123:2
   86:6                                        52:22 53:16,23         105:12 110:2,11
                       gas 20:18 22:20
 freezing 65:10                                54:2,7,8 99:2,5,8      128:7 132:22
                         62:19,21 66:8,17
 front 35:12 75:10                             99:11 100:18           147:9 148:19
                         66:18 98:4 99:8
   175:20                                      101:3 125:5,10,18      151:1,7 152:4
                         100:19,24 121:1
 frost 62:11,16,24                             126:20                 155:15,15 161:7
                         124:24 125:2,24
   64:9,11 65:10,12                          getting 55:6 71:23       162:24 163:25
                         125:25 128:19,24
   66:2 67:2,9,11,13                           89:24 119:17           165:15 170:2,18
                         129:10 168:18
   68:13 69:12 72:9                            124:2 141:7            174:5 178:4
                       gaseous 168:24
   79:15 83:9 110:19                         gibbs 2:3 5:12         goal 32:25
                       gases 52:17,25
   127:22                                      6:24,25 7:2,22,22    goes 48:14 57:1
                         53:2
 frustration 174:22                            8:4,6,17 9:1,8         124:16 125:17
                       gassing 126:25
   177:1                                       11:23 12:18 13:4       126:20
                       gather 53:13
 full 13:9,20                                girard 6:24 7:21       going 12:15 13:1
                         131:17
 fully 39:10 145:17                            8:3                    22:12 24:21 44:7
                       gathered 142:16
 function 104:13                             give 8:2 12:25 13:2      48:17 51:20 52:1
                       gauge 98:15
   105:9 108:9                                 24:21 47:18 64:17      52:16,18 53:10
                         146:21
   145:21,22                                   99:8 100:18,23         55:15 60:12 62:11
                       gb 3:18
                                               131:3 139:11           62:12,22 65:4,6,8

                                                                                Page 16
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 66 of 92

[going - hour]

   65:10 70:2 76:17       10:9 11:23 12:18    happy 119:1            175:1,2,5
   78:9 80:2 81:5         13:4                hard 48:13 100:22    high 53:6 57:1
   82:19 93:11 94:11    guard 178:22,25         113:13 139:17        125:13,20 133:24
   95:5 97:7 98:1,3,3   guess 15:14 31:13       141:18               136:1,2
   98:17 107:18           54:5 59:1 70:2      hardening 109:2      higher 50:14,21
   109:6 112:21           71:25 87:11 91:24   hazard 177:24          52:17 57:8 67:11
   115:10,13,14,20        97:25 98:19           178:1,25             67:11 106:24
   116:1,23 118:22        118:13 123:15       he'll 75:12            116:24 120:12
   119:11,12,19           164:14 169:9        head 72:4 76:2         126:24 142:13
   120:13 126:6         guesstimate 23:24     hear 50:17           highly 85:19 86:8
   131:4 132:11         guys 95:18            heard 53:18            87:13
   136:13 138:3                  h              109:23 128:10      hill 2:18
   140:18 142:7                               heat 19:25 49:1      hire 176:13
                        half 66:2
   145:6 146:19,23                              52:5 97:25 98:19   hired 7:10 8:22
                        hand 93:12 142:9
   161:25 167:3,7                               99:1,4 166:1         9:7 11:2,3 15:6
                          154:20
   173:12 178:5                               heated 19:17           26:8,12,15 31:16
                        handbook 152:14
   180:22                                     heater 172:24        hit 113:15
                        handbooks 31:17
 good 4:2 6:5,8                                 173:2              hold 155:23
                        handlebars 176:1
   62:13 66:13 77:12                          heating 20:6 98:4      175:18 177:10
                        handling 67:7
   93:2,9 101:13                                98:10,11 105:4     holding 28:11
                          79:17
   114:22 116:8                                 119:10 126:12      holds 125:25
                        hands 152:2
   118:19 141:24                              heavier 64:20        hole 75:3 117:2,4
                        handwritten
   169:25 180:21                              heck 105:5             117:7 123:2 141:9
                          85:11
 gotten 25:14 92:12                           height 33:20,21,23     141:10,11
                        happen 42:9 79:23
   115:7 122:17                                 41:25 124:13       holiday 155:4
                          79:24 82:4 122:15
 government 12:13                             held 4:19 93:12      honda 7:16
                          126:11 128:5,23
 grab 31:23                                   helium 89:9          honestly 21:1
                          138:18
 gradation 48:5,6,9                             150:14,23 151:3      136:16 173:19
                        happened 21:6,10
 gradual 76:12                                help 11:4 15:8,11    hope 54:6,13
                          23:5 26:20 38:17
 graduate 13:22                                 33:2 53:14 174:7     99:18 107:20
                          40:9 46:13 65:19
   14:2 19:16 20:16                           helping 29:16          138:8 165:2
                          65:21 82:6 101:9
   28:9,15,17 30:11                           helps 140:10 148:8   hopes 59:24
                          112:9 115:6 123:7
   30:13,16 31:11                               174:20             hoping 18:9
                          129:2,8 146:14
   53:4 152:2                                 henderson 174:24       175:24
                          180:5
 grease 54:14 97:11                           herbert 2:15 5:22    horizontal 130:9
                        happening 35:10
 great 164:22                                 hesitate 161:25      horse 165:12
                          108:23 122:13
 greater 104:19                                 162:3              hose 177:5
                          124:21
   126:25                                     hey 60:1 136:18      hot 168:18
                        happens 65:18
 greatest 49:1                                  170:22             hour 11:24 12:1
                          68:14 94:22
 group 2:3 5:13                               hickerson 171:12       64:3 184:3
                          125:12 135:19
   6:25 7:2 9:1,8                               173:23 174:16,25

                                                                               Page 17
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 67 of 92

[hours - inner]

 hours 10:24 12:21      ignition 27:4           117:2,2,7 119:4,6   indicator 80:5
   13:2,2 65:19 79:1    imagine 117:5           131:25 158:3,5        157:12 159:15
   112:7,10,19 114:5      132:24 133:16         173:3               indicators 159:14
   114:8 118:4,4,6,7      148:10              inches 24:11,19,20    indirectly 144:14
   118:12 131:24        imbalance 22:18         33:20,23,24 41:2    individual 9:12,15
   137:1 150:19         immediate 73:8,10       41:10 42:1 55:2     individuals 8:4
   163:17,22,23         immediately 61:8        55:18 66:1 85:9       11:15 27:6 61:2
   184:4                  76:9,13,19 114:21     131:24 150:15,24      109:14
 huge 62:12               120:25,25 131:5       155:20 156:5,9      inducing 145:24
 hughes 6:21,22,23      impact 127:4            157:20 161:18       industry 10:16
   8:7,17,24 16:11,12   impair 181:13         incident 45:18          86:24 87:4,4,22
 huh 150:16 151:9       implemented 28:8        46:1,8 136:10         137:3 149:6,7,7
   168:15                 164:17,18             147:20,21,23,24       177:13
 human 85:20 86:7       implied 109:13        include 136:5         inefficiency 55:13
   87:4,25 170:25       implode 133:17          140:5 170:24        infiltration 73:19
   174:7 176:10,13      implosion 21:3,11     including 85:20       influence 19:3
   176:16 177:6,14        21:14,16 22:1,4,7   incorrect 22:2          176:20
   177:17,19 178:12       22:12,19 104:10       33:4 143:14         informal 9:16
   178:15 181:7,9         104:11 122:15       increase 101:3        information 21:4
 humans 165:13            132:23 133:7,12       119:11 128:25         24:7 25:11 36:15
 humidity 62:23           133:16 146:16       increased 125:21        36:23 40:18 41:5
   65:6                 implosions 21:1       independent 37:12       68:23 86:3 88:6
 hundred 14:11,13       imply 45:19             37:19                 96:7 103:7 108:24
   14:14                implying 105:9        indicate 43:18          114:13,15 132:1
 hundreds 29:1          important 3:20          63:1,6 66:6 80:3      142:24 152:13,19
           i              47:21 75:15 147:2     84:10 88:3 135:2      156:16 158:16
                        impossible 58:14        167:20                182:19
 ice 60:14,17,19
                          93:8                indicated 8:9 56:5    informational
   61:1 62:25 63:5
                        impression 131:22       85:4,6 116:9          43:9
   63:18,24 64:7
                        improper 81:16          131:2 183:11        ingredients 170:13
   65:16,20,23 66:1
                        inability 111:16      indicates 63:23       initial 9:22 32:18
   71:11,19 83:18
                        inaccurate 34:23        85:8 110:18           64:9
   127:21 167:7,8
                          156:15                166:13 168:16       initially 17:19
   168:8
                        inadequate 104:2      indicating 114:3        24:16 66:9
 idea 40:7 41:18
                          115:17 145:16         133:19 156:12       injured 175:12
   50:25 116:8
                        inch 24:14,17,20        158:8 161:24        injury 177:4
   146:23
                          34:2 43:20 44:5       162:14              inner 17:25 21:14
 ideal 65:2
                          44:14 45:1,9        indication 89:6         60:25 61:19 88:21
 ideas 16:19
                          50:11,19 56:9         128:9                 88:23 107:10
 identified 64:14
                          66:2 106:13         indications 89:10       110:14 115:2
 identify 7:3 90:19
                          107:11,11 114:24                            117:2 119:7

                                                                               Page 18
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 68 of 92

[inner - job]

   123:25 127:22       insulated 127:5         121:7,25 124:8,11      21:2 26:25 28:22
 inside 21:21 22:8       150:3                 124:18 128:3,19        28:25 74:13 87:17
   22:18,23,24 59:22   insulating 132:9        128:22 129:1           96:7 164:19
   59:22 60:2 73:17    insulation 24:2         131:14 132:6           169:19
   99:17 102:17          39:16 41:14 49:2      149:18 167:15        involves 83:9
   106:23 111:7          66:23 126:8           179:3                involving 11:7
   115:15 121:16,18      131:15 166:3        internal 21:18           171:7,17
   154:1,1             insulator 55:14         23:10 63:12 121:5    ironic 174:16
 insight 18:10         intake 88:12,25         127:9,10,13          irrelevant 76:6
 inspection 42:8         90:20 91:6,14         136:21 138:4         irreplaceable
   88:4 89:4             92:22 97:18 100:7     144:5                  138:20
 install 165:5           141:1               interpret 179:12       isabelle 2:15 5:22
 installation 95:21    integral 129:20       interpretation         isc 1:3
 installed 97:12       integrity 54:21         15:5 17:23           issue 7:9 18:13,14
 instance 159:12         95:11 102:11        interrupt 69:17          18:17,18,22 21:20
 instances 160:9         126:7 132:9         interstitial 23:16       29:17 38:10 41:14
   161:1                 135:17,24 136:22      23:22 54:10 65:15      44:14 46:7 47:23
 instant 63:20           146:9                 66:8,18 67:1           67:23 69:21 70:4
 instantaneous         intend 137:13           68:16 71:9,14          88:18 99:19 122:8
   120:15 129:4        intended 44:16          91:9 99:9,23           135:6 174:1
   149:12                108:8 138:2           101:4 106:2,23         178:19
 instruct 95:10          141:12 149:21         107:3 110:24         issued 36:20 72:25
   135:22              intends 167:19          111:2 117:4 121:8      130:17,25
 instruction 79:8      intent 138:6,9          121:15,24 123:17     issues 7:21 18:7
   129:24 145:16       intention 44:8          129:11                 25:13 83:10
   180:6                 87:12,24 88:2       interviews 37:9          143:11 145:14,23
 instructions 76:13      179:11 181:20       introduce 95:5,16        162:8
   79:7,12 80:17       interest 30:16,18       98:24 119:4 167:6    item 35:11 58:20
   135:6 136:18        interested 5:1          169:3                  82:5
   148:22 149:14,20      108:19 186:18       introduced 111:8                 j
   149:22 178:23       interesting 158:12      111:12
                                                                    jacket 120:1 121:6
   179:23              interfere 4:8         introduction 74:2
                                                                    jammed 127:11,15
 instrumentation         140:15                123:23 131:6
                                                                    jamming 100:4
   28:19 146:25        interference 4:6        179:4
                                                                    january 161:17,23
 instrumented          interfering 61:5      intrusion 54:9
                                                                      186:25
   35:13,14 144:5,10   interim 157:12        investigation
                                                                    jean 129:5,12
   145:2 146:13        interior 22:13,14       89:25 182:19
                                                                    jeopardize 137:2
 instruments 79:22       88:7 91:5 102:5     invited 153:12
                                                                    jet 171:7,25 172:3
 insufficient 39:17      105:11,21 108:10    involve 19:24
                                                                      175:8,8,17,20
   119:20                112:14 115:9        involved 7:8,11,11
                                                                    job 28:17
                         117:7,9,15,25         7:13,17,20,22 8:21

                                                                               Page 19
                                Veritext Legal Solutions
                                     866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 69 of 92

[joe - level]

 joe 56:6              23:24,25 24:5,6        156:18,23 162:10       12:18 13:4
 join 141:12           25:10 26:24 27:11      163:4,6 164:12,15    lawsuit 8:21 26:24
 joint 95:3            35:2,10,15 41:7,20     164:16,19,20,22      lawyers 153:6
 joints 29:8           41:23 42:2 43:9        164:24 165:19,20     layer 49:6 65:16
 jsc 4:18              43:25 45:14 48:10      167:20 169:6           65:20,23 68:18
 judge 172:22          48:13 49:14 51:5       172:10 173:20,21     lead 34:9 73:18
   173:4,22 176:4      51:8 52:12,23          179:10 182:1,14        75:2 137:24
 jury 173:3            53:5 56:12,21          183:11,16            leading 163:10
 justify 177:12        57:1 59:14 60:3      knowing 41:13            183:13
   178:1               62:5 63:25 64:4        50:25 107:8          leak 64:14 71:21
           k           64:16,23 65:5,8,9    knowledge 22:1           71:22 88:15 89:4
                       65:24,25 66:3,22       63:22 84:20,24         89:7,9,12 111:12
 k 6:12,12
                       68:10 69:5,10          133:1,2,3,6 171:6      149:11 166:1
 kasbekar 1:6 3:3
                       71:12,13,20 72:1,4     178:14 181:12        learned 145:19
   4:13 5:25 6:5,10
                       73:16 74:24 75:25    known 85:17,25         leave 12:12 45:6
   32:6 44:5 58:15
                       76:3,5 77:22 79:5    knows 86:11              131:23
   72:23 75:16 90:10
                       79:17 81:12 82:5       131:13 138:14        leaving 136:24
   143:11 154:4
                       83:1,4,8,20 84:18      162:12               led 93:18
   180:21 183:6,22
                       87:9 88:1 91:18                l            left 12:14 41:11
   185:1,12
                       91:18 93:7 94:6                               67:22 115:9
 kawasaki 171:7,8                           l 1:22 3:7 186:3,22
                       95:4 99:1,3 103:2                             154:20
   171:10,17                                lab 28:20 147:13
                       105:18 106:12,15                            legs 175:21 177:5
 keep 44:9 53:1                               148:3 181:4
                       107:10 108:18                               letting 79:10 94:8
   108:23 110:11                            label 20:19
                       109:9,20,21                                 level 29:6 33:19
 keeping 106:8                              laboratory 42:14
                       110:10,21 111:6                               43:13,14,19,23
 kind 12:24 15:17                             42:22 43:3 68:1
                       112:1,8,10 113:4                              44:6,10,10,20,21
   22:3 24:16 29:13                           101:1,2
                       113:12,13,25                                  44:22,25 45:4,9,19
   29:23 40:1 47:15                         labview 28:22,23
                       114:7,10 116:19                               45:20 46:2,3,3,9
   67:6 79:19 107:23                        lack 22:17 102:13
                       118:6,7,20,24                                 46:10 49:18 54:17
   110:11 119:8                               108:6 148:21
                       119:13 124:2                                  55:3,5,11,11,18,25
   130:8 133:22                             lacking 26:6
                       125:12 128:5                                  56:2,15 61:3
   140:8 141:17                             language 69:22
                       129:4,24 130:6                                64:17,17,23 80:3
   142:17 153:18                              71:1 134:16
                       131:14 133:5,6                                81:10,21 82:1,8,10
   163:23 169:23                              170:16 174:18
                       134:3 136:19                                  85:4 98:5,18
   177:10                                     176:15 177:22
                       137:18 138:23                                 102:17 104:18,24
 knew 85:17,25                              large 79:4 91:15
                       139:11,16,17                                  106:24 107:15
   132:1                                      92:22 93:14,16
                       140:16 142:18                                 108:1 115:3 121:2
 know 7:2,10,15                               123:7
                       143:12,16,19,21                               124:11,22,25
   8:8,18 9:6,8,9                           largest 166:1
                       143:23,25,25                                  130:6 131:20,23
   11:9 12:23 13:6                          late 73:1
                       148:2 151:18                                  131:25 135:9
   14:7 17:7 18:8                           law 2:3 5:12 6:25
                       152:16 153:24                                 143:14 147:9
   20:14 22:2,11                              7:2,22 9:1,8 11:23

                                                                               Page 20
                               Veritext Legal Solutions
                                    866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 70 of 92

[level - loss]

    154:24 155:4,20      lip 175:9,13            lists 36:8 151:7       logic 46:11
    156:4,9,10,20        liquid 23:8,15,17          152:5               logs 85:4
    157:18,19,23,24         23:19,20,21 26:18    literally 64:16        long 10:10 12:12
    158:4,5,25 161:17       26:24 40:20 43:13    literature 37:2          71:10 72:8 91:8
    161:21,22 162:1,1       43:19 44:5,19,21        86:21 111:24          114:4,18,19
    162:2,4,4,9 166:14      45:8 46:2,2 47:23       112:2                 118:15 131:7
    169:13 183:11           48:15,18,22 50:11    liters 24:4,14,17        144:11
 levels 84:21,25            50:19 53:24 54:17       24:20,21 33:24      longer 147:5
    124:9 126:22            55:3,9,22 56:1          34:2 41:3 65:15     look 22:19 34:22
    132:10 135:25           61:22 64:20,25          80:22 107:2           36:25 40:23 41:8
    162:20                  65:9,15 66:7,15,16      150:23                44:14 64:8 66:4
 lewis 2:7                  66:25 67:7,9 71:8    litigation 1:4 4:15      69:3 72:5 90:15
 li 2:15 5:22               71:9,24 72:6            7:15,16 14:9          101:25,25 132:22
 lid 33:12,13 48:17         73:19 77:5 80:14        32:23                 135:15 142:19
    49:2 55:15 60:14        80:15 81:10,21       little 13:12 15:15       154:17 155:18
    60:17,24 61:5,8,9       82:1 83:13 88:11        18:10 37:4 40:3       157:7 159:2,3
    61:11 63:11 79:15       88:25 90:20 91:6        61:15 67:19 72:12     160:1 165:6,23
    116:3 118:8 119:5       91:10 92:22 97:18       88:14 93:3 104:11     166:7,17 168:10
    127:11,14,22,25         99:22 100:6 107:3       107:9 112:23        looked 7:24 10:22
    128:17 129:5            115:2 116:6 117:3       117:20 122:24         21:6 23:5 34:24
    140:15 166:2,6          117:20 119:23,24        125:4 133:11          36:19,19 60:17
 lids 61:2                  119:25 120:5,6,23       151:25 157:21         69:7,10 84:9,10
 life 78:15,19 82:21        120:25 122:23           169:24 174:11,16      92:12 108:15
    82:24 95:11             123:10,12,16,24         182:14                112:4 148:2
 lift 61:12 129:12          124:1,5,9,10,10,12   live 169:21              156:21 157:1
 light 96:10                124:16,17,25         liyun 2:15 5:22          163:11,14 182:22
 lighting 93:3              125:2 135:9,25       llc 2:10 5:11 42:24    looking 7:19 11:18
 likelihood 175:14          141:1 155:4,20          43:3                  20:25 21:4,8 25:6
 limit 56:25 71:17          156:4,9 157:18       llp 2:3,7,11 3:5         29:8 38:16 57:13
 limited 28:7 71:20         158:4,18 161:17         4:20                  58:23 63:3 90:23
    130:11 141:6            161:21 162:4         ln2 33:24,24             93:11,12 97:3
 line 18:1 33:10,18         166:14 168:6,25         154:24,24             108:22,24 118:6
    34:7,15 35:12           169:3 182:2,8,9,11   loads 139:20             142:3
    39:21,25 40:6        liquide 26:19              142:11,13,15        looks 35:8 141:7
    67:13 68:12 91:5     list 30:22 134:2,4      located 4:20 44:15     loose 79:15
    95:8 111:12,13          136:1,3 153:2           50:5 90:21          lose 55:15 75:3
    154:18 156:2            165:12               location 174:14          76:16 138:19
    159:3                listed 135:8            locations 50:1         losing 87:20
 lines 33:16 39:21          165:10               log 3:24 85:8          loss 21:20 34:8
    60:16 73:9 119:22    listing 151:12             154:5,10 183:7,11     40:19,19 61:19
    138:11 170:12                                                         73:6,8,10,15,18,22

                                                                                    Page 21
                                   Veritext Legal Solutions
                                        866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 71 of 92

[loss - mechanical]

   73:24 74:1 75:2      maintain 47:23        manufacturer         mean 10:20,23
   76:11,12,21,22        53:6 54:21 66:16      78:18 79:19 171:9    11:12 15:9 27:5
   77:9,13,19,23 78:2    108:4 115:3 127:5     174:13               27:11 29:6 36:15
   78:7,7 82:12          136:23 147:10        manufacturing         39:9 46:10 51:2
   87:17 93:18,23        181:23 182:10         7:14 146:10          59:19 62:5,18
   94:2 116:12,16       maintained 78:16      march 43:13           65:19 80:16 86:9
   117:6 126:6,7         99:23                 50:12,20 67:17       87:15 94:16 95:1
   131:4,10,15 132:9    maintaining 119:8      68:21 78:11          95:4,15 98:14
   132:21,25 133:25     maintenance 83:2       112:14 117:21        99:15 101:6,13
   134:25 135:21         83:22 84:19           163:10               103:16 116:20
   136:22 138:17         166:10               mark 58:6,7 75:11     118:17,23 122:3
   140:11 148:9,12      major 27:8 28:24       154:1                123:3,11,19 124:8
   148:23 149:15         33:6                 marked 32:3,7         126:1,10 129:3
   179:3,14,21          majority 10:15         58:8,10 75:13,14     133:14 140:23
 lost 94:14 96:21        14:8,16,18,23         90:7,8,9 91:1        141:4 142:12
   97:16 131:5           114:11 152:2          102:22,23 103:8      146:1,25 149:17
 lot 15:5 31:7 32:24     168:16 173:24         154:3,5 164:4,5      151:19 152:22
   59:24 60:11 76:21    majors 170:25         market 2:7,12         156:19 158:20
   151:22               making 15:16           165:10,10            159:16,18,22,24
 low 89:23 156:20        61:11 66:3 91:23     markets 87:3          162:21 163:15
   158:24 179:13,16      179:5                 165:9                167:15 169:9
   182:11               malfunction 130:3     marking 90:19         170:20 171:23
 lower 22:13 24:4        130:4,12,13 134:9    marrow 86:8           182:6,13
   52:16 53:12,14        134:10,14 144:24      87:15,17,19         meaningfully
   66:12 67:7 98:17      158:10 162:15,17      138:20               116:24
   115:1 120:12          163:2                material 52:24       means 97:15
 lowest 64:21           malfunctioning         99:3 125:6 141:24    111:16 120:17
 lucchese 2:17           134:24 135:3         materials 26:1        125:22 130:16,23
 lug 11:19               162:22 178:8,10       29:22 30:2,6,7       140:24 156:24
 lunch 143:7            malfunctions           31:15 36:9 39:7      157:20 167:22
          m              130:20 162:8          39:11 46:22 47:5     168:22,23 171:21
                        manifold 8:14,23       47:25 86:6 134:2    measure 54:9
 m 2:2
                        manifolds 7:12         152:13 182:17        104:9 146:18
 machining 53:8
                        manner 31:19          matter 4:14 37:7      149:19
 machinist 16:15
                         39:20 54:20 104:5     78:14               measured 125:23
   16:25
                         135:18 136:16        matters 26:15        measurement
 magnification
                         146:3                 186:9                43:22,24 50:10
   93:3
                        manual 40:1 73:11     maximum 3:23          160:2
 main 18:14 21:7
                        manually 131:20        51:6 154:10         measuring 126:2
   27:24 28:17 36:24
                        manufactured          mayor 34:16          mechanical 11:1
   163:15 175:6
                         75:5,21 76:1,4                             19:7 26:1 29:14

                                                                              Page 22
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 72 of 92

[mechanical - mve]

 31:8 173:25         metallurgist 29:21     91:16 129:10         molecular 53:17
mechanically          29:25 30:2           minutes 16:5          molecule 53:21
 140:16              metallurgy 30:10       65:21 72:12 114:7    molecules 53:20
mechanism 142:8       30:20 31:8 152:17     114:11 118:4,7        54:9
mechanisms           metals 29:24 30:3      137:1 180:10         moment 47:3
 182:10               30:5,9,11,16,18       184:4                monitor 131:20
media 4:12 183:24     31:4,8,12,17 52:5    miscommunicati...      147:9
medical 20:11         52:7 151:15,20        109:22               monitoring 27:12
 149:6                152:14               mislead 120:16         136:5 140:5
medium 77:5          micro 98:8            missed 73:14 84:6      147:16
meet 8:16            microphones 4:4,8      84:17 113:22         monitors 80:1,2
meeting 8:20         microscope 91:25      missing 70:21          169:13
meetings 39:3         93:12                misstates 15:3        months 166:19
meets 170:14         middle 6:11 99:15      100:20               morgan 2:7
melt 67:14            150:9                mister 43:24          morganlewis.com
melted 65:20         midline 22:5          misunderstood          2:9
melts 65:12          migrated 64:21         81:7                 morning 4:2 6:5
member 152:6,8       migration 97:23       misuse 78:20,23        69:9 112:24 113:1
 152:17               98:6                  79:2,6,13,16 80:12    113:24 180:21
members 69:1         military 27:25         80:18 81:9,12,13     morrison 2:11 3:4
memory 47:15          28:9                  82:25 137:19          4:20
 84:1 157:2          mind 17:22 18:24       182:23               motorcycle 7:21
menlo 37:16 39:13     26:19 30:1 37:23     misused 182:21        mount 7:19
mention 47:4          38:6 79:16 96:1      mitigate 102:10       mouth 136:8
 104:9                99:20 105:4           104:10 138:22,23     move 128:17
mentioned 8:12        127:14 144:19         140:11 149:21        moved 13:18
 47:3 57:16 111:17   mine 58:14 60:11       179:17                123:3 172:6
 130:15 134:7         153:12               mitigating 133:13     moves 173:2
mercedes 172:18      minimal 11:12          133:21,22            moving 126:23
merit 15:17           16:20 54:4           mix 31:12             mso 2:10 5:11
 174:19              minimize 130:16       mode 25:17 74:25       42:23 43:2 58:11
mess 32:16            130:21,24 142:21      173:2                 113:18
messed 92:18         minimum 55:5,11       model 90:14           mso021238 34:1
met 8:24 9:9 16:5     145:18               modes 104:8           multiple 57:18
metadata 113:6       minnesota 75:5,22      132:15 147:7         multivolume
metal 10:20 30:20     76:4                  177:25                31:18
 31:16 52:5,6 60:6   minus 48:19 51:7      mofo.com 2:13         mve 3:18,25 54:17
 60:6 67:10 109:4     82:15,19 159:12      moisture 68:17         73:12 74:16 78:23
 151:23 152:3,11      160:10,10             166:18,24 167:4,5     80:12,21 83:2
metallurgical 96:9   minute 17:14,14        167:10,10,11,14       85:18,18 86:1,13
 96:15 111:10         71:10 77:2,3          167:21 168:3,5        86:22 87:3 96:21

                                                                            Page 23
                              Veritext Legal Solutions
                                   866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 73 of 92

[mve - objection]

   99:2 102:15 108:4   network 29:11,16        120:6,8 122:4,5,10   noticed 33:7 58:3
   125:5 164:6         networking 29:17        122:16,23 123:10       69:1,11 163:15,24
          n            never 8:9 126:10        123:12,17,24         noticing 5:7
                         138:3 176:24          124:1,16,18,23       notify 130:18
 n 3:11 4:1 6:11,11
                       new 75:5,22 76:4        128:23 130:6           134:7
 naked 93:2
                       night 16:6 101:7        131:6 132:10,11      november 159:7
 name 4:21 6:9,11
                       ninth 33:18             133:9 135:9,25       nuisance 168:17
   6:11,12 16:25
                       nitrogen 20:5,17        141:1 144:14         number 4:17 7:25
   20:15 47:9 129:6
                         22:20 23:7,16         145:25 147:9           12:13 24:17 30:22
   180:21
                         24:23 25:14,21        155:4,20 156:4,9       32:17 33:15 34:6
 native 154:7
                         40:18,20,25 41:11     157:18 158:4,18        41:15 42:12 44:12
 nature 35:21
                         41:18 43:13,19        158:24 161:17,21       47:4,17 61:14
   38:20 40:2 129:22
                         44:5,21 46:2          161:25 162:4,9,19      68:4 80:21 84:7
   130:2,4 134:20
                         47:23 48:15,19,22     166:15 167:6           85:17 97:4 105:15
   147:3 153:9 177:3
                         49:18 50:12,19        168:6,6,24,25          105:22 106:4
 near 50:15,20,22
                         53:25 54:17 55:4      169:3,4 179:4          114:5 134:2
   65:16 71:5 91:1
                         55:9,13,15,22 56:1    182:8,9,12             150:19,22 155:8
 nearby 57:25
                         61:19,23 64:19,20    nonfunctioning          155:11,18 159:4
 necessarily 11:10
                         64:24 65:1,9,11,15    136:21                 161:7 183:24
   63:20 65:22 66:1
                         66:7,11,25 67:7,9    nonhuman 87:6,8       numbers 75:19
   69:10 81:13 87:25
                         67:12 68:15 71:8     nontestifying 12:6      107:8 154:17,18
   94:4 107:19
                         71:14,23,24 72:6     normal 45:16 46:1       155:12
   116:19 120:21
                         73:19 74:2 76:22      49:12 62:2,2,5       numerous 96:18
   122:1 142:9
                         77:5,18 79:5,10      normally 11:14        nut 11:19
   148:18 149:12
                         80:14,15,22 81:1,2    15:11 20:16 21:15             o
   151:19 163:7
                         81:4,10,17,21 82:1    21:17
   169:25                                                           o 3:21 4:1 54:14
                         82:11,15,18 83:13    north 16:15 17:1
 necessary 170:12                                                     97:7,11,17 98:20
                         84:21,25 88:12,25     72:13
 neck 74:14,17                                                        98:21,22,23
                         90:20 91:6,10        northern 4:16
 need 35:24 38:11                                                     103:23 106:5,9
                         92:22 94:9,21        notary 3:8 185:20
   55:11 79:8 126:17                                                  107:25 108:21
                         95:5,16 97:18         186:4,24
   135:16,22 136:20                                                   109:2,6 133:14
                         98:22 99:22 100:7    notation 156:23
   145:17 149:9                                                     oakland 2:4
                         104:18 105:1,6       notations 156:19
   153:25 154:15                                                    oath 4:25 185:4
                         107:3 110:23         note 4:4 78:10
   167:4 176:3                                                      oaths 186:6
                         111:1,8,11 112:3      150:13
   177:17,18                                                        object 158:22
                         114:22,24,25         notes 85:12 186:14
 needs 79:19                                                          167:2
                         115:3,8,9,12,25      notice 3:1,20
   135:23 174:3                                                     objection 15:3
                         116:3,6,20,24         72:25 74:8,13,21
 negative 44:13                                                       45:12 49:4 75:7
                         117:3,21 118:22       75:4,15,17 79:24
   127:4 128:3 129:9                                                  81:24 96:3 100:20
                         119:2,4,5,6,12,14     163:13
 neighborhood                                                         125:15 137:6
                         119:16,18,23,24
   24:3 47:14                                                         151:16

                                                                                Page 24
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 74 of 92

[objections - outside]

 objections 5:5          okay 6:19 7:24         ongoing 18:9            145:1,3,10,11,16
 observations              9:11,24 10:14,25       26:25 36:4            146:2,6,12 149:2,4
   15:18                   11:11 12:17 13:8     online 36:22 57:14      149:17 171:16
 observed 40:5             15:19,25 16:14         86:4 151:21           173:9 174:2 175:3
   61:6 127:24             17:13,21 28:14       open 62:21 63:10        175:13,21 176:2
 observing 64:3            31:22 32:20 34:21      105:2 119:5           179:6,21 180:2
 obtained 17:17            44:19 45:23 46:15      159:13,15           opinions 19:2,3
   18:23                   58:6,22 60:3 66:6    opened 23:25            35:16,20,23 43:11
 obtaining 38:15           71:2 73:21 78:22     opening 104:3           78:8 170:17 171:3
   40:7                    82:20 85:24 88:19      105:6                 171:20 172:13
 obviously 46:13           89:21 92:6,18        operate 179:23          173:8,10,17,17,18
   147:1 178:24            102:7 103:23           180:6                 173:25,25 174:15
 occupied 14:4             105:14 108:17        operated 42:22          174:19 175:6
   39:18 41:7              110:2 111:3,15         43:3                  181:20
 occur 82:13 97:7          114:4,16 115:22      operating 49:12       opposed 34:16
   97:14 98:13             117:1 118:9 121:4      99:14 110:19          55:22 77:23 87:4
   100:25 114:6            121:14 124:15,15       131:7 134:11,22       110:5,24 131:7
   136:23 138:15           127:7 130:15           162:18 163:23         142:18 167:11
   144:7 166:15            133:16 136:7         operation 40:1          168:24 175:24
 occurred 61:20            140:6,18 141:20        48:12 84:21         optimal 169:2
   67:21 68:1,8,20         142:1 145:1 146:5    operator 175:25       order 8:19 13:1
   78:25 110:10,23         149:8 152:4,15       operator's 175:21       47:24 135:23
   118:6,12 120:18         154:16 155:14        opine 123:23          organic 31:10
   120:22 128:2            156:3,7,13,18,23     opinion 15:18         original 34:1
   148:17 157:4            159:2,5,21 160:1,6     21:12 24:24 34:6    ought 142:6 147:9
   158:19                  160:7 161:12,14        44:4 45:6,22          179:22
 occurs 22:23 49:1         164:3,14,20 165:7      46:21,22 47:20      outcome 5:1
 october 150:11            165:18,18,23,24        54:16,19 55:3,25      186:18
 offer 137:14              166:8 167:24           67:15 69:5 78:22    outcomes 45:24
 offering 129:16,18        168:1,12 169:15        80:11 81:19 85:16   outer 54:1 62:22
   175:2 179:6 180:2       172:1 173:14           85:25 89:11 93:21     66:13 141:17
   181:20                  174:23 176:25          93:25 94:12 97:13   outgas 52:19
 office 12:12,14           178:14 179:25          100:13 101:18         53:11,13
   29:16                   180:9,24 182:18        102:13,18 103:25    outgassing 52:19
 officially 33:1           182:25                 106:8,22,25 108:5     99:5
 offload 26:23           old 78:11                108:7 110:3         outlined 40:15
 oftentimes 15:8         once 20:22 32:22         111:11,20 115:18      68:11
 oh 34:19 147:2            115:7 119:1,16         120:5 126:5         outside 17:24 18:4
   160:18                  120:8 122:3 128:1      129:15,18 136:9       21:22 22:9,22
 oil 53:8,9              ones 7:10 143:19         137:14,22 139:1       31:23 44:7 45:12
                           165:4                  140:1 141:21          47:19 55:7 62:2

                                                                                  Page 25
                                   Veritext Legal Solutions
                                        866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 75 of 92

[outside - physical]

   62:13,25 63:6,17    pan 71:22             passenger 175:25       178:11,13
   67:6 71:11 82:7     panel 16:19,21        path 54:12 118:22    personal 37:5
   82:14 121:17,19      176:19               paths 98:7             84:24
   139:18 141:8        pans 128:6            pay 17:11            pertain 26:2 36:6
   157:22 167:11       papers 27:18          pc 29:15               75:21
 overnight 114:13       30:19                pcs 28:22            pertaining 27:2
 owner 10:2            paragraph 43:17       pdf 35:6               87:5 103:7
 owners 131:1           75:20 78:10 85:15    pending 144:22       pfc 42:13,22 55:17
 oxygen 26:18,24        85:16 86:5 88:3      penetrant 92:1         57:21 69:14 84:18
           p            90:4 102:6 119:22    penetration            86:14 101:7
                        127:8 129:14,16        141:24               130:13 131:18
 p 2:6 4:1
                        130:3,15 134:6       people 109:16          136:15 163:5
 p.c. 2:17
                        144:2 148:20           149:5 153:18         182:21
 p.m. 67:17 68:5,21
                        150:6                  164:19 170:2       pfc's 36:25 89:3
   112:15 117:21
                       park 37:16              177:13,14            131:17
   184:3
                       part 13:18 24:4       perceive 177:21      ph.d. 1:6 3:3 4:13
 pacific 1:3 2:10,14
                        28:8,9 30:7 32:17    percent 14:5,9         5:25 14:2 28:1
   4:15 5:11,20
                        51:4 63:12 67:8        45:3                 31:14 183:22
   42:23 43:2
                        83:5 85:13 92:5      percentage 39:17       185:1,12
 packaged 79:18
                        93:22 94:1 104:14    perfect 98:3         pharmaceutical
 packaging 79:22
                        126:4 138:15           183:23               86:9
 page 3:12,17 33:10
                        140:7 141:15         perfectly 142:13     philip 2:15 5:21
   33:15,16,18,25
                        146:25 148:21          175:10             phone 2:4,8,13,18
   34:6 42:19,20,21
                        158:12 161:1         perform 10:9           9:16 17:14 173:21
   43:12 46:15 58:21
                        172:14 173:5           37:12              phones 4:7
   60:12,13 67:25,25
                       partially 109:21      performed 84:18      photo 58:16 59:5
   69:25 70:1,1,7,9
                       participate 151:21    perimeter 49:7,8       112:17,22 113:14
   70:11,21 72:24
                       particular 57:3,5     period 10:10,21      photograph 3:19
   78:9,10 90:16
                        58:23 92:25            12:13 14:7 43:15     59:2 106:2
   105:13 112:13
                        101:25 133:12          63:19 64:3,5       photographed
   119:21 129:15
                        181:13                 97:12 108:25         42:13
   134:2 150:9 151:7
                       particularly 27:17      110:18 132:8       photographs 61:7
   152:5 153:2 155:8
                       parties 4:10            135:1 140:12         112:13,19 114:17
   159:3 160:16
                        186:10,17              157:12               117:17 121:2
   161:8 165:6,15,23
                       partly 30:5           periodic 83:3,4        151:1
   166:7,9 168:10,12
                       parts 51:20 52:1,3    periodically 84:9    photos 58:3
 pages 36:8 70:15
                        105:12 152:3         permeate 66:18         112:24,25 113:10
   154:1 155:9 160:1
                        153:16 176:4           67:1                 118:11 141:7
   161:9 185:6
                       party 2:14 4:25       person 18:12         phrase 22:11
 paid 9:6 20:15
                        5:20                   34:16 175:23,24    physical 80:4
 painfully 138:20
                                               176:13 177:17        122:9 148:13

                                                                             Page 26
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 76 of 92

[physicians - preliminary]

 physicians 182:21      plate 72:7,10         polymers 31:3,9         100:3 101:2 102:2
 physics 175:16         played 10:12           31:11 151:14           123:4 127:14
 picchi 2:17              100:6               popwell 129:6           128:5 129:1
 pick 4:5               plaza 4:21            port 3:22 39:21,22      182:14
 picked 147:6           pleasant 2:18          54:13 77:18 83:19    possibly 23:19
 picking 169:24         please 4:4,6 5:5,15    88:12,25 90:20         37:20
 picture 92:10            5:24 116:15          91:6,8,14 92:22      post 31:5
   143:21               plug 97:17 103:2       97:17,19,25 100:7    postgrad 152:3
 pictures 25:11           103:13 105:13,17     101:10,19 102:1      postgraduate
   41:22 93:10,11         105:20,22,24         102:25 103:10,12       30:23 31:2,11
   113:23                 106:8,14 107:5,5     104:9,22,22 105:2      151:8,13
 piece 176:10             107:22 108:1,4       105:17 108:16        potential 6:20 7:3
 pieces 28:24             145:20               109:10,17 111:7        40:13 53:11 71:21
 piping 146:21          plumbed 98:15          122:25 133:14,19       88:15 89:3 130:19
 place 4:7,10 9:23      plumbing 101:22        141:1 145:20           134:8,10,11
   40:10 80:21 95:14    plus 24:22 120:13      146:8                  138:19 146:7,16
   110:1 112:7            146:1,17            portion 105:16          148:23 149:14
   114:12,12 145:18     point 21:7 23:9,19     138:16 155:3         potentially 140:16
   147:16,20,23           23:24 24:17,25,25    169:25                 145:14 149:17
   150:10 186:11          28:11 36:22 37:1    portions 171:13         162:22
 placed 59:22,22          40:16 41:24 42:6     171:15               pots 128:6
   95:7 137:23            53:12 54:8 56:15    ports 145:6           pounds 106:13
   142:11 154:9           59:25 60:24 64:8    position 131:9          107:12
   158:23 175:20,22       64:21,22 65:11       135:19 137:20        pour 98:22
 places 20:18 167:7       66:15 67:17,22       138:2 179:20         poured 72:6
 placing 40:8 50:1        68:20 71:13,25      positive 8:23         practical 147:5,12
 plaintiff 14:25          76:8 77:22 85:14     58:19 64:14 89:6     practically 138:10
   15:1 175:12            91:19 92:10,12       92:11 121:9,14       practice 101:13
 plaintiff's 47:7         93:6 100:1,9        possession 109:14       172:25
 plaintiffs 2:2 5:13      101:4,15 107:18     possibilities         practices 181:4,6
   9:4,5 14:17,19,22      109:12,20 113:13     127:17               prague 75:5,22
   15:14 171:20           115:4,15 119:9,18   possibility 18:25       76:4
   177:3                  120:19 121:23        54:5 77:25 78:17     praxair 164:23
 plans 37:18              122:17 124:9         89:22 99:10,25       precise 170:16
 plastic 10:21            125:2 133:8          128:1 138:14,15      precisely 112:8
   19:23 20:1 103:21      139:12 142:3         179:19               precluded 172:17
 plastics 29:24 30:4      147:2 156:14,21     possible 35:23        preclusion 172:20
   30:7,14,15,17 31:3     159:6                37:21,22 51:11       predicate 91:22
   31:12 151:14,20      pointed 115:20         90:1 94:12,16        preliminary 35:21
   152:1,9                149:6 166:5          95:19,25 96:5,6,14     36:7 144:22
                                               98:19 99:12,20

                                                                               Page 27
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 77 of 92

[prelude - provided]

 prelude 2:10 5:11     pretty 14:20 21:20    probably 8:19         professors 19:19
   42:23 43:2            62:4 77:12 86:4       14:4,7,9,18,21      program 28:17
 prematurely 81:6        92:19 104:3 105:5     27:1 29:20 31:6       29:23
 preparation 17:18       118:19 119:13         41:8 49:17 60:2     progress 94:18
   32:13 36:10,18        128:16 139:14         60:11 65:5 66:21    progressive 96:17
   37:3                  169:20                67:19 69:4 70:4       115:23,24
 prepare 15:25         prevent 108:9           78:6 79:1 82:11     projects 17:9
 prepared 178:10         122:11 130:16,20      85:22 88:17 98:24     28:10
 present 2:20 5:2        130:24 133:18         154:15 162:23       proper 170:10
   39:4,13 42:2,7        148:8 178:5,9         169:12 173:20         174:4
   103:9 104:21        prevented 179:21      probe 147:8           properly 54:4,15
   116:23 135:23       preventive 54:9       probes 50:10            76:20 79:18
 presentation            84:19                 136:2                 104:13 107:20
   170:15              previous 186:7        problem 15:7            129:25 131:8
 preserve 53:14        previously 8:1          83:12 99:14 135:7     158:11 162:6,11
 pressure 21:21,21     primarily 8:6 11:3    problematic             162:19 180:8
   22:8,13,17 23:9       31:16 47:7 57:21      129:22              properties 127:5
   63:11 66:12 97:22     85:19 86:1,7,24     problems 134:19         132:10
   99:21 101:4,11,12     149:4 175:20          134:20 135:11       proponents 89:3
   101:19 102:9,14       178:19              procedure 3:2         propose 41:8
   102:17,20 103:23    primary 87:3            95:23                 178:16
   104:22 106:13,23    principal 10:2        procedures 143:13     proposed 31:17
   107:4,15 108:4,8    principle 50:24         143:17,24             174:15
   108:20,24 109:6     printed 16:2 35:6     proceeding 5:5        protect 77:7 102:5
   110:12 111:13       printing 70:3         process 13:17 53:8      102:10 129:20
   115:15 120:12,13    printout 154:5          70:3 168:3            135:20
   120:20 121:5,9,14   prior 13:19 15:12     produced 33:1         protecting 45:20
   121:16 122:12,12      15:13 20:7 36:20      34:8 39:7,11        protective 27:23
   122:14,18,20          64:1 67:22 68:1,5     40:21 74:4 107:15     27:25
   123:9,11,13,24,25     68:8,9 95:24          113:18              protocol 37:14
   124:7,17 125:1,21     108:1 116:10        product 38:1            40:16
   126:22,23,24          118:1 136:10          78:15,16 79:19      proven 142:6
   128:3,25 129:9        149:9 154:11          80:20 81:13 82:21   provide 6:17
   133:13 140:14         162:15,17 163:2,6     86:21 95:22 170:7     86:18 125:23
   145:18 150:15         171:24                170:8,22              135:5 154:22
   169:12              priority 136:1,2      products 74:7           182:2,3
 pressures 89:23       private 4:5             75:21 78:21 150:2   provided 8:14,15
   121:24              probability 100:2       174:15                35:1,9 36:14,16,21
 pressurize 150:13       133:24              professional 152:5      41:15 47:16 86:3
 pressurized 120:2     probable 100:8        professor 169:16        96:8 130:13
   123:16,23                                                         136:18 153:5

                                                                               Page 28
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 78 of 92

[provides - really]

 provides 84:8 86:6     117:1 119:14         quick 31:23           rate 12:3,6 41:19
   143:12 164:21        136:8 147:20           101:18                71:14,23 104:19
   165:1,2              148:5 150:14,23      quicker 72:12           116:24 122:11
 providing 69:24        151:3 170:22         quickly 62:24         rates 12:17,18
   113:19               171:1 174:13,18        66:14 72:11 79:5      40:18
 provision 149:13       178:4,7                95:19 105:1,5       ratio 122:24
 proximity 89:8        puts 131:9              112:8 116:6         raying 38:18
 psi 106:19,24         putting 95:24           122:21 128:23       rays 111:5
   107:6,10,20 109:1    142:7 174:17           136:24              reach 126:18
   109:1                178:25               quite 15:7 30:9       reached 46:3
 psychology 177:20              q              80:18 95:22           106:24 122:20
 public 3:9 185:20                           quotation 86:17         126:16 133:6
                       quantify 116:21
   186:5,24                                  quote 42:22 43:14     reaches 45:9
                        141:19
 publication 153:3                             43:15 46:16 60:16   reaching 44:21
                       quantifying
   153:10                                      67:25 85:17 86:23   read 33:22 36:5
                        114:19
 publications 27:21                            88:4 119:22 121:5     37:4 44:11 49:13
                       quantitative
   27:24 28:2                                  144:3 166:1           56:5 84:22 114:1
                        125:24
 published 27:18                             quoted 33:11,11         137:9,17 149:5
                       quantitatively
 publishes 24:16                               170:17                168:3 176:22
                        41:24
   152:13                                              r             181:15,18 185:3
                       quarter 118:20
 pull 105:23 138:10                                                reading 43:7
                       question 18:6         r 4:1 6:12
 pulled 183:7                                                        159:11 181:19
                        40:24,24 41:12       rack 41:25 57:14
 pulling 128:12                                                    readings 89:7
                        50:17 51:18 54:24      59:8
 pump 103:3                                                          159:9 161:3
                        71:7 77:17,21        racks 42:4,11 44:9
   109:10                                                          reads 42:22 144:3
                        92:16,21 93:24         158:3,5
 pumpout 3:22                                                      real 25:20 30:17
                        95:25 96:11          railroad 130:8
   102:24                                                            173:4
                        103:19 118:13        raise 98:16
 purpose 47:22                                                     realize 132:25
                        123:15 130:23        ran 169:18
   52:25 83:16,17                                                    168:11
                        140:22 142:5         random 40:2
 purposes 32:22                                                    realized 131:19,22
                        145:7 151:10         range 13:7 45:1,2
   37:14 40:13 43:9                                                really 8:8 9:6,14
                        152:25 160:21,23       47:14 160:11,13
 pursuant 3:1                                                        17:20 18:1 20:5
                        160:24 181:9           160:21,24
 push 104:4 107:5                                                    21:12 22:19 25:11
                       questioning 68:12     ranging 10:22
 pushed 107:6                                                        27:1 32:14 33:22
                        112:22 113:8           29:15 153:14
   109:21 123:5                                                      34:19,23 37:7
                        114:8                ranks 55:19
   124:18                                                            47:19 51:4 56:25
                       questions 17:23       rapid 116:12,13
 pushing 60:10                                                       59:16 60:9 63:11
                        18:3 27:2 138:11       116:16,17 119:19
   82:7,14                                                           86:4,10 91:19
                        138:12 150:8           179:3
 put 35:2 43:8 81:2                                                  101:17 102:18
                        180:11,12,13,23      rapidly 115:13,14
   89:16 91:25 92:1                                                  105:4 114:12
                        183:3,7                119:13
   101:8 105:23                                                      130:11 131:13

                                                                              Page 29
                                Veritext Legal Solutions
                                     866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 79 of 92

[really - relieve]

   132:2 134:21         recognize 32:8          166:25 183:10       regardless 65:24
   139:17 141:15          164:10              references 16:3         114:4
   142:18 147:11        recollection 39:22      167:10              registered 3:7
   152:19 170:11          105:19 176:3        referencing 88:10       186:3,23
   171:1 175:22         recommend 116:5         130:24 132:13       registering 158:17
   178:18 179:1,9,10    recommendation          175:11              reintroduce 81:18
 realtime 3:8 186:4       92:2,2 174:6        referral 15:23        reintroducing
   186:23                 176:12,18           referred 59:9           167:23
 rear 175:22            recommendations       referring 18:17       reitan 2:21 4:22
 reask 145:7              83:21                 22:7 85:10,11       related 4:25 7:5,14
 reason 6:16 40:22      recommended             87:7 134:1            7:21 14:9 27:24
   42:8 46:11 58:22       166:10              refers 18:8             29:15 36:23
   69:22 70:21 87:13    recommends            refilled 82:2           138:12 162:9
   96:20 97:8 114:20      49:25 51:6 83:2     reflect 114:17          169:10 173:18
   114:20 118:25          83:14                 166:9               relates 140:25
   139:20 159:24        reconstruction        reflected 117:18      relation 186:9
   169:11 179:16          11:13,17            reflection 46:1       relations 9:10
 reasonable 24:2        record 4:3,11 5:4     reflects 162:12       relationship 33:21
   58:24 60:23 98:9       6:9 32:1,5 47:16    refurbishes 84:11       33:23
   110:25 132:24          58:9 72:19,22       regard 14:10          relative 92:23
   136:17 145:21          143:6,9 154:7,17      16:19 18:10 27:15     116:22
   176:22                 155:11,12,18          29:11 31:3 32:15    relatively 62:24
 reasonably 45:2          160:13 161:7          38:7 40:7 45:22       128:23 132:8
   99:14 126:5,11         180:15,18 184:1,4     58:1 83:22 84:15    relayed 109:14
   127:3                recorded 4:13           85:15 86:20 90:3      112:16
 reasons 25:15 57:2     recording 4:9           107:1 111:25        relaying 85:1
   68:11 94:15,20       recreate 24:7           127:8 129:14        release 101:11,11
   104:2 152:18         redesign 26:13          130:14 146:24         125:18 142:7
   169:9                reduce 98:1,5           151:12 152:1        relevant 30:23
 recall 3:20 9:17       reduced 126:22          163:17,21 164:18      31:2,20 37:8 43:3
   36:20 57:22 61:14      175:14 186:12         174:23 175:1          43:5 51:17 151:8
   72:25 73:23,25       reduction 97:14         182:17                151:12 170:23
   74:8,13,21 75:4,15     98:12 132:10        regarding 16:13       relied 43:10 59:1
   75:17,20 76:2,7,8    redundant 34:3          16:14 18:7 26:9     relief 101:19 102:9
   163:15 172:21          152:19                30:19 37:10 38:14     102:14 103:4,23
 receiving 14:1         reference 22:4          39:9,14 40:18         104:22,22 108:4,8
   31:14                  34:7,10,10 47:14      73:1 83:2,21          108:20,24 109:5
 recess 32:2 72:20        58:16 72:25 73:3      130:19 134:8          115:21 133:13
   143:7 180:16           73:5 88:11 166:18     144:24 145:16         140:14 145:19,24
 recite 61:13           referenced 34:1         146:15 164:21       relieve 102:20
                          58:21 75:17 97:18     179:7 183:7

                                                                               Page 30
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 80 of 92

[relocated - right]

 relocated 169:20        44:20 47:19 58:17   reread 16:3 56:5      retrospect 180:4
 rely 18:15              58:21 59:1,5          93:24 114:1 145:8   revacuuming
 relying 135:20          60:12 63:4 66:6       176:4                 84:12,13
 remainder 36:5          67:24 69:20,23      rereleased 99:13      reverse 119:17
 remained 12:16          70:6,20 71:1        research 10:8 11:2    review 16:8 17:16
   122:25                72:24 73:4 75:17      11:14,16 13:24,25     19:1 36:13 37:2
 remains 109:1           76:9 86:17 93:4       14:3 25:3 30:17       47:18 76:24
 remarked 32:19          94:13 112:12          53:4                  176:19
 remember 14:5           117:18,23 119:21    residual 168:4        reviewed 16:2,3
   20:19 129:6           121:4 129:15        resolved 15:9           36:9 46:23 58:25
   156:20,22 168:2       134:6 148:20        resort 178:23           85:7,8,13 134:2
   169:17 171:9          150:9 163:25        respect 56:1 88:19      154:12 155:2
 remote 138:15           164:6 176:16          138:25 143:11       reviewing 33:7
 remotely 5:3            181:16,17             163:18 173:16       revise 69:16
 removal 17:1          reported 1:22           181:9                 103:25 111:11
   118:8 140:16          118:8               responses 163:5       revised 35:24
   166:19,24 167:10    reportedly 24:19      responsibility        right 6:14 12:1,3,5
   167:11 168:4        reporter 3:8,8          136:12                12:8 14:12 17:23
 remove 76:9,14,19       4:23 5:15,24        result 45:17 46:8       18:20 19:7 20:4
   91:20 103:8 129:5     186:4,4,23,23         46:16 51:20 52:17     20:13 22:25 23:13
   167:14,21           reporter's 186:1        89:9 96:1 110:10      24:11,12 25:1
 removed 61:5,9        reports 44:12 47:7      111:14 116:13,17      29:12,21 34:13
   109:15,17 110:1       143:13                126:6 132:5           36:10 42:5,15
   115:7 127:25        represent 58:20         134:24 139:25         43:20 46:4,21
   136:10                154:7 158:18          169:6                 48:19,23 55:23
 removing 16:18        represented 59:4      resultant 100:4         56:6,10 59:2 63:2
   33:12 60:18,24      representing          resulted 121:6          63:7 64:16 66:8
   61:2                  172:5 174:13          178:20                66:19 67:18 69:5
 render 45:6           reproduced 32:22      resulting 117:5,6       70:9,17 72:15
 repeat 93:24          reproductive 87:4     results 45:16           73:1 74:9,18 75:6
   116:15              republic 4:20           77:16 126:7           76:16 77:10 78:3
 repeated 96:19        request 40:17 42:7      149:11 159:1          78:12 81:19,23
 replaceable           require 17:23           169:14                85:2 86:18,25
   138:21                122:5               retained 9:11,12        87:23 88:8,12
 replaced 49:17        required 12:12          9:14 20:22 23:4       89:19,24 91:2,6,11
 replenishing 25:22      55:5 61:4 170:25      25:4                  91:15 92:16,22
 report 16:2,3           181:7               retention 8:25 9:3      93:5,23 101:19
   17:17 19:4 32:7     requirements            9:15,16,18 20:7       102:11,15 103:13
   32:10,13 33:3,14      54:21 170:14        retirement 13:14        103:15 104:15
   35:18 36:8,10,18    requires 73:7           13:16                 106:1 112:7,10,15
   37:3 42:18,21         170:10                                      112:20 113:2,3,9

                                                                               Page 31
                                Veritext Legal Solutions
                                     866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 81 of 92

[right - see]

   114:6 117:25          119:10,15             81:9 82:17 114:9      104:4 106:9
   118:9 120:18        roughly 41:9            133:25 135:3          141:12
   123:21 125:7          160:22                137:2 157:25        sealed 63:9 122:25
   127:1 133:15        route 123:1             182:7 183:17        seals 103:3 107:25
   134:9 136:11        routinely 61:2        san 2:8,12 4:17         109:7
   139:23 141:21       royace 172:18           42:14               seams 98:7
   143:1 144:2           173:9               sandra 1:22 3:7       search 31:19
   147:17 148:25       rtds 50:9               4:23 186:3,22         36:17
   150:4,17 152:9      rubbers 31:3          saturday 67:22        seat 174:17 175:6
   153:7 155:20        rule 89:8             saw 86:4 130:5          175:9,12,14,15,22
   156:15 157:19       ruled 77:25 78:4        139:21              sec 155:23
   158:5,9 159:12        127:23 128:4        saying 61:21 70:5     second 42:17,20
   161:15 162:25       rules 3:2               80:20 82:24 94:3      69:17 75:9 91:24
   163:3 165:6,10,13   ruling 173:22           94:5 108:19           152:23 174:2
   166:15 168:8,14     run 134:17              110:12 118:21         175:25
   170:7 171:14,18     running 107:8           120:17 121:7        secondary 149:19
   172:11 174:17       runs 169:18             133:13 136:18       seconds 65:6,21
 ring 54:14 97:7,11    rupture 101:18          137:23 162:22         72:14 118:23
   97:17 98:20,21,22     102:10,14 104:23      170:18 179:1          180:10
   98:23 103:23          107:24 108:12,15    says 34:8 35:12       section 42:21
   106:5 107:25          109:3,17              79:8 84:8 86:6        90:16,23 107:12
   108:21 109:7        ryan 2:16 5:22          97:4 114:1 134:22     139:7,10 141:18
 rings 106:9 109:2               s             143:22 166:1        sectioned 141:6
   133:14                                    scale 19:19 173:5     security 86:23
                       s 3:22 4:1 6:12
 risk 34:10 179:13                           scaled 173:1          see 21:19 35:2
                         175:23
   179:17                                    schedule 166:11         42:24 43:15 46:18
                       safe 43:14 44:22
 risks 130:16,20,21                          school 19:16 30:11      57:2 58:11,14
                         45:2 54:17 55:3
   130:24                                      31:11                 61:15 67:2,8,11,13
                         55:11,25 136:17
 road 69:2                                   schriock 2:15 5:21      68:6,7 73:13
                         140:8
 robert 2:21 4:22                            schultz 2:16 5:18       75:19,23,24 80:16
                       safely 47:24
 robust 22:23                                  5:19                  82:6 84:6,17
                       safety 104:12,22
   138:23 139:2,8,20                         sciences 9:13,25        85:21 92:13 93:7
                         108:23 115:20
   140:3,25 142:5,23                         scientific 37:2         93:16 95:9 98:18
                         133:19 134:22
   145:15                                      104:17                103:8 105:10
                       sample 20:6
 role 10:12 11:14                            scientist 82:8          107:21 108:14
                         136:23 166:2
   29:10 100:6                                 132:24                110:12 120:3,22
                       samples 19:16,21
 room 5:2 48:13                              screen 7:18 130:9       121:3 133:10,20
                         19:24 20:1 41:10
   49:16 62:7,23                             se 29:25                140:1 141:6
                         42:4 45:15,25
   67:5 79:3 80:13                           seal 54:13,14 97:8      155:25 156:6
                         50:7 51:7 55:21
   80:20 94:21 95:13                           97:17 98:20,21,23     157:8,11 158:13
                         55:22 56:3,12
   95:16 109:23                                103:9,19,20,23        159:6 161:24
                         57:8,9,23 77:6

                                                                               Page 32
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 82 of 92

[see - smith]

   162:20 168:19       september 42:14       shown 25:7 39:10      sitting 90:5 93:19
   175:23,24 178:19      150:11              shows 39:24,24          150:25 151:6
 seeing 20:18 25:8     sequence 51:12          73:5 105:3 155:19     158:13
   61:14 73:23,25      serial 75:19            163:1 165:8         situation 79:3
   153:3,11 161:3      series 55:2 86:13     shut 126:15             98:24 122:10
 seek 26:7             serve 26:8            sic 29:4                147:4 170:23
 seen 20:8 21:1,3      service 76:10,14      side 29:5,5 71:20     six 7:25 8:12 14:8
   35:15 92:25 93:14     76:19 130:17,25       90:17 91:5 93:8       78:11 119:22
   101:23 102:16         134:7,13 146:11       100:5 109:23        sixth 33:10
   103:10,24 106:16    serviced 146:20         117:8 159:14        size 93:5
   107:13 110:17       sessions 151:22       sieve 23:25 39:14     sized 118:19
   113:6 128:5         set 31:18 152:11        39:14 41:13 53:17   sizes 59:16
   182:23              setting 29:16         sign 61:22 134:17     ski 171:7,25 172:3
 seep 53:25            settle 15:12          signature 186:22        175:20
 seepage 54:3          settlement 32:22      significance 127:4    skills 26:2,5
   71:24               settling 15:9         significant 51:1      skis 175:8,8,18
 select 36:12          setup 57:6              54:6 60:21 61:17    slash 35:3
 sells 137:17          seven 13:21             68:25 69:11,12      slid 175:12
 semen 86:24           severe 87:19 108:9      73:7 92:24 93:6     slide 168:13
 semiconductor           133:24                93:16 94:9 100:18     175:23
   30:6                shapes 59:7             112:20 113:23       sliding 175:15
 seminar 153:3         shed 96:10              118:11 119:25       slower 117:6
 seminars 151:23       sheet 90:20 165:8       123:1 140:11        small 20:17 33:6
 sensaphone 148:3      sheets 154:17           179:23                35:15 79:9,10
 sense 22:15,16        shell 115:2           significantly 68:9      98:7 176:21
   116:1 163:16,19     ship 79:25            similar 21:3 25:7     smaller 19:19
   163:20,21 175:16    shipping 79:20,22       25:12,16,17 38:16   smith 2:6 3:13 5:8
 sensing 111:13        shock 79:12,22          40:8,9 42:11 57:4     5:8 6:4 15:19
 sensitive 4:5 79:25     80:1,3,4              59:21 130:18          31:22 32:6 34:21
   85:19 86:1,9        shocked 97:10         simple 107:17           35:16 38:5,19
   87:14 174:11        short 132:8 135:1     simpler 46:5            39:8 44:4 45:23
 sensor 140:5            180:22              simply 30:4             47:20 49:10 58:6
   159:19,21,25        shortly 14:1 31:13      108:20 129:16         58:9,15 71:2,6,8
 sensors 29:1,3          61:8 67:22          simulation 153:5        72:15,23 75:11,14
 sentence 33:19        show 61:10 108:25       153:14,15             82:20 96:9 101:17
   34:11 42:17,20        112:19 173:1        sit 78:5 79:1 88:16     106:22 125:22
   85:16 86:16,21      showed 89:19            89:11 162:7           137:21 140:21,22
   88:4,13 90:3          92:14 161:16        site 64:14 89:4         143:4,10 152:4
   144:3                 172:23 173:3          97:13 100:10          153:24 154:4
 separate 34:4         showing 113:23        sites 71:21,22          159:2 167:9 180:9
   57:19                 162:2,16              88:16                 183:13

                                                                               Page 33
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 83 of 92

[snoop - storage]

 snoop 89:14,16         23:10,16,22 24:1,5   specifically 112:2      120:13 128:25
   92:2,7,14,14         24:24 25:14 34:12      162:8 166:5           145:9 164:14
 societies 152:5        34:17,24 35:7        specification         started 13:13,17
 society 31:15,16       39:18 41:15,21         142:10                28:16 120:9,10
   152:8,13,17,21       42:3 53:1,9 54:10    specimens 81:22         123:5
 solder 29:8            60:2 61:20,23        specs 145:5           starts 33:19 65:11
 solid 53:11            64:19 65:4,16        speculating 142:2       115:8 124:24
 solution 133:18        66:8,11,16,16,19       179:16              state 3:9 5:3,5 6:1
 somebody 18:15         67:1 68:16 71:9      speculative 139:12      6:8 34:8 51:24
   45:6 68:14 79:3      71:15,24 73:20       speed 75:12             60:16 67:24 73:4
   79:11 105:3          74:3 76:23 77:1,6    spell 6:8 136:20        85:15 86:18 102:8
   113:15 137:15        91:9 94:9 98:25      spelled 6:11 86:5       117:23 119:21,25
   177:18,19            99:9,17,23 101:4     spent 11:25             119:25 120:6,7
 somewhat 98:18         101:20,23 102:18     spoke 16:15 17:1        127:9 130:16
   103:17 139:12        103:3 106:2,23       square 59:7             148:20 185:4
 sooner 140:19          107:3,9 110:13,24      106:13                186:5
 sophisticated          111:2,8 114:23       squares 59:6          statement 10:17
   81:20 86:11          115:1,11,13,16       squeezed 61:11          165:25
 sorry 35:12 38:24      117:4 118:23         stacked 59:16         statements 76:9
   47:8 70:16,18        119:3,12 120:9,11    stacking 57:23        states 1:1 4:16
   81:7 82:9 98:11      120:24 121:8,15      stacks 57:8,8           75:20 86:22
   113:21 119:23        121:24 122:13,17     staff 67:21 68:1,9    stay 170:3
   153:24 161:11,11     122:19 123:10,13       68:9 69:1,14        steady 51:24
   161:13 162:15        123:16,17,19,19        147:13 182:21       steel 65:2 68:17
   163:20 168:11        123:20,22 124:5      stainless 65:1,2        72:2,7 97:9
   171:8                124:10,13,13,16        68:17 72:2,7 97:9     105:16 107:12
 sort 51:19 54:3        124:19,25 125:1        98:6,8 105:16         150:3
   96:18 97:20 98:6     128:18,24 129:11       107:12 150:3        stem 86:8
   98:8 111:12          131:6 132:11         stamp 18:8 113:14     stenotype 186:11
   126:12 127:21        133:9 136:6 140:5      164:8                 186:14
   136:4 142:19         148:13 150:14,14     stamped 58:10         steps 131:20
   147:16 158:10        167:12,14,17           102:24 154:8        stick 43:22 177:4
 sought 36:24           179:4 182:9          stamps 113:10         stop 119:17
 sound 107:11         spacing 50:25          stand 68:7 101:24       123:18 124:1,5
   128:10               69:21 70:3,22        standard 142:10         138:5
 sounds 124:4         speak 153:13           standpoint 105:8      storage 25:13,25
 source 27:4 177:1    speaking 99:4            105:8 118:18          26:3,4,6,10,17,20
 south 172:2          speaks 75:7            staring 93:20           26:22 27:9,19
   173:15 175:2       spear 2:7              stark 153:5             45:3 48:2 54:20
 space 21:13,18       spec 39:24 106:17      start 13:15 39:8        62:8,10,16 85:20
   22:20,21,22 23:8                            67:11 119:11,12       86:7 162:19

                                                                               Page 34
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 84 of 92

[storage - take]

   165:20 166:2        struers 151:22        suddenly 94:5,8       surface 62:24 65:7
   182:3,6,7           stuck 27:6            sufficient 23:9,11      65:7 139:14
 store 47:24 56:9      student 13:22           24:23 25:11 55:14     141:12
   81:9 86:24            20:16 152:3           59:25 64:24 66:15   surfaces 123:3,6
 stored 46:7,17        students 28:21          67:10 100:10        surprise 106:12,15
   56:12 158:1 182:8   studies 25:6 28:10      107:5 115:16          106:17
 storing 81:16         study 176:21            156:16              surprised 107:24
 story 101:9 126:13    stuff 19:23 38:8      sufficiently 98:1     surprising 104:12
   138:10                89:13                 100:23              surrounded
 stove 101:8           styrofoam 49:6        suggest 83:6            159:13
 straight 69:3           115:4                 128:15 182:20       susceptible 79:21
   142:13              subassembly           suggested 38:9,9        97:9
 strap 175:18,19         102:25              suggests 89:25        suspect 66:23
 straw 59:20           subject 16:17 25:8      112:10,23,25          114:22 157:24
   165:21                37:7 46:16 85:18      114:2                 159:18
 straws 56:19,23         88:5 90:14,14       suit 175:19           suspected 103:5
   58:1                  130:14 144:4        suite 2:3 3:5         suspicious 89:17
 street 2:3,7,12 3:5     164:18,19 183:8     summarized 60:13      swear 5:15,24
   4:21                submerge 55:21        summarizing           switched 33:21
 strength 95:3         submerged 182:8         129:17              sworn 6:1 185:6
 stress 20:1 51:10       182:11              summary 78:8            185:14 186:8
   51:14,21 142:7,21   submerse 55:9           175:8               symbol 134:22
   145:24 172:23       submitted 33:4        summer 72:13          system 7:19 29:2
 stresses 51:20          69:24               sunday 68:2             52:13,20,22 53:16
   52:10 96:19         subscribed 185:14     supply 162:19           54:2,8 99:2,6,8,11
   142:20 153:16       subsidiary 42:23        166:15 168:14,18      100:18 101:3
 strike 25:3 37:21       43:2                support 19:18           103:23 104:20
   44:20 88:21 98:11   substantial 93:5        97:7 177:12           125:5,10,13,18,23
   111:15 119:23         94:13 105:10        supposed 40:24          126:3,15,21
   121:22 133:2          118:15,17,18,22       50:5                  135:20 136:5
   145:10 153:20         141:15 175:9        supposedly 142:8        138:24 147:16
   172:2,12 179:6      successful 172:9      sure 5:19 15:16         148:7,11 165:5
 stronger 129:7        suck 53:6,9 76:22       23:18 33:9 38:4     systems 29:11
   177:20              sucked 21:17            43:5 50:8 69:18       53:5 97:2
 structural 102:11       41:18 128:2,19        71:6 80:10 87:6               t
 structurally 76:23    sucking 66:12           92:19 101:21
                                                                   take 4:10 8:2 13:2
   101:12                128:10                113:3,4 123:11
                                                                     15:17 31:22 41:3
 structure 41:10       sudden 67:16 74:1       126:4 135:12
                                                                     41:8 44:12 53:10
   101:14,16             75:2 77:13 93:22      145:9 153:1 167:5
                                                                     58:13 64:18 70:23
 structures 93:15        94:1,22 131:10        177:2 180:10
                                                                     71:10 72:9,15
                         132:20
                                                                     75:3 79:20 80:20

                                                                               Page 35
                                Veritext Legal Solutions
                                     866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 85 of 92

[take - tell]

   80:25 82:24          48:11,11,12,22         106:9,23 107:16        180:7 182:21,22
   118:15 136:7,8       49:2,12,18,20,21       107:21 108:10          183:12,16,16
   154:11 157:7         49:25 50:2,6,7,12      109:11,11,15,17      tank's 121:7
   159:2 160:1 168:5    50:14,19,21,23         110:14,20,20         tankers 21:19
 taken 3:4 4:14         51:10,10,13,14,21      111:1,6 112:7,14     tanks 7:21 10:23
   24:8 32:2 41:21      51:23,23,24 52:2,4     112:20 114:10          20:13,16,20,24
   42:3 72:20 103:13    52:14,22,24 54:1,2     115:7,9,21,23,24       21:16 25:4,13,25
   112:24 113:1,24      54:4,15,18,20,22       116:1,3,4,11,14,18     26:3,4,11 27:9,13
   143:7 180:16         55:1,4,13,15,20,21     116:21 117:3,8,10      27:19 36:23 37:10
   186:10               55:21 56:1,3 57:3      117:14,15,19,20        38:18 40:2 51:17
 takes 24:1,2 68:15     57:9 58:16 59:2        117:25 118:16          57:14 62:1,9 63:9
   68:16,17 107:15      59:11 60:25 61:3       119:7,8,10 121:3       69:3,8,11 73:1,12
 talk 86:21 112:2       61:14 62:10,14,16      121:15,16,17,18        74:9,13 75:5 84:2
   132:23 150:9         62:22 63:1,2,6,7       121:19,25 122:8        84:11 86:13,13,22
 talked 38:10,17,21     63:14,15,17,23         123:25 124:8,11        108:4,5 111:20
   125:4 135:14         64:4,9,12,15,24        124:13,19 125:13       125:5 131:1,8
   144:7 145:23         65:2,5,17,25 66:5      126:9 127:5,10,11      137:4,17 138:7,19
   150:6 166:21         66:19,21 67:3,8,15     127:13,23 128:3        148:8 149:3 150:3
 talking 16:16,22       67:23 68:4 71:11       128:20,22 129:1        164:21 181:22,25
   31:5 63:8 66:1       72:3,8 73:18           129:10,20,24           182:2
   80:5 103:22          74:11,11 75:25         131:11,17,21,23      tarantino 2:11
   136:24,25 139:5      76:7,23 77:10,16       132:6,8,12,23          3:14 5:10,10,16
   148:12               78:3,10,24 79:1,3      133:3,17 134:23        44:1,3 158:22
 talks 73:14            79:7,9 80:13,21        135:4,16,24 136:3      167:2 180:20,22
 tall 55:2              81:1,4,9,18,21         136:10,15,22,24        182:25
 taller 59:12           82:1,15,18 83:13       137:2,15,24 138:2    targeted 168:4
 tank 3:18 11:21        84:5,19,22,22          138:24,25 139:1      teaching 13:24
   16:17,18,23 19:20    85:19 88:5,8,23        140:15,17,24         tec 17:16 28:13
   21:1,6,11,15,18,21   90:13,14,14,17,22      143:21 144:4,10        85:7 134:19
   21:22 22:5,9,9,13    91:5,9,11 93:8,19      144:12,17,19,24        168:17
   22:14 23:5,10,11     94:2,14,17,20,25       145:2,6,10,11        tech 135:8
   24:6,8,11 25:8       95:5,12,14,15,17       146:2,6,13,16        technical 167:22
   26:6,10,14,17,18     95:18,24 96:21,22      148:23,24 150:23       177:18
   26:21,22 27:15       97:3,17,24 98:1,12     154:6 155:5,20       technically 22:2
   33:12,13 36:2        98:15,17,19,21,21      157:14 158:24        technician 167:22
   37:15 38:15,16       98:23 99:2,7,21,22     161:1 162:19         technicians 147:13
   39:6,10 40:8,10      100:4,5,17,23,24       163:8,10 164:18      technology 153:18
   41:1,17,21 42:12     101:12,19 102:5,8      164:19 167:3,4,11    telephone 2:16
   43:14 45:10,16,25    102:10,11,15,21        167:15 168:5,8         147:16
   46:3,8,9,17,24       103:13 104:5,11        169:3,4 178:5,8,8    tell 24:18 38:5,12
   47:1,23,25 48:2,5    104:20,25 105:5        178:16 179:2,8,24      48:14 56:15 80:24

                                                                               Page 36
                                Veritext Legal Solutions
                                     866 299-5127
    Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 86 of 92

[tell - think]

   87:9 88:16 100:11   tends 52:6,7             176:9 177:12         18:6,11 20:25
   101:7 141:4 151:2   term 53:18 131:7       tests 177:7            21:7,13,15,16 22:1
   156:17 164:13         144:11 159:23        thank 72:17            22:4,5 23:20,21
   173:19              terms 9:20 44:10         183:19               24:2 26:1,4 29:10
 telling 103:19          45:5 117:9 132:9     thanks 30:17           30:5 32:21,24
 temperature 20:6        135:6 142:5            183:1                34:1,3,4 35:14
   29:2 47:14 48:13      144:16 146:22        thaw 166:18 167:1      36:20 37:1,7
   48:15,16,18,23        170:15                 167:3 168:3          38:12 40:3,23
   49:15,24 50:10      test 17:9 28:10        theory 21:5 23:4,6     41:1,12 43:21
   51:6,19,25 52:10      40:15 60:4,5           23:7,13,14,15 77:8   46:10 47:7,13
   52:12 62:3,5,7      tested 174:4 176:6       77:12 124:15         50:16,24 54:3,12
   65:8 67:5,10 79:4   testified 6:2 11:6,7   thereof 186:14         54:24 55:5 56:19
   80:13,21 82:16,16     14:10,24 56:8        thermal 20:2           56:25 57:12,24
   94:17 95:13,16        100:16 176:11          51:16,25 52:8        59:8 60:5 65:25
   97:21 98:17         testify 8:11 14:17       95:1,6 138:13        66:13,20,20 67:15
   119:11,16 125:17      113:23 176:7         thermocouples          68:8 69:14 70:14
   126:20 128:7,8        186:8                  50:1,5,9 158:16      71:3 72:11 73:4
   129:19 136:2        testifying 12:3        thesis 28:1            74:4,25 76:18,24
   140:11 147:8          15:23 172:17         thick 49:6 65:16       77:12,22 79:5
   154:23,23 158:14      176:14                 65:23 68:18          80:15,23 81:25
   158:17 159:8,8,11   testimony 6:17         thickness 72:2,8       82:8,18,23 84:1,2
   160:2,3,3,9,25        8:14,15 12:1 15:4    thin 109:4             85:3,13,22 86:10
   169:10 181:13,23      24:5,10 44:17        thing 19:15 21:7       86:10 87:10,24
 temperatures            60:13,21 61:13         24:18 34:5 36:24     89:2 91:16 92:7
   19:24 45:11 46:18     64:1,6,7 69:2 85:1     57:15 97:11 98:16    94:3,18,22 96:6
   47:1,21,24 48:1,5     85:3 100:21            99:16 101:25         97:6,6 99:10,25
   49:8,11,20,21         109:25 110:18          106:8 107:17         100:1,3,8,16
   50:14,22 51:9         112:23 127:24          109:7 110:19         102:19 103:5
   52:16,17 94:21        131:18 144:16          112:22 113:22        104:16,17 105:4
   101:2 119:9,10        154:12 163:4           120:23 140:13        105:20 107:7
   120:14,14 125:14      171:2,11 172:6,13      142:4 145:5 149:9    109:19 110:25
   125:20 126:5,11       173:23 180:1           151:19 163:15,24     111:16 114:8,14
   127:3 129:21          185:4,6                169:1,2,5 172:22     116:2,8 118:25
   134:25 136:23       testing 16:17 36:2       173:16,21 174:10     120:8,15,18,24
   137:1 168:6,6         37:12,19,22 38:2,6   things 10:22 18:14     122:19 124:2,3
   182:11                38:8 39:3,9 40:14      31:10 75:12 79:17    126:14,17 128:8
 ten 8:19 14:21          88:20,22 91:15,17      79:18 87:23 97:1     128:10,13,22
   108:25                96:10,15 103:12        107:23 147:1         130:5 131:18
 tend 52:16 65:6         111:18 116:5         think 7:14,23 8:21     132:7 133:7
   67:13 89:24 109:7     139:16,17 144:23       8:22 9:14,20         134:15,17 135:10
   125:18                150:10 175:7           11:24 12:2 13:7      135:21 136:12,16

                                                                               Page 37
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 87 of 92

[think - type]

   137:11,17 138:8         68:17 71:13 72:18   today's 16:1          trial 8:12 14:11,19
   139:3 142:3,6,16        72:21 76:15 77:22   told 100:17 109:16      14:25 15:13 153:6
   142:25 143:20           85:4,9 96:19        tomato 22:3,3         trials 14:14
   144:18,25 145:13        97:12,21 100:22     top 41:2 43:12        tried 77:14 129:8
   145:25 146:2,22         104:25 109:3,6,8      46:16 48:25 49:12   troubleshooting
   146:24 147:3            109:12 110:18         49:17,21 50:6,13      143:12,17,22
   148:3 149:10,13         112:11 113:10,14      50:21 55:19 67:25   true 11:10 48:25
   149:22 151:10,24        115:19 117:18,24      70:1,11,20 72:4,7     76:15 87:2 109:3
   156:25 157:17,23        118:25 120:22         76:2 91:10 115:5      151:19 186:13
   166:4,5 167:16          121:23 122:16         115:7 122:7,7       truth 6:2 186:8
   169:10 170:20,22        132:8 135:1           146:22 153:2        truthful 6:17
   172:20 173:4            137:11 140:12         160:16,25           try 111:20 125:2
   176:4,5 177:11          143:4,5,8 145:19    topic 152:1           trying 9:20 13:13
   178:7 179:17            146:17 147:20,23    total 71:25 82:12       16:17,19 47:17
   180:5,9,11 183:2        148:4 151:2           132:8 183:24          77:6 88:13 91:23
 thinking 73:9             154:23 157:5,24       184:3                 95:18 137:21
   141:14                  159:7 163:16,19     totally 21:23           169:3 179:12
 thinks 60:19              180:14,17 183:25    touch 62:1            tsm 152:22
 thinner 22:9              184:3 186:11        tower 2:7             tube 59:21 60:4,5
   121:19               times 6:13 11:5        tracks 130:8            60:8 91:9 99:21
 third 2:14 5:20           13:25 14:11 15:6    trained 178:21          142:8,12,15
   34:7,15 118:20          41:2 43:3,5         training 3:25 30:3    tubes 145:6,25
 thirty 172:15             113:19 114:17         30:10,23 31:2,6       146:10
 thoroughly 19:6           118:3,5 171:5         95:22 135:16        tubing 143:23,24
   159:18 163:11           172:9 173:7,16        151:8,13,14,21      tupperware 128:6
 thought 18:2,4         timing 9:21 28:20        164:7,16,21 165:1   turn 4:6 53:10
   21:5 85:6 91:20         29:18 30:6 71:17      165:3 170:11          66:17 128:24
   107:25               tissue 44:15 45:5        177:24 180:25         155:1,9
 thoughts 144:22           46:12 56:9,16       transcript 185:3      turns 139:22,23
 thousand 138:19           57:1 82:12 86:7       186:13              tvs 7:18,18
 throw 145:5               138:21              transducer 169:13     two 8:4 17:14 34:4
 thrown 171:20          tissues 81:15,16       transfer 49:1           34:7 50:1,6 70:13
 tied 86:17             title 102:24 153:12      135:3                 112:13,18 128:8
 time 5:6 8:19             168:13              transferring 31:18      129:10 138:22
   10:11 11:25 12:13    tms 152:17,22,23       transition 32:15        154:22 169:8,18
   13:9,18,20 14:5,17      152:23              transport 26:22         172:15 173:7,16
   18:7,8 31:25 32:4    today 6:17 78:5          79:17                 180:10,10
   42:12 45:25 60:2        88:16 89:11 90:5    trapped 99:12         tygon 143:23
   61:15 63:3,20,23        94:6 150:25 151:6     115:11 126:3,21     type 42:10 57:14
   64:25 65:20 67:12       154:12 158:13       tree 105:22             76:7 77:15,16
   67:12,21 68:15,16       162:7                                       84:19 105:2,22

                                                                                Page 38
                                  Veritext Legal Solutions
                                       866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 88 of 92

[type - vacuum]

   109:7 149:21         56:15,18,20,22       unsealed 49:7          66:10,16,16 71:24
   151:23               57:5,7,10 59:6,20    unusable 82:17         73:7,9,10,15,15,18
 typed 85:14            59:23 60:4,10        unusual 49:23          73:20,22,24 74:1,2
 typewritten            61:1,3,25 64:6         173:22               74:22 75:2,3
   186:12               68:24,24 69:13       unwanted 157:23        76:11,12,12,16,16
 typically 49:20        82:13 109:12,18      usage 154:24           76:21,22,22 77:1,1
   61:4                 109:24 137:3,9,13    use 22:25 55:14        77:4,6,9,13,19,23
 typing 33:14           137:16 143:15          74:17 78:20 80:17    78:2,7,7 83:21,25
   113:15               147:11,15,19,22        80:23 81:9 82:25     84:3,4,9 93:23
 typo 113:5 144:3       163:7 165:3 167:9      87:12 95:17,24       94:2,9,14 96:2,21
 typos 33:7 35:15       168:21                 137:15,18,23         97:2,4,5,10,14,16
           u           understood 87:21        144:12 147:5,10      97:22,24 98:2,3,5
                        162:13                 148:15 153:4,13      98:11,12,15,18,25
 u.s.a. 75:22
                       undertaken              172:21 178:8,9       101:10,20,23
 uh 150:16 151:9
                        153:21                 181:23 182:15        102:1,18 103:8,10
   168:15
                       undetectable          useful 78:15,19        103:12,22 106:2,9
 ultimate 86:23
                        79:21                  82:21,24             107:9 108:15
 ultimately 43:22
                       undetected 134:24     user 74:4 76:25        110:5,5,13 114:23
   107:4 121:3 126:7
                        144:6                  81:20 84:8 95:11     115:11,12,16
   131:16 176:5,13
                       undetermined            126:9 131:14         116:13,17,22,25
   177:2
                        43:15                  135:22 148:22        117:6 119:3,12
 unacceptable 34:9
                       undone 70:25            167:13,21            120:10,24 121:6,8
 unchecked 136:25
                       unexpected            users 130:19 134:8     122:13,17,19,25
 uncovered 182:19
                        134:25                 140:9 149:2,14       123:10,13,19,20
 undergrad 53:4
                       unique 151:25           178:23 179:7         123:22 124:10,12
 undergraduate
                       unit 4:12 76:9,14     uses 20:13 21:25       124:16,19,25
   31:6
                        147:14                 74:24 87:6,8         125:1 126:7,22,23
 underneath 64:8
                       united 1:1 4:16       utah 171:17 172:7      126:25 127:9
   66:4 70:9
                       units 183:25            173:13,15,19         128:2,12,15,18,21
 understand 55:6
                       university 13:23      utilize 129:24         128:24 131:5,5,6
   55:20 83:25 125:9
                        20:11                utilizing 140:10       131:15,16 132:11
   127:6 133:11
                       unknown 126:8                   v            132:21,25 133:9
   139:5 140:23
                       unknowns 162:7                               133:19 134:25
   166:10 167:13                             vacuum 21:13,18
                       unplugged 159:20                             136:6 140:5 144:6
   173:12 182:5,13                             22:20,21,22 23:8
                       unpredictable                                144:11 145:20
 understanding 9:2                             23:10,16 24:4,24
                        135:17                                      146:16,18,19,21
   9:7 36:4 40:21                              25:14 39:18 40:19
                       unrelated 78:25                              146:21,24 148:8
   43:1,4,6 44:22,25                           41:14 49:2 53:1,2
                       unsafe 44:5,10                               148:12,13,16,18
   45:15,24 46:23                              53:6,6,9,9,15
                        45:5,10,20 46:3,10                          148:24 149:11,15
   49:11 50:3,4,8                              54:13,14 61:20,23
                        157:19                                      150:3,14,14 166:3
   52:21 53:24 54:12                           62:13 63:1,7,17,18
                                                                    167:12,14,17,23
   55:10,17,24 56:11                           63:20 64:19 65:4

                                                                              Page 39
                                Veritext Legal Solutions
                                     866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 89 of 92

[vacuum - website]

   179:3,4,15           videographer 2:21     want 5:16 9:19,19     176:10,15,19
 value 102:14             4:2,22 5:14,23       33:8 70:13 75:11     177:7,13 178:1,2,2
   109:1                  31:25 32:4 72:18     92:6 101:14          178:4,7,21 180:6
 valve 27:6 102:9         72:21 143:5,8        104:23 113:13       warnings 79:7
   103:3,4 108:6          180:14,17 183:21     118:10 120:16        95:23 136:18
 vapor 23:19 48:17        183:24               122:15 126:4         170:7,9,18 174:1
   53:10 55:23 66:25    view 21:9,9 107:24     136:7 140:23         174:12,17 177:10
   67:4 119:25 120:6    views 129:19           167:8,20             177:14 178:15,19
   124:24 168:23        vigor 154:15          wanted 57:2           178:23 179:23
   181:23 182:3,4,6,9   visible 64:7 65:24    wants 133:17         warrants 40:3
 vaporize 66:14           66:3 93:1,1,2       warm 47:1 65:12      warranty 84:2,5
 vaporized 107:4        visit 57:20            94:21 99:8 100:17    97:4 103:9
 variation 51:25        visited 42:13          120:14 128:7        water 68:4,13
   158:14               visits 57:18          warmed 94:14          69:12 110:20
 various 9:10 11:1      visual 9:12,25 93:9    100:23               150:15,24
   14:3 16:4 17:8       visualizations        warmer 44:13         way 12:16 22:12
   19:23 57:14            27:22                65:9 66:13 115:13    35:5,8 46:12
 vary 48:10,11          vitro 181:4            120:9 128:24         49:13 50:9 77:14
 vast 14:16,23          volume 24:7 33:20      138:12 169:4         81:16 87:11 92:20
 vehicle 11:16            33:21,22 39:18       170:2                94:11 102:20
   153:15                 41:4,9,11,14,17     warmest 48:16         105:9 106:10
 vented 104:19            42:3 53:10 79:10     49:8                 110:12,25 114:11
   122:11                 107:8 120:1,1       warming 51:12         114:20 115:8
 venting 115:17,19        125:25               67:6 115:24,25       117:1 126:2
   119:20 122:8                  w             116:1,13,17,22,23    138:23 142:6
   123:7 124:23                                117:5,9,14 131:11    146:18 147:9
                        waiting 5:18 111:5
   174:22                                     warn 37:25 38:23      156:17 178:21
                        wall 7:19 21:14
 verbal 9:16                                   135:22 179:7         181:3 186:16
                          22:14,22,23,24
 verification                                  180:3               ways 98:9 138:22
                          60:25 61:19 66:13
   166:14,14                                  warning 79:8          162:23 167:6
                          88:7,21,23 92:15
 verify 168:14                                 80:20,22 129:24     we've 38:17,21
                          94:7,8,25 102:21
 versions 113:17                               131:3 134:21,21      40:4 61:6 64:14
                          105:11 107:10
 versus 51:24                                  134:22 135:2         87:15 110:15,15
                          110:14 115:17
   171:12 172:18                               137:22 138:1,24      110:21 144:7,21
                          117:2,15 119:7
 vessel 119:15                                 144:24 145:16        144:25 150:6
                          121:7,16,17,18,20
 viability 82:12                               170:10,12,13,15      154:9 157:17
                          141:9,10 149:19
   181:7,14                                    170:16,21,23         179:2
                          179:3
 vial 165:21                                   171:1,2,11,14       wearing 175:19
                        walled 150:3
 video 1:6 4:9,12                              173:18 174:4,5,7    weather 170:3
                        walls 22:9,9 54:1
   103:10                                      174:14 175:3,18     website 36:19,25
                          96:22 97:16,24
                                               175:21,25 176:6,7
                          127:23 131:12

                                                                              Page 40
                                 Veritext Legal Solutions
                                      866 299-5127
   Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 90 of 92

[weekly - zoom]

 weekly 166:15        withstand 139:20      writing 44:19,20        38:12,23,25 45:12
 weight 126:2         witness 5:15,24         177:18                47:10,12 49:4
 weights 126:3         13:8,13,20 37:25     written 3:1 25:16       70:14,17 71:4
 weird 35:4,5          38:23 186:8            30:19 103:24          72:17 75:7 81:24
 welcome 143:10       word 21:10 22:1       wrong 27:7 63:12        96:3 100:20
 weld 17:25 40:5       22:25 35:11 58:13      84:4 92:6             125:15 137:6
  64:15 74:19 77:19    74:24 87:12          wrote 17:17             140:19 151:16
  78:1 88:11,18,24     172:21               wtarantino 2:13         183:2,5,15,19
  89:12 90:1 91:5     wording 176:21                 x            zeman's 6:24
  91:13 95:3 99:24    words 21:23 83:12                           zero 81:10,22 82:1
                                            x 3:11 38:18 80:21
  100:13 101:5         99:7 104:11 114:1                            82:9,10 155:5
                                              97:4 111:5
  110:4 111:21         135:11 136:8                                 156:10 157:18,20
  112:3 116:7          179:18                        y              157:20 161:22
  118:14,21 132:5     work 6:20 8:3         yamaha 171:9,12         162:2,20 183:11
  132:18 139:4,10      10:15 11:3,13        yeah 27:24 46:5       zoom 70:13
  139:13,14 141:2,2    12:22 13:5,8,12,19     54:11 90:24
  141:11,15,16,21      14:8 15:22,23          103:15 108:21
  141:24 142:20        19:18 27:2,25          112:8 125:3 146:9
  144:22 145:14        28:9 31:14 38:1        151:18 152:16
  146:7,9 179:14       68:23 71:23 76:17      154:14 155:18
 welded 98:7           76:20 78:5 96:7        158:15 164:3
  146:11               100:1 152:2            165:17 168:23
 went 7:15 8:9 16:4    153:21                 171:15,19 172:10
  27:7 29:23 67:12    worked 7:4,7 8:1,6      174:21
  94:4,7 101:7         10:5 17:8 28:15      year 10:21 150:11
  121:8 131:1 155:5   working 13:23           169:22,25 170:1
  161:1                19:16,22 27:6,14     years 8:19 13:21
 wet 175:19            87:15 131:19           14:8,21 17:10
 wheel 11:19           158:11 162:11          27:10,13 28:11
 whispering 4:5       workload 14:20          30:12 78:11 80:24
 william 2:11         worry 91:21 92:4        84:3 97:4 108:25
 willing 103:18       worse 29:18,20          146:19,21 169:18
  178:6                60:11                  172:16
 winding 13:17        worsened 117:19       yep 70:8
 window 47:16          117:24               yielded 45:16
 winged 142:17        worst 137:19          young 87:18
 winning 153:4        worth 142:3                     z
 winter 170:3,4       write 32:10 43:12     zeman 2:2 3:15
 wireless 93:12        46:15 106:20           5:12,12 15:3 16:5
 wiring 28:25 29:5     170:21                 16:10,12 33:2
                                              34:20 35:4 37:25

                                                                             Page 41
                               Veritext Legal Solutions
                                    866 299-5127
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 91 of 92



                Federal Rules of Civil Procedure

                                 Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 3:18-cv-01586-JSC Document 647-7 Filed 01/08/21 Page 92 of 92

              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
